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                        EXHIBIT 2
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      Review Article                                                                                                                                    Deborah J. Culley, M.D., Editor



                                                                                                                   ABSTRACT
     ANESTHESIOLOGY                                                                                                The authors provide a comprehensive summary of all randomized, controlled
                                                                                                                   trials (n = 76) involving the clinical administration of liposomal bupivacaine
                                                                                                                   (Exparel; Pacira Pharmaceuticals, USA) to control postoperative pain that are
      Clinical Effectiveness of                                                                                    currently published. When infiltrated surgically and compared with unencap-
                                                                                                                   sulated bupivacaine or ropivacaine, only 11% of trials (4 of 36) reported a

      Liposomal Bupivacaine




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                                                                                                                   clinically relevant and statistically significant improvement in the primary out-
                                                                                                                   come favoring liposomal bupivacaine. Ninety-two percent of trials (11 of 12)

      Administered by                                                                                              suggested a peripheral nerve block with unencapsulated bupivacaine provides
                                                                                                                   superior analgesia to infiltrated liposomal bupivacaine. Results were mixed

      Infiltration or Peripheral                                                                                   for the 16 trials comparing liposomal and unencapsulated bupivacaine, both
                                                                                                                   within peripheral nerve blocks. Overall, of the trials deemed at high risk for

      Nerve Block to Treat                                                                                         bias, 84% (16 of 19) reported statistically significant differences for their pri-
                                                                                                                   mary outcome measure(s) compared with only 14% (4 of 28) of those with a

      Postoperative Pain                                                                                           low risk of bias. The preponderance of evidence fails to support the routine
                                                                                                                   use of liposomal bupivacaine over standard local anesthetics.
                                                                                                                   (ANESTHESIOLOGY 2021; 134:283–344)
      A Narrative Review
      Brian M. Ilfeld, M.D., M.S., James C. Eisenach, M.D.,
      Rodney A. Gabriel, M.D., M.S.                                                                       Liposomal Local Anesthetic
      Anesthesiology 2021; 134:283–344                                                                    Liposomes consist of a hydrophilic head and two hydropho-
                                                                                                          bic tails and come in multiple permutations. Unilamellar
                                                                                                          vesicles are created with a single outer bilayer—effectively

      T     he pain of many surgical procedures extends beyond
            the duration of analgesia provided with a single admin-
      istration of standard local anesthetic. Bupivacaine hydro-
                                                                                                          a hollow sphere—that may hold medication within its cav-
                                                                                                          ity.8 Far larger multilamellar liposomes are basically a sphere
                                                                                                          containing additional nested concentric spheres, much like a
      chloride is currently the longest-acting local anesthetic                                           Russian matryoshka or babushka doll.9 In contrast, noncon-
      approved by the U.S. Food and Drug Administration (Silver                                           centric multivesicular liposomes are essentially an uncoor-
      Spring, Maryland), with a duration of up to 18 h when                                               dinated mass creating a myriad of cavities that may be filled
      administered in some peripheral nerve blocks.While multi-                                           with medication.10 Their large size creates a “medication
      ple adjuvants such as dexamethasone and dexmedetomidine                                             depot,” which gradually discharges the contents with natu-
      have been proposed, there is currently no Food and Drug                                             ral liposome membrane breakdown.This creates a sustained
      Administration–approved medication that reliably extends                                            release, which enables prolonged pharmacologic effects.
      the duration of action of local anesthetic beyond 24 h.1                                            First proposed as a medication carrier in 1965, multivesicular
      However, by encasing standard local anesthetic within vari-                                         liposomes have been used to encapsulate pharmaceuticals as
      ous carriers, a sustained release may be achieved that extends                                      diverse as ibuprofen, neostigmine, chemotherapeutics, and
      the analgesic duration, perhaps to multiple days. Many such                                         opioids.11 In 2004, liposome morphine (DepoDur; Pacira
      formulations have been described,2 but only a single sus-                                           Pharmaceuticals, USA) became the first liposome-encased
      tained released local anesthetic is currently approved for                                          medication to be approved for postoperative analgesia by
      clinical use by the Food and Drug Administration: liposo-                                           the U.S. Food and Drug Administration.12–14
      mal bupivacaine. Currently, a number of publications are                                                Extending the duration of local anesthetic (lidocaine)
      available that review the use of liposomal bupivacaine, but                                         using liposomes was first proposed in 1979,15 followed a
      all involve a specific topic area (e.g., shoulder surgery), and                                     year later by the first in vivo use in guinea pigs (dibucaine),16
      therefore include only a small subset (n = 7 to 27 studies) of                                      and the first use in humans in 1988 (topical tetracaine).17
      available randomized, controlled trials.3–7 The current arti-                                       The first report of treating postoperative pain with lipo-
      cle aims to provide a comprehensive summary of all the                                              somal local anesthetic occurred in 1994: subjects under-
      published randomized, controlled trials (n = 76) involving                                          going major abdominal, thoracic, or orthopedic surgery
      the clinical use of liposomal bupivacaine when adminis-                                             were given a single epidural injection of either liposomal
      tered to control acute postsurgical pain.                                                           bupivacaine 0.5% or “standard” bupivacaine hydrochloride

      This article has been selected for the Anesthesiology CME Program. Learning objectives and disclosure and ordering information can be found in the CME section at the front of this issue. This
      article is featured in “This Month in Anesthesiology,” page 1A. This article is accompanied by an editorial on p. 139 and an article on p. 147. This article has a related Infographic on p. 17A.
      Submitted for publication August 7, 2020. Accepted for publication October 30, 2020. From the Department of Anesthesiology, University of California, San Diego, San Diego,
      California (B.M.I., R.A.G.); Outcomes Research Consortium, Cleveland, Ohio (B.M.I., R.A.G.); and Wake Forest School of Medicine, Winston-Salem, North Carolina (J.C.E.).
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      REVIEW ARTICLE


      0.5% (subject- and observer-masked, although not ran-                 metabolism, and excretion are similar to the bupivacaine
      domized).18 Subjects receiving unencapsulated bupivacaine             hydrochloride formulation.24
      experienced a mean ± SD duration of analgesia of 3.2 ±
      0.4 h versus 6.3 ± 1.1 h for those receiving liposomal bupi-          Safety Profile
      vacaine (P < 0.05). Such encouraging results helped propel
                                                                            Due to the gradual—versus immediate—release of bupi-
      future preclinical and human subject research.19
                                                                            vacaine, determining the safety profile of liposomal bupi-




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                                                                            vacaine requires medication-specific investigations.32
      Clinical Availability                                                 Preclinical studies demonstrate a similar or larger margin
      In 2011 the U.S. Food and Drug Administration approved                of safety with liposomal bupivacaine than unencapsulated
      a liposome encapsulated bupivacaine (Exparel; Pacira                  bupivacaine.32–39 For example, in rabbits, roughly twice as
      Pharmaceuticals) with an explicit indication: single-dose             much liposomal bupivacaine must be intravenously infused
      infiltration into the surgical site to produce postsurgical           to induce seizures, ventricular tachycardia, and asystole
      analgesia in adults.20 The label was subsequently expanded            compared with bupivacaine hydrochloride.40 In humans,
      to explicitly approve use in transversus abdominis plane              823 subjects exposed to liposomal bupivacaine within 10
      blocks, as well as interscalene blocks specifically for shoulder      randomized, controlled trials involving surgical site infil-
      surgery.21 The medication is provided in 20-ml ampules that           tration experienced no more adverse events than subjects
      contain the maximum-approved dose: 266 mg (13.3 mg/ml                 receiving bupivacaine hydrochloride,41 a finding repro-
      or 1.33%).22 Of note, the milligram dose is expressed as the          duced when liposomal bupivacaine was administered as
      free base, so 266 mg of liposomal bupivacaine is roughly              part of a peripheral nerve block in 335 patients among six
      equivalent to 300 mg of unencapsulated bupivacaine hydro-             studies.42 Liposomal bupivacaine appears to have no nega-
      chloride.23 Each ampule should be administered within 4 h             tive influence on wound healing when infiltrated into the
      of opening, diluted with normal saline or lactated Ringer’s           surgical site,43 and it is compatible with common implanted
      solution (up to 1:14), and administered with a 25-gauge               materials such as titanium, silicone, and polypropylene.44,45
      or larger bore needle.24 Local anesthetics other than bupi-               While local anesthetic systemic toxicity can occur
      vacaine hydrochloride may result in a premature release               with liposomal bupivacaine,46 it appears to have a favor-
      of bupivacaine from the liposome vesicles if administered             able cardiac safety profile compared to bupivacaine hydro-
      together locally.24 Therefore, liposomal bupivacaine should           chloride.47–51 In humans, there have been three suspected
      be administered after a minimum delay of 20 min after injec-          intravenous injections of liposomal bupivacaine, involving
      tion of a different local anesthetic.25 In contrast, bupivacaine      150 to 450 mg of injectate intended for surgical site tissue
      hydrochloride may be administered simultaneously—even                 infiltration after knee arthroplasty.47 Other subjects within
      admixed within the same syringe—up to a maximum dose                  this study had mean bupivacaine plasma concentrations
      of 50% of the liposomal bupivacaine.26                                of 255 ng/ml (for 150 mg group) and 520 ng/ml (450 mg
          Liposomal bupivacaine exhibits a biphasic plasma peak             group). In contrast, the three subjects with suspected intra-
      when infiltrated directly into tissues.27 The initial peak            vascular injections had concentrations of approximately
      occurring within 1 to 2 h is due to the extra-liposomal               8,000 to 34,000 ng/ml. Yet none had symptoms or signs
      bupivacaine hydrochloride included in every ampule (less              of local anesthetic toxicity, including no electrocardio-
      than 3% of all bupivacaine in vial), which also provides an           gram/QTcF changes from baseline.47 Toxicity has resulted
      onset similar to unencapsulated bupivacaine.28 This is fol-           from far lower doses of unencapsulated long-acting local
      lowed by a second peak due to the slow release of bupi-               anesthetics.52–54
      vacaine hydrochloride from the liposomes at nearly twice
      the plasma concentration 24 to 48 h after administration
                                                                            Clinical Effectiveness
      compared to unencapsulated bupivacaine (even longer
      with a mixture of encapsulated and unencapsulated bupi-               Early in the development of new medications and devices,
      vacaine).26,27 Bupivacaine can still be detected within the           case reports and retrospective studies are of great service
      plasma 3 to 14 days after administration, depending on                to generate hypotheses that may then be tested with ran-
      the route, dose, and additional factors.27,29,30 However, local       domized, controlled trials. This was the case for liposomal
      pharmacologic effect does not necessarily mirror plasma               bupivacaine during much of the last decade, with 28 of 30
      concentration, and analgesic duration cannot be inferred              (93%) of reviewed retrospective studies reporting positive
      from the time of bupivacaine detectability within the blood.          findings.55–84 However, in the last few years, there has been
      For example, tissue infiltration with 150 mg of bupivacaine           a substantial increase in the number of randomized, con-
      hydrochloride results in detectable plasma concentrations             trolled trials, with 76 published at the time of this writing
      for over 72 h,31 yet no clinical trial has demonstrated an            (tables 1–10). Given the new plethora of data from inves-
      analgesic effect of even 24 h duration: blood concentration           tigations with a design considered the accepted standard
      is correlated with systemic toxicity, not local effect.24 After       when evaluating medical interventions, this review will
      liposome release, the bupivacaine absorption, distribution,           focus on published randomized, controlled trials.

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                                                                                            Liposomal Bupivacaine to Treat Postoperative Pain


             Unfortunately, 30 (40%) of these trials were either                bupivacaine. However, two notable factors greatly influ-
         unregistered or registered after enrollment, and 26 (35%)              ence interpretation of these results. The first is that the pain
         failed to define a primary outcome measure or had a signif-            and opioid consumption outcomes were calculated using
         icant problem with the definition (e.g., discrepancy between           the area under the receiver operating characteristics curve
         registry and published article). Interpretation of results can         (AUC), which essentially compares the integral of all val-
         be problematic for investigations lacking prospective regis-           ues over a period of time between the two treatments. If
         tration and/or a predetermined primary outcome measure.                differences are large for a short period of time but non-




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         The latter is critical in evaluating randomized, controlled            existent subsequently, the AUC can still be statistically sig-
         trials with multiple endpoints (outcomes) since the risk of            nificant over the total study period, giving the impression
         erroneously finding a difference when none truly exists                of extended duration when none exists. Indeed, the Food
         (type I error) is greatly multiplied with each comparison              and Drug Administration clinical review stated that for the
         without statistical control (e.g., a Bonferroni correction).85         hemorrhoidectomy study, “although the primary endpoint
         To illustrate, one trial designated three daily variables during       was the AUC for pain intensity during the first 72 h post-
         a 7 to 14 day period as coprimary outcomes without a sta-              operatively, the two treatments (bupivacaine liposomal and
         tistical plan managing multiple endpoints, and reported                placebo) differed significantly and clinically only during the
         P values greater than 0.05 for all but a single comparison             first 24 h” (fig. 1A).100 Similarly, for this same study, cumu-
         (pain on postoperative day 2).86 With 35 comparisons, the              lative opioid use was reported as lower at 0 to 72 h, yet there
         risk of erroneously finding at least one positive outcome is           is only an improvement within the first 12 postoperative
         83%; yet, within the abstract the single statistically signifi-        hours, and there are virtually no differences between the
         cant finding was emphasized, greatly skewing interpretation            groups over the subsequent 60 h (group differences of 0.2 to
         of the results. Designating a priori and subsequently focusing         1.2 mg during each 12-h period, with the treatment group
         on a single comparison—the primary outcome—reduces                     requiring more opioid in three of the five 12-h periods).95
         the risk of a type I error to (typically) 5% (minimizing the           The same issue may be found with the pivotal bunion
         type II risk as well).                                                 removal randomized, controlled trial, with no differences
                                                                                in effect on pain measures after 24 h (fig. 1B).94,100 So, while
         Infiltration with Liposomal Bupivacaine versus                         it is reassuring that liposomal bupivacaine was an improve-
         Placebo                                                                ment over placebo for up to 24 h, it is not compelling evi-
                                                                                dence for clinical use.
         There are 12 placebo-controlled randomized trials investi-                 A second important and frequently overlooked factor
         gating the use of liposomal bupivacaine infiltrated into the           when interpreting the results of these two placebo-con-
         surgical site to control postoperative pain after procedures           trolled trials is that pain score AUCs were not deter-
         of the trunk, extremities, and dentition (tables 1 and 2).86–97        mined exclusively using actual pain scores, but rather
         Seven of the 12 (58%) failed to find a statistically signifi-          with the “windowed worst-observation-carried-forward
         cant difference for the primary outcome measure between                + last-observation-carried-forward (“wWOCF+LOCF”)
         active and placebo treatments,86–92 and all but one had an             imputation method” in which “NRS [Numeric Rating
         overall low risk of bias based on the Cochrane risk-of-bias            Scale] scores were recorded within a time window for
         tool for randomized trials.98,99 In contrast, 5 of the 12 (42%)        patients who took postsurgical rescue pain medication (6 h,
         reported a statistically significant difference between active         based on the half-life of rescue medication…) and replaced
         and placebo treatments for either the primary outcome                  by the ‘worst’ observation (i.e., the highest pain score before
         measure or most of the outcomes (for studies which did not             taking their first rescue medication).” Furthermore, miss-
         predefine a specific primary outcome); and, all five of these          ing scores were replaced by one of three methods includ-
         randomized, controlled trials had a high risk of bias based            ing last-observation-carried-forward. While imputation
         on the Cochrane tool.93–97 We will discuss the study meth-             techniques such as last-observation-carried-forward were
         odology and interpretation of results for key investigations           accepted by the Food and Drug Administration at the time
         and then draw conclusions regarding clinical effectiveness.            of the original liposomal bupivacaine submission, it subse-
             The Food and Drug Administration used data from                    quently determined that “single imputation methods like
         three pivotal phase III studies to evaluate—and ultimately             last observation carried forward…should not be used as the
         approve—the use of liposomal bupivacaine for surgical site             primary approach to the treatment of missing data” because
         infiltration.94,95 Two of these randomized, controlled trials          it can result in an “exaggerated positive effect, biased in
         were published in the peer-reviewed literature and reported            favor of treatment.”101
         that liposomal bupivacaine infiltration compared with pla-                 Moreover, the windowed worst-observation-car-
         cebo resulted in reduced pain scores for up to 36 and 72 h             ried-forward imputation—while unquestionably a valid
         after bunion removal and hemorrhoidectomy, respectively                statistical technique—remains an artificial construct of the
         (table 1).94,95 Total opioid use, time until first opioid use,         randomized, controlled trial and decreases generalizability
         and patient satisfaction were all improved with liposomal              of the results to patients outside of the investigation. For


Ilfeld et al.                                                 Anesthesiology 2021; 134:283–344                                                     285
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                                                                                                                             286
                                                                                                                                                                Table 1. Published Randomized, Controlled Clinical Trials Comparing Infiltration of Liposomal Bupivacaine and Placebo

                                                                                                                                                                                        Treatments                                       Primary Outcome                                                   Risks of Bias

                                                                                                                                                                                                                                                                                         Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                                                                                          REVIEW ARTICLE




                                                                                                                                                                                                                                                   Liposomal                                                                   Conflict of Interest
                                                                                                                                                                Setting         Experimental           Control              Measure               Bupivacaine Control P Value     O       R       D      Mi      M      S      with Manufacturer                  Comments                  Reference



                                                                                                                                                                                                                                                No Statistically Significant Difference for Primary Outcome Measure


                                                                                                                                                                Lumbar spine   Liposomal bupiva-        Saline      Morphine mg equivalent           12 mg      13 mg      0.40   +       +       +       +      +      +     Study funding           Not registered                       Brown87
                                                                                                                                                                  (n = 50)        caine 266 mg          60 ml         0–72 h
                                                                                                                                                                                  in 60 ml
                                                                                                                                                                Vaginal wall   Liposomal                Saline      Defense and Veterans Pain         1.0         1.0      0.59   +       +       +       +      +      +     None                    Liposomal bupivacaine injection      Jones88
                                                                                                                                                                  (n = 100)       bupivacaine           20 ml         Rating Score POD 1                                                                                                                 of 20 ml; but dose not
                                                                                                                                                                                  266 mg                            Defense and Veterans Pain         2.0         1.0      0.20                                                                          specified
                                                                                                                                                                                  (presumed)                          Rating Score POD 3
                                                                                                                                                                                  in 20 ml
                                                                                                                                                                Molar          Liposomal                Saline      Numeric Rating Scale AUC          172        195       0.23   +       +       +       +      +      +     Study funding;        Large number of protocol             Lieblich89
                                                                                                                                                                  extraction      bupivacaine           10 ml         0–48 h                                                                                                     first author paid      violations; data presented for
                                                                                                                                                                  (n = 150)       133 mg                                                                                                                                         consultant; author     intention-to-treat; per protocol
                                                                                                                                                                                  in 10 ml                                                                                                                                       company employee results favored liposomal
                                                                                                                                                                                                                                                                                                                                                        bupivacaine group
                                                                                                                                                                Shoulder       Liposomal             No infiltration Morphine mg equivalent          35 mg      19 mg      0.01   +       +       +       +      +      +     None                  All subjects had preoperative        Namdari90
                                                                                                                                                                  arthroplasty    bupivacaine                          0–24 h                                                                                                                           interscalene nerve block with




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                  (n = 78)        266 mg                                                                                                                                                                ropivacaine 0.5% (15 ml)
                                                                                                                                                                                  in 20 ml
                                                                                                                                                                Tonsillectomy Liposomal              No infiltration 35 “primary endpoints” designated, but none statistically    ?       +       +       +       ?     ?     None                    Outcome assessors possibly           Olson86
                                                                                                                                                                  (n = 33)        bupivacaine                          significant with the exception of a single pain score                                                                            unmasked; multiple “primary
                                                                                                                                                                                  106 mg                               on day 1                                                                                                                         endpoints” designated but all
                                                                                                                                                                                  in 8 ml                                                                                                                                                               negative but a single pain score
                                                                                                                                                                                                                                                                                                                                                        on day 1
                                                                                                                                                                Cesarean       Liposomal                Saline      Numeric Rating Scale with         4.0         3.5      0.72   +       +       +       +      +      +     Study funding           None                                 Prabhu91
                                                                                                                                                                  delivery        bupivacaine           80 ml         movement 48 h
                                                                                                                                                                  (n = 79)        266 mg in 80 ml

                                                                                                                                                                                                                                                                                                                                                                                           (Continued )
                                                                                                                                                                Robotic        Liposomal                Saline                 VAS                    1.5         2.1      0.52   +       +       +       +      +      +     None                                     None                Yeung92
                                                                                                                                                                  sacrocol-       bupivacaine           30 ml                  18 h
                                                                                                                                                                  popexy          266 mg in 30 ml
                                                                                                                                                                  (n = 64)




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 1. (Continued)

                                                                                                                                                                                            Treatments                                         Primary Outcome                                                             Risks of Bias

                                                                                                                                                                                                                                                                                                       Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                       Liposomal                                                                                  Conflict of Interest
                                                                                                                                                                Setting           Experimental             Control              Measure               Bupivacaine Control P Value              O        P        D       Mi        M       S      with Manufacturer                    Comments                   Reference


                                                                                                                                                                                                                                                    Statistically Significant Difference for Primary Outcome Measure


                                                                                                                                                                Ankle open Liposomal                       Saline       Not designated                                                         -        +        +        +        ?       -     First author paid       Not registered; inadequate          Davidovitch93
                                                                                                                                                                  reduction   bupivacaine                  40 ml                                                                                                                                    consultant              statistical plan with no primary
                                                                                                                                                                  internal    266 mg                                                                                                                                                                                        outcome designated; outcome
                                                                                                                                                                  fixation    (presumed)                                                                                                                                                                                    assessors and investigators were
                                                                                                                                                                  (n = 76)    in 40 ml                                                                                                                                                                                      not masked to treatment group
                                                                                                                                                                                                                                                                                                                                                                            assignment
                                                                                                                                                                Hallux valgus Liposomal                    Saline       Numeric Rating Scale               197           220      < 0.01       -        +        +        ?        +       -     Study funding; author Not registered; pain outcomes         Golf94
                                                                                                                                                                  osteotomy      bupivacaine                8 ml          AUC 0–24 h                                                                                                                company employee calculated with windowed-worst
                                                                                                                                                                  (n = 185)      120 mg in 8 ml                                                                                                                                                                             observation carried forward;
                                                                                                                                                                                                                                                                                                                                                                            missing pain scores replaced
                                                                                                                                                                                                                                                                                                                                                                            by imputation; pain scores not
                                                                                                                                                                                                                                                                                                                                                                            provided for any time points
                                                                                                                                                                Hemorrhoid- Liposomal                      Saline       Numeric Rating Scale               142           203      < 0.01       -        +        +        ?        +       -     Study funding; two      Pain outcomes calculated with       Gorfine95
                                                                                                                                                                  ectomy       bupivacaine 266             30 ml          AUC 0–72 h                                                                                                                authors company         windowed worst-observa-
                                                                                                                                                                  (n = 186)    mg*                                                                                                                                                                  employees               tion-carried-forward; missing
                                                                                                                                                                               in 30 ml                                                                                                                                                                                     pain scores replaced by
                                                                                                                                                                                                                                                                                                                                                                            imputation; pain scores not




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                                                                                            provided for any time points
                                                                                                                                                                Retropubic Liposomal                       Saline       VAS                                0.35          1.3        0.14       -        +        +        +        +       -     None                    Primary outcome time points         Mazloom-
                                                                                                                                                                  sling       bupivacaine                  30 ml        4h                                                                                                                                                  differ between registry and         doost96
                                                                                                                                                                  (n = 109)   266 mg                                                                                                                                                                                        published article (registry
                                                                                                                                                                              in 30 ml                                                                                                                                                                                      time point provided in this
                                                                                                                                                                                                                                                                                                                                                                            table); authors questioned the
                                                                                                                                                                                                                                                                                                                                                                            cost–benefit ratio given very
                                                                                                                                                                                                                                                                                                                                                                            minimal improvements
                                                                                                                                                                Laparotomy Liposomal                  No                Primary outcome designated as both opioid use and pain                 -        +        +        +        +       -     No funding statement    Not registered                      Yalmanchili97
                                                                                                                                                                  (n = 67)    bupivacaine                infiltration      scores with no designated time point                                                                                     provided; no author
                                                                                                                                                                              266 mg                                                                                                                                                                conflict of interest
                                                                                                                                                                              in 200 ml†                                                                                                                                                            information provided
                                                                                                                                                                An additional publication (unregistered) reports adverse events from what appears to be an overlapping patient population,205 and one study purports to be “randomized” but was actually sequential.206 Secondary outcomes are presented in table 2.
                                                                                                                                                                *Dose reported as 300 mg, but this is chemically equivalent to 266 mg free base, which is described by nearly all investigations.23 †A third treatment group not involving infiltration excluded from this chart (e.g., continuous peripheral nerve block).
                                                                                                                                                                AUC, area under the receiving operator characteristics curve; POD, postoperative day; VAS, visual analogue scale. Cochrane Risk of Bias 2 abbreviations: O, overall risk of bias; R, bias arising from the randomization process; D, bias due to deviations from
                                                                                                                                                                intended interventions; Mi, bias due to missing outcome data; M, bias in measurement of the outcome; S, bias in selection of the reported result.




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                                                                                                                                                                                                                                                                                                                                                                                                                                   Liposomal Bupivacaine to Treat Postoperative Pain




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                                                                                                                                                                                                      Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003630/498942/aln.0000000000003630.pdf by Jonathan Slonin on 04 January 2021
                                                                                                                             288
                                                                                                                                                                Table 2. Secondary Outcomes for Published Randomized, Controlled Clinical Trials Comparing Infiltration of Liposomal Bupivacaine and Placebo

                                                                                                                                                                                            Treatments                                  Pain Scores                                        Opioid Consumption (mg)                                Length of Stay

                                                                                                                                                                                                                                            Liposomal                  Morphine mg Liposomal                                                Liposomal
                                                                                                                                                                                                                                                                                                                                                                                                    REVIEW ARTICLE




                                                                                                                                                                Setting            Experimental        Control           Measure           Bupivacaine Control P Value Equivalents Bupivacaine Control                 P Value     Measure Bupivacaine Control P Value              Reference



                                                                                                                                                                                                                                        No Statistically Significant Difference for Primary Outcome Measure

                                                                                                                                                                Lumbar spine       Liposomal      Saline 60 ml      VAS POD 1–3                5.0         4.8       0.80      IV rescue         1.3          1.2        0.83         Days          3.6         3.7         0.25   Brown87
                                                                                                                                                                  (n = 50)            bupivacaine
                                                                                                                                                                                      266 mg
                                                                                                                                                                                      in 60 ml
                                                                                                                                                                Vaginal wall       Liposomal      Saline 20 ml      Defense and Veterans       3.0         1.5       0.06       POD 0–7          113         102         0.81                       Not reported                   Jones88
                                                                                                                                                                  (n = 100)           bupivacaine                     Pain Rating Score
                                                                                                                                                                                      266 mg                          POD 7
                                                                                                                                                                                      in 20 ml
                                                                                                                                                                                      (presumed)
                                                                                                                                                                Molar extraction   Liposomal      Saline 10 ml      Numeric Rating Scale       274         311      > 0.05      0–48 h           2.9          3.2        0.74           Not applicable (ambulatory procedures)     Lieblich89
                                                                                                                                                                  (n = 150)           bupivacaine                   AUC
                                                                                                                                                                                      133 mg                        0–96 h
                                                                                                                                                                                      in 10 ml
                                                                                                                                                                Shoulder           Liposomal      No infiltration   VAS 8 h                    3.2         3.0      > 0.05   Intraoperative       12          11         0.17         Days          1.5         1.5         0.56   Namdari90
                                                                                                                                                                  arthroplasty        bupivacaine                   VAS 24 h                   4.2         4.0
                                                                                                                                                                  (n = 78)            266 mg                        VAS 72 h                   2.9         3.5
                                                                                                                                                                                      in 20 ml




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                Tonsillectomy      Liposomal      No infiltration   VAS POD 1                  3.1         4.9       0.04      Oxycodone          18          21        >0.05     Not applicable (ambulatory procedures)           Olson86
                                                                                                                                                                  (n = 33)            bupivacaine                   VAS POD 2                  4.2         5.1       0.29        POD 1
                                                                                                                                                                                      106 mg
                                                                                                                                                                                      in 8 ml                       VAS POD 3                  5.1         5.4       0.63
                                                                                                                                                                Cesarean delivery Liposomal      Saline 80 ml       Numeric Rating Scale        5           4        0.50       0–48 h            38          38         0.44     Percent dis-     18%      10%        Not        Prabhu91
                                                                                                                                                                  (n = 79)           bupivacaine                      at rest 28 h                                                                                                  charged                              reported
                                                                                                                                                                                     266 mg                         Numeric Rating Scale        3          2.5       0.14                                                           by POD 3
                                                                                                                                                                                     in 80 ml                         at rest 48 h
                                                                                                                                                                Robotic         Liposomal    Saline 30 ml           VAS average POD 1          2.9         3.4       0.82       0–72 h            27          18         0.90     Not reported, but 5 and 4 subjects were          Yeung92
                                                                                                                                                                  sacrocolpopexy bupivacaine                                                                                                                                        discharged home with a Foley catheter after
                                                                                                                                                                  (n = 64)         266 mg                           VAS average POD 2          2.3         2.5       0.80                                                           failing a voiding trial (P > 0.99)
                                                                                                                                                                                   in 30 ml
                                                                                                                                                                                                                                                                                                                                                                                     (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 2. (Continued)

                                                                                                                                                                                                Treatments                                        Pain Scores                                            Opioid Consumption (mg)                                           Length of Stay

                                                                                                                                                                                                                                                     Liposomal                  Morphine mg Liposomal                                                              Liposomal
                                                                                                                                                                Setting               Experimental Control                       Measure            Bupivacaine Control P Value Equivalents Bupivacaine Control                             P Value       Measure Bupivacaine Control P Value                    Reference



                                                                                                                                                                                                                                                          Statistically Significant Difference for Primary Outcome Measure


                                                                                                                                                                Ankle open         Liposomal      Saline 40 ml             VAS at 24 h                    6.4           7.4      < 0.05 Percocet tablets            9             11          0.12          Hours           121            92       P > 0.05 Davidovitch93
                                                                                                                                                                  reduction           bupivacaine                                                                                       POD 1–3
                                                                                                                                                                                                                           VAS at 48 h                    5.1           6.5
                                                                                                                                                                  internal fixation 266 mg                                 VAS at 72 h                    4.0           5.7
                                                                                                                                                                  (n = 76)            (presumed)
                                                                                                                                                                                      in 40 ml

                                                                                                                                                                Hallux valgus    Liposomal      Saline                   No pain scores reported                                           “Adjusted mean          3.8           4.7          0.01       Not reported                                           Golf94
                                                                                                                                                                  osteotomy (n =    bupivacaine 8 ml                     (outside of AUC 0–24 h)                                             total” number
                                                                                                                                                                  185)              120 In 8 ml                                                                                              Percocet
                                                                                                                                                                                                                                                                                             tablets
                                                                                                                                                                Hemorrhoidectomy Liposomal      Saline 30 ml             No pain scores reported                                                0–12 h             6.2           14.7        < 0.01 Not reported                                       Gorfine95
                                                                                                                                                                  (n = 186)         bupivacaine                          (outside of AUC 0–72 h)                                               12–24 h             5.1           5.3        12–72 h (all subjects were required to remain hospitalized
                                                                                                                                                                                    266*                                                                                                       24–48 h             6.4           5.4            not     for a minimum of 72 h)
                                                                                                                                                                                    in 30 ml                                                                                                   48–72 h             5.1           3.7         provided
                                                                                                                                                                Retropubic sling Liposomal      Saline 30 ml             VAS POD 1                        1.0           2.7       0.01     POD 1                   6.6           7.0         0.295    Not reported                                     Mazloom-
                                                                                                                                                                  (n = 109)         bupivacaine                          VAS POD 2                        1.4           1.7       0.19     POD 2                   6.0            5.0         0.01                                                       doost96
                                                                                                                                                                                    266




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                    in 30 ml                             VAS POD 3                        0.6           1.0       0.01     POD 3                   5.6           4.7          0.24

                                                                                                                                                                                                                    VAS POD 4                             0.3           0.6       0.34 POD 4                       3.8           4.3          0.64
                                                                                                                                                                Laparotomy           Liposomal      No infiltration Numeric Rating Scale                  4.8           7.1      < 0.01 0–72 h                     101           210         < 0.01          Days            9.3          10.4         0.41     Yalmanchili97
                                                                                                                                                                  (n = 67)              bupivacaine                   POD 1
                                                                                                                                                                                        266                         Numeric Rating Scale                  4.2           6.3
                                                                                                                                                                                        in 200 ml†                    POD 2
                                                                                                                                                                                                                    Numeric Rating Scale                  3.6           5.5
                                                                                                                                                                                                                      POD 3

                                                                                                                                                                An additional publication (unregistered) reports adverse events from what appears to be an overlapping patient population,205 and one study purports to be “randomized” but was actually sequential.206 Primary outcomes are presented in table 1.
                                                                                                                                                                *Dose reported as 300 mg, but this is chemically equivalent to 266 mg free base, which is described by nearly all investigations.23 †A third treatment group not involving infiltration excluded from this chart (e.g., continuous peripheral nerve block).
                                                                                                                                                                AUC, area under the receiver operating characteristics curve; IV, intravenous; POD, postoperative day; VAS, visual analogue scale.




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                                                                                           Three additional randomized, controlled trials provide
                                                                                       evidence of liposomal bupivacaine superiority over normal
                        Hemorrhoidectomy
             10
                                                                                       saline when infiltrated into the surgical site after a variety
             9                                             •   Placebo
                                                               Bupivacaine,
                                                                                       of orthopedic and soft tissue procedures, including ankle
                                                                                       open reduction internal fixation,93 retropubic sling place-
        ~ 7
             8
                                                           •   Liposomal
                                                                                       ment,96 and laparotomy,97 although all had a high risk of
        ·.;; 6                                                                         bias with two failing to specify a primary outcome,93,97 and




                                                                                                                                                                      Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003630/498942/aln.0000000000003630.pdf by Jonathan Slonin on 04 January 2021
         C
         ~ 5
        .5                                                                             the third demonstrating a discrepancy in primary outcome
         C 4                                                                           between the registry and published article.96 Pain scores and
        ·; 3
        0.
             2
                                                                                       opioid consumption were inconsistently improved at var-
                                                                                       ious time points within the first 72 postoperative hours,
             0                                                                         and the authors of one study questioned the cost–benefit
                  0    12        24        36        48         60            72       ratio given the minimal benefit reflected in their results.96
                                      Time (hours)
                                                                                       In contrast, seven other placebo-controlled randomized
                            Bunionectomy                                               trials failed to detect a statistically significant difference
             10                                                                        between liposomal bupivacaine infiltration and normal
             9                                             •   Placebo
                                                               Bupivacaine,
                                                                                       saline for pain scores—usually the primary outcome—opi-
         ~ 7
             8
                                                           •   Liposomal               oid consumption, and hospital length of stay.86–92 Many of
        ·.;; 6                                                                         these studies involved surgical procedures similar to inves-
         C
         ~ 5                                                                           tigations reporting statistical significance, such as shoulder
        .5                                                                             arthroplasty,29,90 gynecologic surgery,88,92,96 and cesarean
         C 4
        ·;
        0.   3                                                                         delivery.91,97
             2

                                                                                       Summary
                       12        24        36         48         60           72       To summarize the evidence for the use of surgical site infil-
                                      Time (hours)
                                                                                       tration with liposomal bupivacaine over normal saline, of
                                                                                       the 12 published randomized, controlled trials, seven (58%)
        Fig. 1. Pain intensity versus time plot showing the difference in              failed to find a statistically significant difference for the pri-
        effect on mean ± SD pain with liposomal bupivacaine compared                   mary outcome measure; all but one with an overall low risk
        to placebo for (A) hemorrhoidectomy and (B) bunionectomy sur-                  of bias.86–92 In contrast, five of the 12 (42%) reported a sta-
        gical site infiltration. Note that while the primary outcomes were             tistically significance difference between active and placebo
        the area under the curve for the first 72 and 48 h, respectively,              treatments for either the primary outcome measure or, for
        and were positive for each, no differences were found at individual
                                                                                       studies that did not predefine a specific primary outcome,
        time points after 24 h. In other words, although liposomal bupiva-
        caine was not found superior to placebo after the first 24 postoper-           most of the outcomes.93–97 All five of these trials had an
        ative hours, the positive primary outcomes implied a duration of 48            overall high risk of bias.93–97 Results from the two pivotal
        to 72 h. Reproduced with permission, with color added for clarity.100          placebo-controlled randomized trials suggest that liposo-
                                                                                       mal bupivacaine infiltration results in decreased NRS after
                                                                                       hemorrhoidectomy and hallux valgus osteotomy,94,95 but
                                                                                       the reporting of pain score data as AUC makes the actual
      example, in a hypothetical study using this imputation tech-                     duration of analgesia impossible to determine. Only with
      nique, if a study subject has a pain score of 6 on the 0 to 10                   access to the primary data set could the Food and Drug
      scale and takes an opioid resulting in perfect analgesia for                     Administration conclude that any analgesia improvements
      6 h, the study reports this subject in moderate pain for the                     from liposomal bupivacaine were limited to only 24 h for
      entire 6 h. However, this result would not accurately reflect                    hemorrhoidectomy and 12 h for hallux valgus osteotomy.100
      the experience of patients outside of the randomized, con-                       Furthermore, the imputation method used in both pivotal
                                                                                       randomized, controlled trials exaggerates positive effects
      trolled trial who would—again, hypothetically solely for
                                                                                       and decreases applicability to nonstudy patients.
      illustration—experience moderate pain for the duration of
      analgesia onset, but then experience no pain for the remain-
      der of the 6 h. This difficulty in interpreting imputed results                  Infiltration with Liposomal Bupivacaine versus
      may be partially alleviated if both the imputed and non-                         an Active Control for Procedures other than Knee
      imputed scores are provided, or if the number of missing                         Arthroplasty
      data points is provided. However, these two pivotal studies                      Long-acting local anesthetics, such as unencapsulated
      reported only the imputed values and no actual pain scores                       bupivacaine, have been clinically available for decades. For
      at any time point.94,95                                                          healthcare providers, the choice, therefore, is not between


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         liposomal bupivacaine and a placebo, but rather replacing               performed”). Therefore, this trial was deemed to be at high
         an older medication with the new. Only studies includ-                  risk of bias.98,99
         ing an active control can provide data on which to base                     Another randomized, controlled trial reporting a statisti-
         a decision. Fortunately, at the time of this writing, there             cally significant difference for its primary outcome measure
         are 36 randomized, controlled trials involving surgical site            involved hemorrhoidectomy, which demonstrated liposo-
         infiltration comparing liposomal bupivacaine and unen-                  mal bupivacaine benefits in pain scores, opioid consump-
         capsulated bupivacaine or ropivacaine (tables 3-6).23,31,102–131        tion, and opioid-related side effects.113 Pain scores were




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         Since nearly half of these include a single surgical proce-             provided only in the cumulative 0 to 72 h AUC format,
         dure—knee arthroplasty—we will present these studies                    without daily totals, precluding assessment of the time win-
         separately (tables 5 and 6).23,31,117–131                               dow of true difference.113 It is also noteworthy that compar-
             Of the 19 randomized, active-controlled trials involving            ing the maximum approved dose of liposomal bupivacaine
         surgical procedures other than knee arthroplasty, 15 (79%)              (266 mg) to 75 mg of bupivacaine hydrochloride in this
         failed to find a statistically significant difference for their         study resulted in a statistically significant difference; how-
         primary outcome measure (tables 3 and 4).23,102–112 These               ever, a very similar randomized, controlled trial that used
         included both open and laparoscopic orthopedic and soft                 a 100 mg bupivacaine hydrochloride dose did not detect
         tissue procedures of the trunk, extremities, and dentition.             a statistically significant difference between treatments.23
         While a few detected improvements favoring liposo-                      Importantly, 100 mg still remains far below the maximum
         mal bupivacaine in some secondary endpoints,102,103,105,109             Food and Drug Administration–approved dose of bupiv-
         the majority failed to detect statistically significant dif-            acaine hydrochloride—2.5 mg/kg up to 175 mg (3 mg/kg
         ferences between treatments for all variables at all time               up to 225 mg with the addition of epinephrine)—while the
         points.23,104,106–108,110–112 Overall risk of bias was deemed           maximum approved liposomal bupivacaine dose of 266 mg
         low in eight,23,105–108,110 some concerns in three,104,111,112 and      was utilized.100 Due to a discrepancy between the regis-
         high in three studies.102,103,109 Multiple investigations were          try description of the primary outcome measure and the
         unregistered and/or did not specify a primary outcome
                                                                                 published manuscript, this study was rated at high risk of
         measure time point, although the impact of these deficien-
                                                                                 bias.98,99
         cies appears minimal with the near total lack of statistical
                                                                                     The remaining two investigations with statistically sig-
         significance between treatments. Furthermore, some of the
                                                                                 nificant differences for their primary endpoints involved
         negative studies were phase II and III dose–response tri-
                                                                                 soft tissue surgical procedures.115,116 The first examined
         als that were not specifically designed to investigate clinical
                                                                                 infiltrating liposomal bupivacaine after midurethral sling
         effectiveness.23 However, they were included in a manu-
                                                                                 placement and identified lower pain scores exclusively on
         facturer-supported review article that highlighted positive
                                                                                 the first postoperative day of seven.115 The investigators
         findings in various secondary and tertiary endpoints23; thus,
         it appears reasonable to include the negative findings here             concluded that liposomal bupivacaine “did not result in
         as well.                                                                a clinically significant [emphasis added] difference in POD
             In contrast, 4 of the 19 randomized, controlled trials              [postoperative day] 1 pain scores,” and given the lack of
         (21%) reported a statistically significant difference for their         analgesic improvement and opioid at other time points,
         primary outcome measure(s) between liposomal bupiva-                    “the cost of this anesthetic…may not justify its use…”115
         caine and unencapsulated local anesthetic.113–116 Three of              Similarly, while the authors of the second article found
         these were rated as having a high risk of bias,113,114,116 while        a statistically significant reduction in pain scores within
         one was rated as “some concerns.”115 The investigation with             the 72 h after mammoplasty, these improvements were
         the strongest findings involved oral/dental implant surgery,            less than 1.0 point on the 0 to 10 Numeric Rating Scale,
         with liposomal bupivacaine resulting in lower cumulative                leading the authors to conclude “that the additional cost
         pain scores at all time points during the first postoperative           of liposomal bupivacaine is unjustified for this particular
         week.114 Satisfaction with analgesia was higher within the              use.”116
         first 24 h after surgery, although there were no differences                Both of the two positive trials used a dose of bupivacaine
         in opioid consumption.114 Unfortunately, only 12.5 ml                   hydrochloride for the control arm at less than half of the
         (63 mg) of bupivacaine hydrochloride was utilized for the               Food and Drug Administration–approved and frequently
         comparison/control group—less than half of the 30 ml fre-               used maximum for these surgical procedures.23,113,114,132
         quently used for simple molar extraction—while the maxi-                Both liposomal and unencapsulated bupivacaine have a
         mum approved liposomal bupivacaine dose was utilized for                dose–response relationship with increasing doses resulting
         the experimental group.132 The registry provided no details             in increased effects/duration and, conversely, decreasing
         as to how the primary outcome measure would be ana-                     dose resulting in decreased effects/duration.23 Therefore,
         lyzed (“postsurgical pain severity [time frame: 7 days]”), and          when evaluating active-controlled trials, lower dosing of
         the published article did not mention a primary outcome                 the comparator local anesthetic reduces confidence in the
         measure (but stated that “no sample size calculation was                clinical applicability of the results.


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                                                                                                                             292
                                                                                                                                                                Table 3. Published Randomized, Controlled Clinical Trials Comparing Infiltration of Liposomal Bupivacaine and Unencapsulated Ropivacaine, Bupivacaine, or Lidocaine for Surgical
                                                                                                                                                                Procedures other than Knee Arthroplasty

                                                                                                                                                                                             Treatments                               Primary Outcome                                                  Risks of Bias
                                                                                                                                                                                                                                                                                                                                                                                                       REVIEW ARTICLE




                                                                                                                                                                                                                                          Liposomal                                 Cochrane Risk of Bias 2
                                                                                                                                                                                                                                           Bupiva-                                                                           Conflict of Interest
                                                                                                                                                                Setting             Experimental          Control         Measure            caine Control P Value          O       R        D        Mi      M        S     with Manufacturer                 Comments                 Reference


                                                                                                                                                                                                                                          No Statistically Significant Difference for Primary Outcome Measure

                                                                                                                                                                Radial fractureLiposomal          Bupivacaine    13 primary outcome measures designated, all                -        -       +        +        +       ?   Study funding; two     Not registered; randomization           Alter102
                                                                                                                                                                  (n = 41)        bupivacaine       hydrochloride negative after day of surgery                                                                               authors with           by day of birth (unconcealed);
                                                                                                                                                                                  133 mg in 10 ml   100 mg                                                                                                                    undisclosed general    primary outcome designated
                                                                                                                                                                                  bupivacaine       in 20 ml                                                                                                                  payments per Open      both pain scores and pill
                                                                                                                                                                                  HCl 50 mg                                                                                                                                   Payments website       counts without specifying
                                                                                                                                                                                  in 20 ml                                                                                                                                                           time point(s)
                                                                                                                                                                Laparoscopic   Liposomal          Bupivacaine    Average Numeric        4.2      5.0    > 0.05              -       +        +        +        +       -   None                   Article presented average pain on      Barron103
                                                                                                                                                                  hysterectomy    bupivacaine       hydrochloride Rating Scale                                                                                                                       POD 3 as the primary outcome;
                                                                                                                                                                  (n = 64)        266 mg            50 mg          POD 1                                                                                                                             but it was prospectively
                                                                                                                                                                                  in 20 ml          in 20 ml                                                                                                                                         designated as POD 1 in the
                                                                                                                                                                                                                                                                                                                                                     registry (NCT02352922);
                                                                                                                                                                                                                                                                                                                                                     authors concluded that results
                                                                                                                                                                                                                                                                                                                                                     do “not validate its routine use
                                                                                                                                                                                                                                                                                                                                                     in laparoscopic surgery”103
                                                                                                                                                                Inguinal hernia   Liposomal           Bupivacaine    Time to first sup-      Not reported       > 0.05      +       +        +        +        +       +   Study funding; author NCT01203644; phase II dose–re-         Bergese23
                                                                                                                                                                   repair            bupivacaine        hydrochloride plemental pain                                                                                          company employee       sponse study; liposomal




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                   (n = 76)          155–310 mg         100 mg         medication use                                                                                                                bupivacaine 310 mg treatment
                                                                                                                                                                                     (volume not        in 20 ml                                                                                                                                     arm with dose greater than
                                                                                                                                                                                     reported)                                                                                                                                                       Food and Drug Administra-
                                                                                                                                                                                                                                                                                                                                                     tion–approved maximum of
                                                                                                                                                                                                                                                                                                                                                     266 mg
                                                                                                                                                                Inguinal hernia   Liposomal bupiva- Bupivacaine    Average Numeric           Not reported       > 0.05      +       +        +        +        +       +   Study funding; author NCT00485433; phase II dose–re-         Bergese23
                                                                                                                                                                   repair            caine 93–306 mg hydrochloride Rating Scale                                                                                               company employee       sponse study; liposomal
                                                                                                                                                                   (n = 98)          (volume not      105 mg (+      AUC 0–72 h                                                                                                                      bupivacaine 306 mg treatment
                                                                                                                                                                                     reported)        epinephrine)                                                                                                                                   arm with dose greater than
                                                                                                                                                                                                      in 20 ml                                                                                                                                       Food and Drug Administra-
                                                                                                                                                                                                                                                                                                                                                     tion–approved maximum of
                                                                                                                                                                                                                                                                                                                                                     266 mg
                                                                                                                                                                                                                                                                                                                                                                                        (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 3. (Continued)

                                                                                                                                                                                           Treatments                             Primary Outcome                                                  Risks of Bias

                                                                                                                                                                                                                                     Liposomal                                  Cochrane Risk of Bias 2
                                                                                                                                                                                                                                      Bupiva-                                                                            Conflict of Interest
                                                                                                                                                                Setting           Experimental        Control         Measure           caine Control P Value           O       R        D        Mi      M        S     with Manufacturer                 Comments             Reference

                                                                                                                                                                Breast augmen- Liposomal bupiv- Bupivacaine         Average Numeric Not reported            > 0.05      +       +        +        +        +       +   Study funding; author    NCT01206608; phase II          Bergese23
                                                                                                                                                                   tation (n = 80) acaine 133 or       hydrochloride Rating Scale                                                                                         company employee        dose–response study
                                                                                                                                                                                     266 mg (volume    75 mg (+       AUC 0–96 h
                                                                                                                                                                                     not reported)     epinephrine)
                                                                                                                                                                                                       in 15 ml
                                                                                                                                                                Hemorrhoidec- Liposomal              Bupivacaine    Average Numeric Not reported            > 0.05      +       +        +        +        +       +   Study funding; author    NCT00744848; phase III         Bergese23
                                                                                                                                                                   tomy              bupivacaine       hydrochloride Rating Scale                                                                                         company employee        efficacy study
                                                                                                                                                                   (n = 204)         266 mg (volume    100 mg (+      AUC 0–96 h
                                                                                                                                                                                     not reported)     epinephrine)
                                                                                                                                                                                                       in 20 ml
                                                                                                                                                                Orthopedic wrist Liposomal           Bupivacaine    Numeric Rating     6.0        7.5        0.52       ?       +        +        +        +       ?   Product               Not registered; time point not    Dale104
                                                                                                                                                                   surgery           bupivacaine       hydrochloride Scale POD 1                                                                                          provided by company specified for primary outcome,
                                                                                                                                                                   (n = 52)          266 mg            75 mg        Numeric Rating     3.5        3.0        0.42                                                                              postoperative pain, but no time
                                                                                                                                                                                     in 20 ml          in 15 ml       Scale POD 2                                                                                                              point detected a statistically
                                                                                                                                                                                                                    Numeric Rating     2.0        2.0        0.57                                                                              significant difference
                                                                                                                                                                                                                      Scale POD 3
                                                                                                                                                                                                                    Numeric Rating     2.0        2.0        0.14
                                                                                                                                                                                                                      Scale POD 4
                                                                                                                                                                Total hip arthro- Liposomal bupiv- Ropiv 200–       Maximum            3.0        4.0        0.10       +       +        +        +        +       +   Author paid consultant Additional control group included Johnson105
                                                                                                                                                                   plasty            acaine 266 mg;    400 mg (+      Numeric Rating                                                                                                            in table 7; both treatments




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                   (n = 108)         bupivacaine       epinephrine)   Scale POD 1                                                                                                               included ketorolac 30 mg
                                                                                                                                                                                     hydrochloride     in 120 ml      06:00–12:00
                                                                                                                                                                                     125 mg (+
                                                                                                                                                                                     epinephrine) in
                                                                                                                                                                                     120 ml
                                                                                                                                                                Laparoscopic      Liposomal          Bupivacaine    Morphine mg       15.0       17.3        0.39       +       +        +        +        +       +   None                     Not registered                 Knight106
                                                                                                                                                                   urologic          bupivacaine       hydrochloride equivalent for
                                                                                                                                                                   surgery           266 mg in 60 ml 2 mg/kg (max- entire hospital-
                                                                                                                                                                   (n = 191)                           imum 150)      ization
                                                                                                                                                                                                       mg in 60 ml
                                                                                                                                                                                                                                                                                                                                                                                 (Continued )




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                                                                                                                                                                                                                                                                                                                                                                                                Liposomal Bupivacaine to Treat Postoperative Pain
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                                                                                                                                                                Table 3. (Continued)

                                                                                                                                                                                           Treatments                               Primary Outcome                                                  Risks of Bias
                                                                                                                                                                                                                                                                                                                                                                                                          REVIEW ARTICLE




                                                                                                                                                                                                                                        Liposomal                                 Cochrane Risk of Bias 2
                                                                                                                                                                                                                                         Bupiva-                                                                           Conflict of Interest
                                                                                                                                                                Setting           Experimental          Control         Measure            caine Control P Value          O       R        D        Mi      M        S     with Manufacturer                  Comments                    Reference

                                                                                                                                                                Colon resection Liposomal           Bupivacaine    Morphine mg             15.0       12.8     0.54       +       +        +        +        +       +             None           Authors noted that “when excluding      Knudson107
                                                                                                                                                                  (n = 57)         bupivacaine        hydrochloride equivalent                                                                                                                       one outlier with length of stay 66
                                                                                                                                                                                   266 mg             150 mg (+      0–48 h                                                                                                                          days, the mean is 4.0” vs. 6.2
                                                                                                                                                                                   in 30 ml           epinephrine)                                                                                                                                   reported in table 4 (P = 0.79).
                                                                                                                                                                                                      in 30 ml
                                                                                                                                                                Bariatric       Liposomal bupiv-    Bupivacaine    Morphine mg             8.3        7.5      0.85       +       +        +        +        +       +             None           More control subjects                     Ma108
                                                                                                                                                                  surgery          acaine 266 mg;     hydrochloride equivalent for                                                                                                                  were opioid-free on
                                                                                                                                                                  (n = 179)        bupivacaine        150 mg         entire hospital-                                                                                                               POD 2–4
                                                                                                                                                                                   hydrochloride      in 100 ml      ization
                                                                                                                                                                                   150 mg in 100 ml
                                                                                                                                                                Breast recon-   Liposomal           Bupivacaine    Average Numeric         3.7        3.7     > 0.05      -       +        +         -       ?       -             None           Registration listed n = 200 and   Motakef109
                                                                                                                                                                  struction        bupivacaine        hydrochloride Rating Scale                                                                                                                     no interim analyses, but study
                                                                                                                                                                  (n = 24)         266 mg in 20 ml 100 mg (+         POD 1                                                                                                                           ended with
                                                                                                                                                                                                      epinephrine)                                                                                                                                   n = 24 due to “per protocol
                                                                                                                                                                                                      in 20 ml                                                                                                                                       planned interim analysis”; no
                                                                                                                                                                                                                                                                                                                                                     difference in pain scores yet
                                                                                                                                                                                                                                                                                                                                                     56% longer admission with
                                                                                                                                                                                                                                                                                                                                                     bupivacaine hydrochloride and




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                                                                     hospital “charges” 72% higher
                                                                                                                                                                                                                                                                                                                                                     for bupivacaine hydrochloride
                                                                                                                                                                                                                                                                                                                                                     subjects (P=0.04)
                                                                                                                                                                Hip arthroplasty Liposomal bupiv- Bupivacaine    Morphine mg              100.3      121.2     0.25       +       +        +        +        +       +   Senior author paid       Treatment group received 33%      Perets110
                                                                                                                                                                   (n = 107)        acaine 266 mg;  hydrochloride equivalent                                                                                               consultant                more volume than control
                                                                                                                                                                                    bupivacaine     150 mg (+      0–72 h                                                                                                                            group, possibly accounting for
                                                                                                                                                                                    hydrochloride   epinephrine)                                                                                                                                     decreased opioid use for hours
                                                                                                                                                                                    100 mg          in 60 ml                                                                                                                                         0–12
                                                                                                                                                                                    in 80 ml
                                                                                                                                                                                                                                                                                                                                                                                           (Continued )




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                                                                                                                                                                Table 3. (Continued)

                                                                                                                                                                                           Treatments                              Primary Outcome                                                  Risks of Bias

                                                                                                                                                                                                                                       Liposomal                                  Cochrane Risk of Bias 2
                                                                                                                                                                                                                                        Bupiva-                                                                            Conflict of Interest
                                                                                                                                                                Setting           Experimental          Control         Measure           caine Control P Value          O        R        D       Mi       M       S      with Manufacturer                 Comments                 Reference

                                                                                                                                                                Anterior        Liposomal         Bupivacaine    Mean Numeric              5.6        5.2      0.69      ?        +        +        +       +       ?    Product                  Primary outcome (pain scores)       Premku-
                                                                                                                                                                  cruciate         bupivacaine      hydrochloride Rating Scale                                                                                              donated                  time point unclear between         mar111
                                                                                                                                                                  ligament         266 mg           100 mg         24–36 h                                                                                                                           registration and manuscript, but
                                                                                                                                                                  reconstruction in 40 ml           in 40 ml     Mean Numeric              4.7        4.1      0.54                                                                                  all negative regardless; power
                                                                                                                                                                  (n = 29)                                         Rating Scale                                                                                                                      analysis notes average Numeric
                                                                                                                                                                                                                   48–60 h                                                                                                                           Rating Scale 0–72 h
                                                                                                                                                                                                                 Mean Numeric              4.5        3.6      0.40
                                                                                                                                                                                                                   Rating Scale
                                                                                                                                                                                                                   72–84 h
                                                                                                                                                                Vaginal         Liposomal bupiv- Lido 150 mg     Median VAS 24 h            0          0      > 0.05     ?        +        +        +       +       ?    None                     Primary outcome time point          Propst112
                                                                                                                                                                  prolapse         acaine 266 mg;   in 30 ml                                                                                                                                         unclear between registration
                                                                                                                                                                  (n = 33)         bupivacaine                   Median VAS 48 h            0          0                                                                                             and manuscript, but all negative
                                                                                                                                                                                   hydrochloride                                                                                                                                                     for VAS buttocks pain
                                                                                                                                                                                   50 in 30 ml                   Median VAS 72 h           0.2         0

                                                                                                                                                                                                                                         Statistically Significant Difference for Primary Outcome Measure

                                                                                                                                                                Hemorrhoidec-   Liposomal          Bupivacaine    Average Numeric          220        335     > 0.05      -       +        +        +       +        -   Study funding; author “Post hoc analysis” performed to        Haas113
                                                                                                                                                                  tomy             bupivacaine 66,   hydrochloride Rating Scale                                                                                             company employee;    include comparisons for differ-
                                                                                                                                                                  (n = 100)        99, or 266 mg     75 mg          AUC 0–72 h                                                                                              no author conflict   ent liposomal bupivacaine dos-




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                   in 30 ml          in 30 ml       liposomal                                                                                               information          es—the original analysis plan
                                                                                                                                                                                                                    bupivacaine                                                                                                                  described in the registry did
                                                                                                                                                                                                                    66 mg                                                                                                                        not divide the cohort by dose;
                                                                                                                                                                                                                  Average Numeric          165        335     < 0.01                                                                             daily pain scores not provided,
                                                                                                                                                                                                                    Rating Scale                                                                                                                 so difficult to interpret clinical
                                                                                                                                                                                                                    AUC 0–72 h                                                                                                                   significance of the statistically
                                                                                                                                                                                                                    liposomal                                                                                                                    significant difference in AUC
                                                                                                                                                                                                                    bupivacaine
                                                                                                                                                                                                                    99 mg
                                                                                                                                                                                                                  Average Numeric          165        335     < 0.01
                                                                                                                                                                                                                    Rating Scale
                                                                                                                                                                                                                    AUC 0–72 h
                                                                                                                                                                                                                    liposomal
                                                                                                                                                                                                                    bupivacaine
                                                                                                                                                                                                                    266 mg
                                                                                                                                                                                                                                                                                                                                                                                      (Continued )




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                                                                                                                                                                                                                                                                                                                                                                                                     Liposomal Bupivacaine to Treat Postoperative Pain
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                                                                                                                                                                Table 3. (Continued)
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                                                                                                                                                                                          Treatments                            Primary Outcome                                                  Risks of Bias

                                                                                                                                                                                                                                    Liposomal                                  Cochrane Risk of Bias 2
                                                                                                                                                                                                                                     Bupiva-                                                                            Conflict of Interest
                                                                                                                                                                Setting          Experimental        Control         Measure           caine Control P Value           O       R        D       Mi       M       S      with Manufacturer                Comments                   Reference
                                                                                                                                                                                                                                                                                                                                                                                    Iero114
                                                                                                                                                                Dental implants Liposomal bupiv- Bupivacaine    Mandible Numeric       24.9        35.3     0.01       -       +        +        +       ?        -   Study funding; first   Volume of bupivacaine hydro-
                                                                                                                                                                  (n = 69)         acaine 266 mg;  hydrochloride Rating Scale                                                                                            author paid consul-    chloride described as 7 “car-
                                                                                                                                                                                   bupivacaine     63 mg          Days 0–7                                                                                               tant; author company pujects,” equivalent to 12.6 ml
                                                                                                                                                                                   hydrochloride   in 12.6 ml                                                                                                            employee               (63 mg), or less than half of
                                                                                                                                                                                   63 mg                                                                                                                                                        the 30 ml volume frequently
                                                                                                                                                                                                                Maxilla Numeric        24.6        36.4     0.01
                                                                                                                                                                                   in 32.6 ml                                                                                                                                                   used for molar extraction;
                                                                                                                                                                                                                  Rating Scale
                                                                                                                                                                                                                                                                                                                                                investigators and outcome
                                                                                                                                                                                                                  Days 0–7
                                                                                                                                                                                                                                                                                                                                                assessors were not masked to
                                                                                                                                                                                                                                                                                                                                                treatment group; in the registry,
                                                                                                                                                                                                                                                                                                                                                the time frame for the primary
                                                                                                                                                                                                                                                                                                                                                outcome (“postsurgical pain
                                                                                                                                                                                                                                                                                                                                                severity”) was specified as “7
                                                                                                                                                                                                                                                                                                                                                days” but no further details
                                                                                                                                                                                                                                                                                                                                                provided; the published article
                                                                                                                                                                                                                                                                                                                                                did not mention a primary
                                                                                                                                                                                                                                                                                                                                                outcome measure; mandible
                                                                                                                                                                                                                                                                                                                                                and maxilla pain separation not




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                                                                mentioned in registry (post hoc
                                                                                                                                                                                                                                                                                                                                                decision?); daily pain scores
                                                                                                                                                                                                                                                                                                                                                not provided—only cumulative
                                                                                                                                                                                                                                                                                                                                                sum of all scores to that time
                                                                                                                                                                                                                                                                                                                                                point—making it difficult to
                                                                                                                                                                                                                                                                                                                                                interpret clinical significance
                                                                                                                                                                                                                                                                                                                                                of the statistically significant
                                                                                                                                                                                                                                                                                                                                                differences
                                                                                                                                                                                                                                                                                                                                                                                     (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 3. (Continued)

                                                                                                                                                                                                 Treatments                                   Primary Outcome                                                           Risks of Bias

                                                                                                                                                                                                                                                  Liposomal                                        Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                   Bupiva-                                                                                       Conflict of Interest
                                                                                                                                                                Setting               Experimental            Control            Measure             caine Control P Value               O         R         D         Mi        M        S      with Manufacturer                      Comments                  Reference

                                                                                                                                                                Mid-urethral       Liposomal             Bupivacaine     VAS POD 1                     2.0         3.0      0.046        ?         +         +          +        ?        +                None            Outcome assessors possibly not Iwanoff115
                                                                                                                                                                  sling               bupivacaine          hydrochloride                                                                                                                                                     masked to treatment group
                                                                                                                                                                  (n = 57)            266 mg               150 mg; lido-                                                                                                                                                     assignment; primary outcome
                                                                                                                                                                                      in 60 ml             caine 500 mg                                                                                                                                                      statistically significant but did
                                                                                                                                                                                                           in 100 ml                                                                                                                                                         not reach prespecified clinical
                                                                                                                                                                                                                                                                                                                                                                             significance of 2; given the
                                                                                                                                                                                                                                                                                                                                                                             improved pain on only 1 day of
                                                                                                                                                                                                                                                                                                                                                                             7, and no improvement in opi-
                                                                                                                                                                                                                                                                                                                                                                             oid use, the authors concluded
                                                                                                                                                                                                                                                                                                                                                                             liposomal bupivacaine did not
                                                                                                                                                                                                                                                                                                                                                                             result in “clinically significant
                                                                                                                                                                                                                                                                                                                                                                             differences”
                                                                                                                                                                Mammoplasty        Liposomal         Bupivacaine    24 primary outcome measures designated: most                         -         +         +          +        +        -                None            Not registered; split-body design Nadeau116
                                                                                                                                                                  (n = 31)            bupivacaine      hydrochloride statistically significant                                                                                                                               with liposomal bupivacaine
                                                                                                                                                                                      130 mg (volume   130 mg                                                                                                                                                                side randomized; 24 primary
                                                                                                                                                                                      not reported)    (volume not                                                                                                                                                           outcomes specified, all involv-
                                                                                                                                                                                                       reported)                                                                                                                                                             ing pain scores at various time
                                                                                                                                                                                                                                                                                                                                                                             points (0–72 h); the authors
                                                                                                                                                                                                                                                                                                                                                                             concluded “the difference in
                                                                                                                                                                                                                                                                                                                                                                             pain scores, although statisti-




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                                                                                             cally significant, was small and
                                                                                                                                                                                                                                                                                                                                                                             likely clinically insignificant.”

                                                                                                                                                                An additional randomized trial compared infiltration with liposomal bupivacaine and bupivacaine hydrochloride for mammoplasty, but was excluded due to early termination by the manufacturer.207 Secondary outcomes are presented in table 4; knee
                                                                                                                                                                arthroplasty presented in tables 5 and 6.
                                                                                                                                                                *A third treatment group not involving infiltration excluded from chart (e.g., continuous peripheral nerve block).
                                                                                                                                                                AUC, area under the receiver operating characteristics curve; VAS, visual analogue scale. Cochrane Risk of Bias 2 abbreviations: O, overall risk of bias; R, bias arising from the randomization process; D, bias due to deviations from intended interventions;
                                                                                                                                                                Mi, bias due to missing outcome data; M, bias in measurement of the outcome; S, bias in selection of the reported result.




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                                                                                                                                                                                                                                                                                                                                                                                                                                   Liposomal Bupivacaine to Treat Postoperative Pain
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                                                                                                                                                                Table 4. Secondary Outcomes for Published Randomized, Controlled Clinical Trials Comparing Infiltration of Liposomal Bupivacaine and Unencapsulated Ropivacaine, Bupivacaine, or
                                                                                                                                                                Lidocaine for Surgical Procedures other than Knee Arthroplasty

                                                                                                                                                                                            Treatments                                         Pain Scores                                      Opioid Consumption (mg)                            Length of Stay
                                                                                                                                                                                                                                                                                                                                                                                                REVIEW ARTICLE




                                                                                                                                                                                                                                                                                       Morphine Liposomal
                                                                                                                                                                                                                                                Liposomal                                 mg      Bupiva-                        Liposomal
                                                                                                                                                                Setting          Experimental           Control               Measure          Bupivacaine Control        P Value     Equivalents caine Control P Value Measure Bupivacaine Control P Value Reference


                                                                                                                                                                                                                                       No Statistically Significant Difference for Primary Outcome Measure

                                                                                                                                                                Radial fracture Liposomal          Bupivacaine        Numeric Rating Scale          4.0          6.0       < 0.05     POD 0–5              46         54           0.47              Not reported                 Alter102
                                                                                                                                                                   (n = 41)        bupivacaine       hydrochloride      POD 0
                                                                                                                                                                                   133 mg in 10 ml   100 mg in 20 ml Numeric Rating Scale           4.8          5.1        0.71
                                                                                                                                                                                   bupivacaine                          POD 1
                                                                                                                                                                                   hydrochloride                      Numeric Rating Scale          5.3          3.8        0.07
                                                                                                                                                                                   50 mg in 20 ml                       POD 2
                                                                                                                                                                                                                      Numeric Rating Scale          3.9          3.2        0.23
                                                                                                                                                                                                                        POD 3
                                                                                                                                                                Laparoscopic Liposomal             Bupivacaine        Numeric Rating Scale          3.3          4.2       > 0.05     “Inpatient”         216         266          0.40   Hours      24             24    0.65   Barron103
                                                                                                                                                                   hysterec-       bupivacaine       hydrochloride      POD 2                                                         POD 3
                                                                                                                                                                   tomy            266 mg            50 mg            Numeric Rating Scale          2.8          4.1        0.02                          320         344          0.89
                                                                                                                                                                   (n = 64)        in 20 ml          in 20 ml           POD 3
                                                                                                                                                                Inguinal        Liposomal          Bupivacaine        Numeric Rating Scale           Not reported      < 0.05 for    0–24 h               Not reported        > 0.05                 Not reported                Bergese23
                                                                                                                                                                   hernia          bupivacaine       hydrochloride      AUC 0–24 h                                       only 199 mg
                                                                                                                                                                   repair          155–310 mg        100 mg                                                              liposomal
                                                                                                                                                                   (n = 76)        (volume not       in 20 ml                                                            bupivacaine




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                   reported)                                                                             dose
                                                                                                                                                                                                                      Numeric Rating Scale           Not reported                    0–72 h               Not reported
                                                                                                                                                                                                                        AUC 0–72 h
                                                                                                                                                                Inguinal        Liposomal bupiva- Bupivacaine hydro- Numeric Rating Scale      Not reported            > 0.05         0–24 h              Not reported        > 0.05                 Not reported                Bergese23
                                                                                                                                                                   hernia          caine 93–306 mg chloride 105 mg      AUC 0–24 h
                                                                                                                                                                   repair          (volume not       (+ epinephrine)
                                                                                                                                                                   (n = 98)        reported)         in 20 ml         Numeric Rating Scale     Not reported                           0–72 h              Not reported
                                                                                                                                                                                                                        AUC 0–72 h
                                                                                                                                                                Breast aug-     Liposomal bupiv-   Bupivacaine hydro- Not reported                                                    Not applicable (split-body trial with each                     Not reported                Bergese23
                                                                                                                                                                   mentation       acaine 133 or     chloride 75 mg                                                                     subject receiving both treatments)
                                                                                                                                                                   (n = 80)        266 mg (volume    (+ epinephrine)
                                                                                                                                                                                   not reported)     in 15 ml
                                                                                                                                                                Hemorrhoidec- Liposomal            Bupivacaine hydro- Numeric Rating Scale     Not reported            > 0.05         0–24 h              Not reported        > 0.05                 Not reported                Bergese23
                                                                                                                                                                   tomy            bupivacaine       chloride 100 mg    AUC 0–24 h
                                                                                                                                                                   (n = 204)       266 mg (volume    (+ epinephrine)
                                                                                                                                                                                   not reported)     in 20 ml         Numeric Rating Scale     Not reported                           0–72 h              Not reported
                                                                                                                                                                                                                        AUC 0–72 h
                                                                                                                                                                                                                                                                                                                                                                                 (Continued )




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                                                                                                                                                                Table 4. (Continued)

                                                                                                                                                                                               Treatments                                        Pain Scores                                     Opioid Consumption (mg)                            Length of Stay

                                                                                                                                                                                                                                                                                         Morphine Liposomal
                                                                                                                                                                                                                                                  Liposomal                                 mg      Bupiva-                        Liposomal
                                                                                                                                                                Setting          Experimental             Control              Measure           Bupivacaine Control        P Value     Equivalents caine Control P Value Measure Bupivacaine Control P Value Reference

                                                                                                                                                                Orthopedic      Liposomal           Bupivacaine         Numeric Rating Scale          2.0         1.2         0.14     POD 1               8.0       10.0     0.10                    Not reported                   Dale104
                                                                                                                                                                   wrist surgery bupivacaine          hydrochloride       POD 14
                                                                                                                                                                   (n = 52)        266 mg             75 mg                                                                            POD 2               7.7       4.5      0.87
                                                                                                                                                                                   in 20 ml           in 15 ml
                                                                                                                                                                                                                                                                                       POD 3               3.2       3.2      0.93

                                                                                                                                                                                                                                                                                       POD 4               2.3        2.4     0.80
                                                                                                                                                                Total hip      Liposomal bupiv-    Ropiv 200–400 mg     Maximum Numeric               4.0         4.0         0.80     POD 0              11.3       15.0     0.50       Days           2            2      0.77   Johnson105
                                                                                                                                                                   arthroplasty acaine 266 mg;       in 120 ml            Rating Scale POD 0
                                                                                                                                                                   (n = 108)      bupivacaine                           Maximum Numeric               4.0         5.5         0.01     POD 1              15.0       33.8     0.11
                                                                                                                                                                                  hydrochloride                           Rating Scale POD 1
                                                                                                                                                                                  125 mg                                Maximum Numeric               3.5         5.0         0.02     POD 2              11.3       15.0     0.23
                                                                                                                                                                                  in 120 ml                               Rating Scale POD 2
                                                                                                                                                                Laparoscopic Liposomal             Bupivacaine hydro-   Median Numeric Rating         3.8         3.9         0.23     Entire hospital     18         19      0.39       Days           1            1      0.69    Knight106
                                                                                                                                                                   urologic       bupivacaine        chloride 2 mg/kg     Scale during entire                                            stay
                                                                                                                                                                   surgery        266 mg             (maximum 150)        hospital stay
                                                                                                                                                                   (n = 191)      in 60 ml           mg in 60 ml
                                                                                                                                                                Colon resec- Liposomal             Bupivacaine hydro-   Numeric Rating Scale          6.3         5.3         0.08     Days 0–7           21.1       25.1     0.64       Days          4.1           6.2    0.62   Knudson107
                                                                                                                                                                   tion           bupivacaine        chloride 150 mg      POD 4
                                                                                                                                                                   (n = 57)       266 mg             (+ epinephrine)
                                                                                                                                                                                  in 30 ml           in 30 ml




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                Bariatric      Liposomal bupiv-    Bupivacaine hydro-   Numeric Rating Scale          8.0         7.5         0.13     0–24 h              8.0       7.5      0.94                    Not reported                   Ma108
                                                                                                                                                                   surgery        acaine 266 mg      chloride 150 mg       0–24 h
                                                                                                                                                                   (n = 179)      Bupivacaine        in 100 ml          All hospital                  8.3         7.5         0.21
                                                                                                                                                                                  hydrochloride
                                                                                                                                                                                  150 mg in 100 ml
                                                                                                                                                                Breast recon- Liposomal bupiva- Bupivacaine hydro-      No secondary pain outcome measures reported                    Morphine mg         0.8       1.4      0.02      Hours          30            47     0.04   Motakef109
                                                                                                                                                                   struction      caine 266 mg       chloride 100 mg                                                                     equivalent
                                                                                                                                                                   (n = 24)       in 20 ml           (+ epinephrine)                                                                     per hour
                                                                                                                                                                                                     in 20 ml
                                                                                                                                                                Hip arthro-    Liposomal bupiv-    Bupivacaine hydro-   Mean VAS 0–72                 3.8         3.7         0.64     0–12 h              35         51      0.03      Hours          46            44     0.45    Perets110
                                                                                                                                                                   plasty         acaine 266 mg;     chloride 150 mg
                                                                                                                                                                   (n = 107)      bupivacaine        (+ epinephrine)                                                                   12–24 h             38         30      0.90
                                                                                                                                                                                  hydrochloride      in 60 ml
                                                                                                                                                                                  100 mg in 80 ml                                                                                      24–36 h             17         21      0.49
                                                                                                                                                                                                                                                                                                                                                                                    (Continued )




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                                                                                                                                                                                                                                                                                                                                                                                                   Liposomal Bupivacaine to Treat Postoperative Pain
                                                                                                                                                                                                                                                                                                                                                                                                                                                       Case 2:21-cv-09264-MCA-JSA Document 1-2 Filed 04/14/21 Page 18 of 63 PageID: 82




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                                                                                                                             300
                                                                                                                                                                Table 4. (Continued)

                                                                                                                                                                                                Treatments                                              Pain Scores                                         Opioid Consumption (mg)                                  Length of Stay

                                                                                                                                                                                                                                                                                                    Morphine Liposomal
                                                                                                                                                                                                                                                                                                                                                                                                                          REVIEW ARTICLE




                                                                                                                                                                                                                                                         Liposomal                                     mg      Bupiva-                        Liposomal
                                                                                                                                                                Setting            Experimental              Control                 Measure            Bupivacaine Control           P Value      Equivalents caine Control P Value Measure Bupivacaine Control P Value Reference

                                                                                                                                                                Anterior      Liposomal bupiva- Bupivacaine                  Mean Numeric Rating              4.9          5.1          0.87      0–144 h               77         64        0.20       Minutes        106          108        0.85    Premkumar111
                                                                                                                                                                  cruciate       caine 266 mg        hydrochloride             Scale 36–48 h                                                                                                         (in recovery
                                                                                                                                                                  ligament       in 40 ml            100 mg                  Mean Numeric Rating              4.8          3.7          0.22                                                              room)
                                                                                                                                                                  reconstruc-                        in 40 ml                  Scale 60–72 h
                                                                                                                                                                  tion                                                       Mean Numeric Rating              4.1          3.3          0.39
                                                                                                                                                                  (n = 29)                                                     Scale 84–96 h
                                                                                                                                                                Vaginal pro- Liposomal bupiva- Lidocaine 150 mg              Median VAS 96 h                   0           2.0         > 0.05     All hospital          12         15        0.84                       Not reported          > 0.05      Propst112
                                                                                                                                                                  lapse          caine 266; bupiva- in 30 ml                                                               1.0                    At Day 4              12         15        0.59
                                                                                                                                                                  (n = 33)       caine hydrochloride                         Median VAS 120 h                  0
                                                                                                                                                                                 50 in 30 ml

                                                                                                                                                                                                                                                  Statistically Significant Difference for Primary Outcome Measure
                                                                                                                                                                Hemorrhoidec- Liposomal bupiva-        Bupivacaine           Pain scores at individual time points not reported                   24 h                  17         13      > 0.05       Hours           Not reported          > 0.05       Haas113
                                                                                                                                                                  tomy           caine 66, 99, or        hydrochloride                                                                            liposomal
                                                                                                                                                                  (n = 100)      266 mg                  75 mg                                                                                       bupivacaine
                                                                                                                                                                                 in 30 ml                in 30 ml                                                                                    66 mg
                                                                                                                                                                                                                                                                                                  24 h                 11          13      > 0.05
                                                                                                                                                                                                                                                                                                  liposomal
                                                                                                                                                                                                                                                                                                     bupivacaine
                                                                                                                                                                                                                                                                                                     99 mg
                                                                                                                                                                                                                                                                                                  24 h                  8          13      < 0.05




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                  liposomal
                                                                                                                                                                                                                                                                                                     bupivacaine
                                                                                                                                                                                                                                                                                                     266 mg
                                                                                                                                                                Dental       Liposomal bupiva- Bupivacaine hydro- Pain scores at individual time points not reported                              Oxycodone            Not reported        > 0.05                      Not reported                         Iero114
                                                                                                                                                                  implants      caine 266 mg;       chloride 63 mg;                                                                                  use
                                                                                                                                                                  (n = 69)   bupivacaine hydro- lidocaine 800 mg (+
                                                                                                                                                                                chloride 63 mg;     epinephrine) in
                                                                                                                                                                             lidocaine 800 mg (+    52.6 ml
                                                                                                                                                                                epinephrine) in
                                                                                                                                                                                72.6 ml
                                                                                                                                                                Mid-urethral Liposomal bupiva- Bupivacaine hydro- VAS POD 2                       2.0          2.0                      0.58      POD 0–7               0             0      0.83                      Not reported                       Iwanoff115
                                                                                                                                                                  sling         caine 266 mg        chloride 150 mg; VAS POD 3                    2.0          2.0                      0.78
                                                                                                                                                                  (n = 57)      in 60 ml         lidocaine 500 mg    VAS POD 4                     0           1.5                      0.92
                                                                                                                                                                                                    in 100 ml
                                                                                                                                                                Mammoplasty Liposomal bupiva- Bupivacaine hydro- No secondary pain score outcomes reported                                                             Not reported                                    Not reported                      Nadeau116
                                                                                                                                                                  (n = 31)      caine 130 mg        chloride 130 mg
                                                                                                                                                                                (volume not         (volume not
                                                                                                                                                                                reported)           reported)




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                                                                                                                                                                An additional randomized trial compared infiltration with liposomal bupivacaine and bupivacaine hydrochloride for mammoplasty but was excluded due to early termination by the manufacturer.207 Primary outcomes are presented in table 3; knee arthro-
                                                                                                                                                                plasty presented in tables 5 and 6.
                                                                                                                                                                                                                                                                                                                                                                                                                                           Case 2:21-cv-09264-MCA-JSA Document 1-2 Filed 04/14/21 Page 19 of 63 PageID: 83




                                                                                                                                                                *A third treatment group not involving infiltration excluded from chart (e.g., continuous peripheral nerve block).
                                                                                                                                                                AUC, area under the curve; POD, postoperative day; VAS, visual analogue scale.




                                                                                                                             Ilfeld et al.
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                                                                                                   Liposomal Bupivacaine to Treat Postoperative Pain



         Summary                                                                       and clonidine.121 This split-body study design is especially
                                                                                       powerful since it inherently controls for intersubject differ-
         To summarize the evidence for the use of infiltration with
                                                                                       ences in pain evaluation and supplemental opioid consump-
         liposomal bupivacaine over unencapsulated bupivacaine, of
                                                                                       tion between treatment groups (each subject receives both
         the 19 randomized, active-controlled trials (excluding knee
                                                                                       treatments, and therefore each treatment is associated with
         arthroplasty), only two (11%) reported both a statistically
                                                                                       identical opioid doses). No statistically significant or clini-
         and clinically significant difference for their primary out-
                                                                                       cally relevant (defined by the authors as greater than 18 mm




                                                                                                                                                                 Downloaded from http://pubs.asahq.org/anesthesiology/article-pdf/doi/10.1097/ALN.0000000000003630/498942/aln.0000000000003630.pdf by Jonathan Slonin on 04 January 2021
         come measure.113,114 Both of these trials compared the max-
                                                                                       on the 0 to 100 mm visual analogue scale [VAS]) differences
         imum approved dose of liposomal bupivacaine (266 mg) to
                                                                                       between treatments were detected, mirroring the vast major-
         submaximal doses of the unencapsulated bupivacaine com-
                                                                                       ity of published trials (tables 5 and 6).
         parator.113,114 This discrepancy greatly decreases confidence
                                                                                           In contrast, two of the 17 randomized, controlled tri-
         that the difference would remain had a maximum dose of
                                                                                       als (12%) reported a statistically significant difference for
         both treatments been compared.113 Furthermore, both trials
                                                                                       their primary outcome measure(s) between liposomal
         were rated at high risk of bias for multiple reasons, the most
                                                                                       bupivacaine and unencapsulated local anesthetic.130,131 The
         critical being discrepancies between the registry entries and
                                                                                       first randomized subjects (n = 70) to either a maximum
         published articles involving the primary outcome measures.
                                                                                       dose of liposomal bupivacaine (266 mg) or a multicom-
         Therefore, there is currently no published evidence with
                                                                                       ponent injection of ropivacaine (400 mg), ketorolac, mor-
         a low risk of bias for surgical procedures other than knee
                                                                                       phine, and epinephrine.131 Considering the Food and Drug
         arthroplasty demonstrating that infiltration with the max-
                                                                                       Administration–recommended maximum dose of ropiva-
         imum approved liposomal bupivacaine dose is superior to
                                                                                       caine (with epinephrine) is 4 mg/kg up to 225 mg, an opti-
         unencapsulated bupivacaine to a statistically and clinically
                                                                                       mized control group was certainly provided with 400 mg
         significant degree.
                                                                                       used in this study. Statistically significant differences were
                                                                                       identified not only for the primary outcome of pain level
         Infiltration with Liposomal Bupivacaine versus an                             on postoperative day 1 but also in pain scores within the
         Active Control for Knee Arthroplasty                                          recovery room and postoperative day 2. Differences were
         Knee arthroplasty is among the most common and pain-                          also detected in opioid consumption in the recovery room
         ful surgical procedures, with more than 700,000 performed                     and postoperative days 1 and 2, and the risk of bias was
         annually within the United States alone. Infiltrating the sur-                evaluated as low using the Cochrane risk-of-bias tool.98,99
         gical site with local anesthetic is frequently performed by                       The second randomized, controlled trial, the
         surgeons to provide postoperative analgesia, although the                     PILLAR trial, randomized subjects (n = 140)
         duration of effect is far less than the duration of surgically                to infiltration with either a combination of liposomal
         related pain.                                                                 (266 mg) and unencapsulated (100 mg) bupivacaine, or
             Of the 17 randomized, active-controlled trials involving                  solely bupivacaine hydrochloride (100 mg).130 The results of
         knee arthroplasty, 15 (88%) failed to find a statistically signif-            this investigation were overwhelmingly positive not only
         icant difference for their primary outcome measure (tables 5                  for the two coprimary outcomes of pain scores (AUC, 12
         and 6).23,31,117–129 Risk of bias for these 15 trials was deemed              to 48 h) and opioid consumption (cumulative, 0 to 48 h),133
         low in eight studies23,31,119,122–124,126,127 and “some concerns” in          but also for secondary and tertiary endpoints at 24, 48,
         seven trials.117,118,120,121,125,128,129 Within these studies, differences    and 72 h.130,133,134 For example, mean total opioid con-
         between treatments for nearly every secondary endpoint                        sumption in the first 48 h postsurgery was 16 versus 80 mg
         involving pain level, opioid use, physical therapy, or discharge              for the experimental versus control groups, respectively
         day also failed to reach statistical significance. Nearly no                  (P = 0.0029).133 More subjects receiving liposomal bupiva-
         statistically significant differences between infiltration with               caine remained opioid-free, exhibited a greater amount of
         liposomal bupivacaine and unencapsulated bupivacaine after                    time until request for first opioid rescue, were more satisfied
         total knee arthroplasty were identified. Of the few excep-                    with postoperative analgesia, and met discharge criteria ear-
         tions, the unencapsulated local anesthetic control was found                  lier than in the control group.130,133,134
         superior to liposomal bupivacaine118,126–128 more times than                      The authors attribute their dramatically different results
         vice versa.119 Multiple investigations were unregistered and/                 compared to most other randomized, active-controlled tri-
         or did not specify a primary outcome measure time point,                      als to their use of a large volume of injectate (120 ml);135 the
         although the impact of these deficiencies appears minimal                     “use of a small-bore (22-gauge), 1.5-inch needle to reduce
         with the near-total lack of statistical significance between                  the leakage of anesthetic solution from the injection site
         treatments. A unique and illuminating investigation random-                   and for achievement of maximal tissue exposure”135–137;
         ized each side of subjects having bilateral knee arthroplasty                 and their “use of a meticulous and standardized infiltra-
         (n = 29) to either a combination of liposomal bupivacaine                     tion protocol.”130,138 This protocol entailed the use of six
         (266 mg) and bupivacaine hydrochloride (75 mg) or ropiv-                      20-ml syringes of study fluid with 94 to 103 separate needle
         acaine hydrochloride (250 mg) plus epinephrine, ketorolac,                    passes/injections.130,135 However, six of the trials that did not


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                                                                                                                             302
                                                                                                                                                                Table 5. Published Randomized, Controlled Clinical Trials Comparing Infiltration of Liposomal Bupivacaine and Unencapsulated Ropivacaine, Bupivacaine, or Lidocaine for Knee Arthroplasty

                                                                                                                                                                                             Treatments                                 Primary Outcome                                               Risks of Bias

                                                                                                                                                                                                                                                                                       Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                                                                                   REVIEW ARTICLE




                                                                                                                                                                                                                                                                                                                               Conflict of
                                                                                                                                                                                                                                          Liposomal                                                                           Interest with
                                                                                                                                                                Setting           Experimental            Control          Measure       Bupivacaine Control P Value            O        R       D      Mi      M       S     Manufacturer               Comments                  Reference


                                                                                                                                                                                                                                      No Statistically Significant Difference for Primary Outcome Measure

                                                                                                                                                                Knee arthro-   Liposomal bupiva-    Bupivacaine hydro- 30 primary outcome measures designated but no            ?        +       +       +       +      ?          None        Primary outcome of registry        Alijanipour117
                                                                                                                                                                  plasty          caine 266 mg (+     chloride 50 mg     outcome was statistically significant                                                                                    is VAS “within first 30 days
                                                                                                                                                                  (n = 162)       epinephrine) in     (+ epinephrine)                                                                                                                             postoperatively” but in
                                                                                                                                                                                  60 ml               in 60 ml                                                                                                                                    manuscript is VAS “within 96
                                                                                                                                                                                                                                                                                                                                                  hours after surgery,” without
                                                                                                                                                                                                                                                                                                                                                  specifying worst, average, or
                                                                                                                                                                                                                                                                                                                                                  least daily pain
                                                                                                                                                                Knee arthro-   Liposomal bupiv-     Ropiv*              Median maxi-          4.5          4.0      0.196       ?        +       +       +       ?      +    Author paid       Additional treatment group         Amundson118
                                                                                                                                                                  plasty          acaine 266 mg;    200–400 mg            mum Numeric                                                                                          consultant         included in table 7; both
                                                                                                                                                                  (n = 107)       bupivacaine         (+ epinephrine)     Rating                                                                                                                  groups included ketorolac
                                                                                                                                                                                  hydrochloride       in 120 ml           Scale POD 1                                                                                                             30 mg; data collectors not
                                                                                                                                                                                  125 mg (+                               06:00–12:00                                                                                                             masked to treatment group
                                                                                                                                                                                  epinephrine) in
                                                                                                                                                                                  120 ml
                                                                                                                                                                Knee arthro-   Liposomal            Ropiv* 250 mg       Median VAS             1              2     0.127       +        +       +       +       +      +    Multiple          Not registered; additional control Barrington119
                                                                                                                                                                  plasty          bupivacaine         (+ epinephrine)     POD 1                                                                                                authors paid      group with intrathecal opioids
                                                                                                                                                                  (n = 78)        266 mg +            in 60 ml                                                                                                                 consultants       excluded*; both groups




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                  bupivacaine                                                                                                                                                    included ketorolac 30 mg
                                                                                                                                                                                  hydrochloride
                                                                                                                                                                                  125 mg (+
                                                                                                                                                                                  epinephrine) in
                                                                                                                                                                                  60 ml
                                                                                                                                                                Knee arthro-   Liposomal            Bupivacaine hydro- Average                 Not reported         > 0.05      +        +       +       +       +      +    Study funding;    Liposomal bupivacaine group    Bergese23
                                                                                                                                                                  plasty          bupivacaine         chloride 200 mg    Numeric                                                                                                author            received twice current Food
                                                                                                                                                                  (n = 245)       532 mg in 40 ml     (+ epinephrine)    Rating Scale                                                                                           company           and Drug Administration–ap-
                                                                                                                                                                                                      in 40 ml           AUC 0–72 h                                                                                             employee          proved maximum dose; phase
                                                                                                                                                                                                                                                                                                                                                  III clinical trial
                                                                                                                                                                                                                                                                                                                                                                               (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 5. (Continued)

                                                                                                                                                                                                Treatments                                Primary Outcome                                              Risks of Bias

                                                                                                                                                                                                                                                                                         Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                Conflict of
                                                                                                                                                                                                                                           Liposomal                                                                           Interest with
                                                                                                                                                                Setting           Experimental               Control         Measure      Bupivacaine Control P Value             O        R       D      Mi     M        S    Manufacturer                Comments                  Reference

                                                                                                                                                                Knee arthro-   Liposomal             Bupivacaine         Average                  21        19      > 0.05        +        +       +      +       +       +    Study funding;      Phase II dose-ranging study;     Bramlett31
                                                                                                                                                                  plasty          bupivacaine          hydrochloride       Numeric                                                                                                author             two doses of liposomal
                                                                                                                                                                  (n = 138)       133–266 mg           150 mg              Rating Scale                                                                                           company            bupivacaine over 266 mg
                                                                                                                                                                                  in 60 ml             in 60 ml            AUC 0–96 h                                                                                             employee           approved maximum not
                                                                                                                                                                                                                           Liposomal                                                                                                                 included
                                                                                                                                                                                                                           bupivacaine
                                                                                                                                                                                                                           133 mg
                                                                                                                                                                                                                         Average
                                                                                                                                                                                                                           Numeric                20        19      > 0.05
                                                                                                                                                                                                                           Rating Scale
                                                                                                                                                                                                                           AUC 0–96 h
                                                                                                                                                                                                                           liposomal
                                                                                                                                                                                                                           bupivacaine
                                                                                                                                                                                                                           266 mg
                                                                                                                                                                Knee arthro-   Liposomal             Ropiv 246 mg        No primary outcome specified, but no outcome was         ?        +       +      +       +       ?         None           Not registered; no primary       Collis120
                                                                                                                                                                  plasty          bupivacaine          (+ epinephrine)     statistically significant                                                                                                 outcome defined, but all
                                                                                                                                                                  (n = 138)       266 mg               in 60 ml                                                                                                                                      outcomes negative; control
                                                                                                                                                                                  in 60 ml                                                                                                                                                           group also received
                                                                                                                                                                                                                                                                                                                                                     ketorolac (30 mg) and
                                                                                                                                                                                                                                                                                                                                                     clonidine 0.08 mg with




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                                                                     ropivacaine/epinephrine
                                                                                                                                                                Knee arthro-   Liposomal           Ropiv 250 mg          “VAS pain scores” but no time point specified,           ?        +       +      +       +       ?         None           Not registered; primary          Danoff121
                                                                                                                                                                  plasty          bupivacaine        (+ epinephrine)     but no outcome was statistically significant                                                                                outcome was “VAS pain
                                                                                                                                                                  (n = 29)        266 mg; bupiva-    in 100 ml                                                                                                                                       scores” but time point left
                                                                                                                                                                                  caine hydrochlo-                                                                                                                                                   undefined, but all negative;
                                                                                                                                                                                  ride 75 mg                                                                                                                                                         bilateral surgery and
                                                                                                                                                                                  in 100 ml                                                                                                                                                          split-body design: each
                                                                                                                                                                                                                                                                                                                                                     knee assigned one of the
                                                                                                                                                                                                                                                                                                                                                     two treatments

                                                                                                                                                                                                                                                                                                                                                                                       (Continued )




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                                                                                                                                                                Table 5. (Continued)

                                                                                                                                                                                              Treatments                                       Primary Outcome                                            Risks of Bias

                                                                                                                                                                                                                                                                                           Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                                                                                        REVIEW ARTICLE




                                                                                                                                                                                                                                                                                                                                   Conflict of
                                                                                                                                                                                                                                                Liposomal                                                                         Interest with
                                                                                                                                                                Setting           Experimental               Control         Measure           Bupivacaine Control P Value          O        R       D      Mi      M       S     Manufacturer               Comments                   Reference

                                                                                                                                                                Knee arthro-   Liposomal bupiv-        Ropiv †              VAS POD 1              4.1         3.4      > 0.05      +        +       +       +       +      +          None          Not registered; doses of           DeClaire122
                                                                                                                                                                  plasty          acaine 266 mg;         (+ epinephrine)                                                                                                                               bupivacaine hydrochloride
                                                                                                                                                                  (n = 96)        bupivacaine            in 100 ml          VAS POD 2              4.4         4.6                                                                                     and ropiv not provided; both
                                                                                                                                                                                  hydrochloride†                                                                                                                                                       treatments also included
                                                                                                                                                                                  (+ epinephrine)                           Hydrocodone            98          90                                                                                      unknown doses of ketorolac
                                                                                                                                                                                  in 100 ml                                   POD 1 and 2                                                                                                              and morphine
                                                                                                                                                                Knee arthro-   Liposomal               Ropiv 40             Number of              3.0         3.6       0.14       +        +       +       +       +      +         Unclear        Not registered; adductor           Hyland123
                                                                                                                                                                  plasty          bupivacaine            in 60 ml             therapy                                                                                                                  canal nerve block for both
                                                                                                                                                                  (n = 59)        266 mg                                      sessions until                                                                                                           treatment groups (20 ml
                                                                                                                                                                                  in 60 ml                                    discharge                                                                                                                ropiv 0.5%); ropiv treatment
                                                                                                                                                                                                                                                                                                                                                       included 10 mg morphine,
                                                                                                                                                                                                                                                                                                                                                       30 mg ketorolac, and 40 mg
                                                                                                                                                                                                                                                                                                                                                       methylprednisolone
                                                                                                                                                                Knee arthro-   Liposomal bupiv-        Bupivacaine hydro- Mean Numeric             3.9         4.0       0.94       +        +       +       +       +      +          None          Not registered; liposomal bupi-    Jain124
                                                                                                                                                                  plasty          acaine 266 mg          chloride 75 mg     Rating Scale                                                                                                               vacaine dose unspecified;
                                                                                                                                                                  (n = 125)       (presumed)             (+ epinephrine);   POD 1                                                                                                                      additional control group
                                                                                                                                                                                  in 60 ml               morphine 10 mg                                                                                                                                with intra-articular injection
                                                                                                                                                                                                         in 60 ml*                                                                                                                                     instead of infiltration
                                                                                                                                                                                                                                                                                                                                                       excluded*
                                                                                                                                                                Knee arthro-   Liposomal               Bupivacaine hydro- “VAS pain scores” but no time point specified, but no     ?        +       +       +       +      ?          None          Not registered; primary out-       Schroer125




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                  plasty          bupivacaine            chloride 150 mg    outcome was statistically significant                                                                                      come time point undefined,
                                                                                                                                                                  (n = 111)       266 mg;                in 60 ml                                                                                                                                      but all negative; authors
                                                                                                                                                                                  bupivacaine                                                                                                                                                          noted, “sales representa-
                                                                                                                                                                                  hydrochloride                                                                                                                                                        tives of Exparel were invited
                                                                                                                                                                                  75 mg                                                                                                                                                                to educate surgeon and
                                                                                                                                                                                  in 50 ml                                                                                                                                                             staff on optimal use of the
                                                                                                                                                                                                                                                                                                                                                       study medication”
                                                                                                                                                                                                                                                                                                                                                                                         (Continued )




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                                                                                                                                                                Table 5. (Continued)

                                                                                                                                                                                             Treatments                                      Primary Outcome                                            Risks of Bias

                                                                                                                                                                                                                                                                                          Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                 Conflict of
                                                                                                                                                                                                                                              Liposomal                                                                         Interest with
                                                                                                                                                                Setting           Experimental              Control            Measure       Bupivacaine Control P Value             O      R       D      Mi     M        S    Manufacturer                Comments                   Reference

                                                                                                                                                                Knee arthro-   Liposomal bupiv-     Bupivacaine hydro- Hospital length             1.9          1.8        0.37      +      +       +      +       +       +         None           Not registered; additional         Schumer126
                                                                                                                                                                  plasty          acaine 266 mg;      chloride* 1 mg/kg of stay (days)                                                                                                                control group with
                                                                                                                                                                  (n = 110)       bupivacaine hydro- in 60 ml                                                                                                                                         intrathecal opioids
                                                                                                                                                                                  chloride 1 mg/kg                                                                                                                                                    excluded*
                                                                                                                                                                                  in 60 ml
                                                                                                                                                                Knee arthro-   Liposomal bupiv-     Ropiv 246 mg       Total opioid                 Not reported           0.33      +      +       +      +       +       +         None           Article states registered, but     Schwarz-
                                                                                                                                                                  plasty          acaine 266 mg       (+ epinephrine)     morphine mg                                                                                                                  no identifier provided,           kopf127
                                                                                                                                                                  (n = 38)        Bupivacaine hydro- in 100 ml            equivalent                                                                                                                   and a search failed to
                                                                                                                                                                                  chloride 50 mg                                                                                                                                                       locate; enrolled exclusively
                                                                                                                                                                                  in 100 ml                                                                                                                                                            opioid-dependent patients;
                                                                                                                                                                                                                                                                                                                                                       control group included
                                                                                                                                                                                                                                                                                                                                                       clonidine and ketorolac
                                                                                                                                                                Knee arthro-   Liposomal bupiv-       Bupivacaine hydro- Primary outcomes listed as VAS, total morphine mg           ?      +       +      +       +       ?         None           Not registered; control            Suarez128
                                                                                                                                                                  plasty          acaine 266 mg;        chloride 75 mg;     equivalent, and opioid-related symptom distress                                                                            treatment also included
                                                                                                                                                                  (n = 104)       bupivacaine           lidocaine 150 mg    scale at 24 and 48 h (but all either not statistically                                                                     10 mg morphine and 60 mg
                                                                                                                                                                                  hydrochloride         (+ epinephrine)     significant or the control was superior to liposomal                                                                       ketorolac; multiple primary
                                                                                                                                                                                  75 mg                 in 98 ml*           bupivacaine)                                                                                                               outcomes measures and
                                                                                                                                                                                  in 100 ml                                                                                                                                                            time points specified
                                                                                                                                                                Knee arthro-   Liposomal              Bupivacaine hydro- No primary outcome measure was specified, but               ?      +       +      +       +       ?         None           Not registered; no primary         Zlotnicki129
                                                                                                                                                                  plasty          bupivacaine           chloride 100 mg    no outcome was statistically significant with the                                                                           outcome specified; liposo-




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                  (n = 78)        266 mg                in 90 ml*          preplanned Bonferroni correction                                                                                            mal bupivacaine reported
                                                                                                                                                                                  in 90 ml                                                                                                                                                             lower pain POD 1 during
                                                                                                                                                                                                                                                                                                                                                       therapy but not statistically
                                                                                                                                                                                                                                                                                                                                                       significant with planned
                                                                                                                                                                                                                                                                                                                                                       Bonferroni correction
                                                                                                                                                                                                                                                                                                                                                                                       (Continued )




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                                                                                                                                                                Table 5. (Continued)

                                                                                                                                                                                                  Treatments                                        Primary Outcome                                                      Risks of Bias

                                                                                                                                                                                                                                                                                                        Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                                                                                                                REVIEW ARTICLE




                                                                                                                                                                                                                                                                                                                                                     Conflict of
                                                                                                                                                                                                                                                     Liposomal                                                                                      Interest with
                                                                                                                                                                Setting              Experimental               Control             Measure         Bupivacaine Control P Value                 O         R        D       Mi       M         S     Manufacturer                   Comments                    Reference


                                                                                                                                                                                                                                                    Statistically Significant Difference for Primary Outcome Measure

                                                                                                                                                                Knee arthro-     Liposomal bupiv-        Bupivacaine             VAS AUC                 209            181         0.04         -        +        +        ?        +        -    Company                Pain outcomes calculated           Mont130,133–135
                                                                                                                                                                  plasty            acaine 266 mg;         hydrochloride           12–48 h                                                                                                           provided                with last observation
                                                                                                                                                                  (n = 140)         bupivacaine            100 mg                                                                                                                                    funding and             carried forward with rescue
                                                                                                                                                                                    hydrochloride          in 120 ml             Total morphine           19            85        < 0.01                                                             “participated           analgesic; the original,
                                                                                                                                                                                    100 mg                                          mg equivalent                                                                                                    in the study            published statistical plan
                                                                                                                                                                                    in 120 ml                                       0–48 h                                                                                                           conception              was not applied135; if it
                                                                                                                                                                                                                                                                                                                                                     and design;             had been applied, neither
                                                                                                                                                                                                                                                                                                                                                     collection,             primary outcome measure
                                                                                                                                                                                                                                                                                                                                                     analysis, and           would have reached
                                                                                                                                                                                                                                                                                                                                                     interpretation          statistical significance140;
                                                                                                                                                                                                                                                                                                                                                     of the data;            original, published protocol
                                                                                                                                                                                                                                                                                                                                                     and review              described many secondary
                                                                                                                                                                                                                                                                                                                                                     of the manu-            outcome measures that
                                                                                                                                                                                                                                                                                                                                                     script”13; four         were not presented in the
                                                                                                                                                                                                                                                                                                                                                     of five authors         final manuscript (or registry);
                                                                                                                                                                                                                                                                                                                                                     paid consul-            many secondary outcomes
                                                                                                                                                                                                                                                                                                                                                     tants; author           described in manuscript that




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                                                                     with company            were not included in registry
                                                                                                                                                                                                                                                                                                                                                     stock or stock
                                                                                                                                                                                                                                                                                                                                                     options
                                                                                                                                                                Knee arthro-     Liposomal bupiva-       Ropiv 400 mg (+         Mean Numeric             2.6           3.3         0.02        +         +        +        +        +        +          None             Control treatment also       Snyder131
                                                                                                                                                                  plasty            caine 266 mg           epinephrine) in         Rating Scale                                                                                                                             included 30 mg ketorolac,
                                                                                                                                                                  (n = 70)          in 100 ml              100 ml                  POD 1                                                                                                                                    and 5 mg morphine; primary
                                                                                                                                                                                                                                                                                                                                                                            outcome measure not noted
                                                                                                                                                                                                                                                                                                                                                                            in manuscript but included
                                                                                                                                                                                                                                                                                                                                                                            in registry entry
                                                                                                                                                                One randomized trial compared infiltration and a peripheral nerve block, both with liposomal bupivacaine and is therefore presented in table 9.16 Secondary outcomes are presented in table 6.
                                                                                                                                                                *A third control group not involving peripheral nerve blocks excluded from chart (e.g., unencapsulated bupivacaine infiltration).145 † Dosage unknown.
                                                                                                                                                                AUC, area under the curve; VAS, visual analogue scale. Cochrane Risk of Bias 2 abbreviations: O, overall risk of bias; R, bias arising from the randomization process; D, bias due to deviations from intended interventions; Mi, bias due to missing outcome
                                                                                                                                                                data; M, bias in measurement of the outcome; S, bias in selection of the reported result.




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 6. Secondary Outcomes for Published Randomized, Controlled Clinical Trials Comparing Infiltration of Liposomal Bupivacaine and Unencapsulated Ropivacaine, Bupivacaine, or
                                                                                                                                                                Lidocaine for Knee Arthroplasty

                                                                                                                                                                                           Treatments                                       Pain Scores                                    Opioid Consumption (mg)                               Length of Stay

                                                                                                                                                                                                                                                                           Morphine
                                                                                                                                                                                                                                               Liposomal                      mg       Liposomal                           Liposomal
                                                                                                                                                                Setting           Experimental           Control             Measure          Bupivacaine Control P Value Equivalents Bupivacaine Control P Value Measure Bupivacaine Control P Value Reference


                                                                                                                                                                                                                                      No Statistically Significant Difference for Primary Outcome Measure

                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine                  No secondary pain outcomes reported              POD 0–3            102           96     > 0.05                    Not reported                 Alijanipour117
                                                                                                                                                                  plasty        266 mg (+ epineph-   hydrochloride
                                                                                                                                                                  (n = 162)     rine)                50 mg (+
                                                                                                                                                                                in 60 ml             epinephrine)
                                                                                                                                                                                                     in 60 ml
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Ropiv*            Average Numeric Rating        2.4         1.7       0.02    POD 0              15            8       0.29       Days           2             2      0.77   Amundson118
                                                                                                                                                                  plasty        266 mg + bupivacaine 200–400 mg        Scale POD 0
                                                                                                                                                                  (n = 107)     hydrochloride 125 mg (+ epinephrine) Average Numeric Rating        3.7         3.5       0.21    POD 1              45            38      0.15
                                                                                                                                                                                (+ epinephrine)      in 120 ml         Scale POD 1
                                                                                                                                                                                in 120 ml                            Average Numeric Rating        3.5         3.2       0.13    POD 2              23            15      0.13
                                                                                                                                                                                                                       Scale POD 2
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Ropiv* 250 mg Median VAS 12 h                    0           3       < 0.01       Total          71            75      0.91       Days          1.8            1.8    0.82   Barrington119
                                                                                                                                                                  plasty        266 mg + bupivacaine (+ epinephrine)                                                                 Mean
                                                                                                                                                                  (n = 78)      hydrochloride 125 mg in 60 ml        Median VAS POD 2               4           4        0.85    Total Median       40            70      0.15
                                                                                                                                                                                (+ epinephrine)
                                                                                                                                                                                in 60 ml                             Median VAS POD 3               4           3        0.72




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine       Numeric Rating Scale          Not reported         > 0.05                     Not reported                                    Not reported                 Bergese23
                                                                                                                                                                  plasty        532 mg               hydrochloride     AUC 0–24 h
                                                                                                                                                                  (n = 245)     in 40 ml             200 mg          Numeric Rating Scale
                                                                                                                                                                                                     in 40 ml          AUC 0–72 h
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine       Mean Numeric Rating           3.1         4.3      > 0.05                     Not reported                                    Not reported                 Bramlett31
                                                                                                                                                                  plasty        133–266 mg           hydrochloride     Scale liposomal
                                                                                                                                                                  (n = 138)     in 60 ml             150 mg            bupivacaine
                                                                                                                                                                                                     in 60 ml          266 mg POD 1
                                                                                                                                                                                                                     Mean Numeric Rating           4.7         4.8      > 0.05
                                                                                                                                                                                                                       Scale liposomal
                                                                                                                                                                                                                       bupivacaine 266 mg
                                                                                                                                                                                                                       POD 2
                                                                                                                                                                                                                                                                                                                                                                                 (Continued )




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                                                                                                                                                                Table 6. (Continued)

                                                                                                                                                                                            Treatments                                       Pain Scores                                   Opioid Consumption (mg)                                Length of Stay

                                                                                                                                                                                                                                                                            Morphine
                                                                                                                                                                                                                                                                                                                                                                                              REVIEW ARTICLE




                                                                                                                                                                                                                                                Liposomal                      mg       Liposomal                           Liposomal
                                                                                                                                                                Setting           Experimental            Control             Measure          Bupivacaine Control P Value Equivalents Bupivacaine Control P Value Measure Bupivacaine Control P Value Reference

                                                                                                                                                                Knee arthro- Liposomal bupivacaine Ropiv 246 mg (+ Mean Numeric Rating               5.3      5.3 > 0.05 Hydrocodone            142          121 > 0.05         Days 3.1               2.8        0.14       Collis120
                                                                                                                                                                  plasty        266 mg                epinephrine)     Scale 24 h                                                (mg) 24 h
                                                                                                                                                                  (n = 138)     in 60 ml              in 60 ml
                                                                                                                                                                                                                    Mean Numeric Rating              5.0      5.0             Hydrocodone       125          135
                                                                                                                                                                                                                       Scale 48 h                                                (mg) 48 h
                                                                                                                                                                                                                    Mean Numeric Rating              4.4      4.3             Hydrocodone        84           87
                                                                                                                                                                                                                       Scale 72 h                                                (mg) 72 h
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Ropiv 250 mg (+ All pain scores defined as primary outcomes, but no out- Not applicable as each subject received both     Not applicable as each subject received both    Danoff121
                                                                                                                                                                  plasty        266 mg; bupivacaine   epinephrine)     come was statistically significant                        treatments—one in each knee                   treatments—one in each knee
                                                                                                                                                                  (n = 29)      hydrochloride 75 mg   in 100 ml
                                                                                                                                                                                in 100 ml
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Ropiv† (+ epi- All pain scores defined as primary outcomes, but no out- All opioid consumption incorporated into primary    Hours           59           60       0.98    DeClaire122
                                                                                                                                                                  plasty        266 mg; bupivacaine   nephrine)        come was statistically significant                        outcome measure
                                                                                                                                                                  (n = 96)      hydrochloride† (+     in 100 ml
                                                                                                                                                                                epinephrine)
                                                                                                                                                                                in 100 ml
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Ropiv 40         Average Numeric Rating           4.4      4.7       0.34 Total              275          305       0.39     Days           2.5         2.3       0.21    Hyland123
                                                                                                                                                                  plasty        266 mg                in 60 ml         Scale
                                                                                                                                                                  (n = 59)      in 60 ml
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine      Maximum Numeric                  5.7      5.8       0.92 Morphine mg         99          100       0.97              Not reported               > 0.05   Jain124
                                                                                                                                                                  plasty        266 mg (presumed)     hydrochloride    Rating Scale                                              equivalent




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                  (n = 125)     in 60 ml              75 mg (+                                                                   per 24 h
                                                                                                                                                                                                      epinephrine);
                                                                                                                                                                                                      morphine
                                                                                                                                                                                                      10 mg
                                                                                                                                                                                                      in 60 ml*
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine      All pain scores defined as primary outcomes, but no out- Total               54           52       0.34     Days           2.9         3.0       0.98    Schroer125
                                                                                                                                                                  plasty        266 mg; bupivacaine   hydrochloride    come was statistically significant
                                                                                                                                                                  (n = 111)     hydrochloride 75 mg   150 mg
                                                                                                                                                                                in 50 ml              in 60 ml
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine      Mean daily Numeric               3.7      3.6       0.70 Mean daily          68           77      > 0.05             Not reported                        Schumer126
                                                                                                                                                                  plasty        266 mg; bupivacaine   hydrochlo-       Rating Scale
                                                                                                                                                                  (n = 110)     hydrochloride 1 mg/kg ride*1 mg/kg
                                                                                                                                                                                in 60 ml              in 60 ml
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Ropiv 246 mg (+ Median VAS POD 1                  6.0      7.0      > 0.05 Total POD 1       102          100      > 0.05             Not reported               > 0.05   Schwarz-
                                                                                                                                                                  plasty        266 mg; bupivacaine   epinephrine)                                                                                                                                                             kopf127
                                                                                                                                                                  (n = 38)      hydrochloride 50 mg   in 100 ml     Median VAS POD 2                 5.2      5.0      > 0.05 Total POD 2        60           35      > 0.05
                                                                                                                                                                                in 100 ml
                                                                                                                                                                                                                                                                                                                                                                               (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 6. (Continued)

                                                                                                                                                                                               Treatments                                             Pain Scores                                       Opioid Consumption (mg)                                    Length of Stay

                                                                                                                                                                                                                                                                                       Morphine
                                                                                                                                                                                                                                                           Liposomal                      mg       Liposomal                           Liposomal
                                                                                                                                                                Setting             Experimental               Control               Measure              Bupivacaine Control P Value Equivalents Bupivacaine Control P Value Measure Bupivacaine Control P Value Reference

                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine       All pain scores defined as primary outcomes, but no out-                All opioid defined as primary outcomes, but no            Days           2.0            1.8      0.19    Suarez128
                                                                                                                                                                  plasty        266 mg; bupivacaine  hydrochloride      come was statistically significant                                      time point was statistically significant
                                                                                                                                                                  (n = 104)     hydrochloride 75 mg  75 mg; lido-
                                                                                                                                                                                in 100 ml            caine 150 mg
                                                                                                                                                                                                     (+ epinephrine)
                                                                                                                                                                                                     in 98 ml*
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine       Numeric Rating Scale             5.4      6.9       0.03                Mean 0–24 h           40           42        > 0.05                      Not reported                    Zlotnicki129
                                                                                                                                                                  plasty        266 mg               hydrochloride      during physical
                                                                                                                                                                  (n = 78)      in 90 ml             100 mg             therapy POD 1
                                                                                                                                                                                                     in 90 ml*       Numeric Rating Scale             3.9      5.0       0.17                Mean 24–48 h          61           54
                                                                                                                                                                                                                                during physical therapy
                                                                                                                                                                                                                                POD 2                                                        Mean 48–72 h          41           34


                                                                                                                                                                                                                                                 Statistically Significant Difference for Primary Outcome Measure

                                                                                                                                                                Knee arthro- Liposomal bupivacaine Bupivacaine     No pain scores for                                                        0–72 h                21           94         0.01    Not reported (although registry entry states       Mont130,133–135
                                                                                                                                                                  plasty        266 mg; bupivacaine  hydrochloride   specific time points                                                                                                            that length of stay would be a secondary
                                                                                                                                                                  (n = 140)     hydrochloride 100 mg 100 mg          provided–solely VAS                                                                                                             outcome)140
                                                                                                                                                                                in 120 ml            in 120 ml       AUC for hours 12-48
                                                                                                                                                                                                                     as part of the primary




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                     outcome. No pain
                                                                                                                                                                                                                     scores for hours
                                                                                                                                                                                                                     48-72 as well even
                                                                                                                                                                                                                     though opioid data
                                                                                                                                                                                                                     collected during this
                                                                                                                                                                                                                     time period.
                                                                                                                                                                Knee arthro- Liposomal bupivacaine Ropiv 400 mg (+ Mean Numeric Rating 2.4                             3.5        < 0.01     POD 1                10.9         15.6        0.8                        Not reported                    Snyder131
                                                                                                                                                                  plasty        266 mg               epinephrine)    Scale POD 2
                                                                                                                                                                  (n = 70)      in 100 ml            in 100 ml                                                                               POD 2                 6.9         13.1       < 0.01

                                                                                                                                                                An additional randomized trial compared infiltration with liposomal bupivacaine and bupivacaine hydrochloride for mammoplasty but was excluded due to early termination by the manufacturer.207 Primary outcomes are presented in table 5.
                                                                                                                                                                *A third treatment group not involving infiltration excluded from chart (e.g., continuous peripheral nerve block). †Dosage unknown.
                                                                                                                                                                AUC, area under the receiver operating characteristics curve; POD, postoperative day; VAS, visual analogue scale.




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      detect statistically significant differences in their primary         statistically significant differences in secondary and ter-
      outcome measure(s) employed similarly high injection vol-             tiary endpoints (tables 5 and 6).23,31,117–129 For one of the
      umes of 90 to 120 ml,118,121,122,127–129 and a seventh described      two trials with statistically significant findings,130 deviation
      administering “approximately 50 injections,” although the             from the published prespecified statistical plan resulted in
      total volume was not specified.119 In addition, authors of            a positive outcome when adherence to the original design
      many of the trials without statistically significant findings         would have rendered neither of the two coprimary end-
      describe an involved infiltration protocol very similar to the        points statistically significant.140 In addition, this study used




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      PILLAR technique, including one group of authors who                  a submaximal dose of unencapsulated bupivacaine for the
      pointedly noted that “the collaborating surgeon received              comparison group, while subjects of the treatment group
      extensive printed and in-person education on appropri-                received the maximum approved dose of liposomal bupi-
      ate installation technique as recommended by the manu-                vacaine plus additional bupivacaine hydrochloride.130 This
      facturer before study initiation, and a drug manufacturer             discrepancy greatly decreases confidence that the statisti-
      representative was present in the operating room to provide           cally significant differences would remain had a maximum
      support on proper drug administration as needed for the               dose of both treatments been compared.130 Consequently,
      first study patients.”123                                             there is currently little published evidence with a low risk
          An additional possible difference among studies account-          of bias demonstrating that administration of the maximum
      ing for the vastly dissimilar analgesic findings might be that        approved liposomal bupivacaine dose is superior to unen-
      the PILLAR trial was unique in applying the windowed                  capsulated bupivacaine hydrochloride when surgically infil-
      worst-observation-carried-forward method, specifying                  trated for knee arthroplasty.
      that “pain intensity scores during periods of rescue medi-
      cation administration were replaced by the highest observed           Infiltration with Liposomal Bupivacaine versus
      score before rescue medication use” [emphasis added].130              a Peripheral Nerve Block with Unencapsulated
      The results without the “window” adjustments were not                 Long-acting Local Anesthetic
      provided—unlike other manufacturer-supported random-
      ized, controlled trials29,139—so it remains unknown whether
      the relatively small difference in pain scores between                Single-injection Peripheral Nerve Block
      treatments (approximately 180 vs. 207 AUC during 36 h;                A single-injection peripheral nerve block using the lon-
      P = 0.038) would have remained statistically significant              gest acting local anesthetic approved in the United States,
      without replacing the lower with higher scores.The authors            bupivacaine hydrochloride, provides a sensory and motor
      had published their protocol—including details of the sta-            block with a typical duration of 8 to 12 h, although a lon-
      tistical plan—before beginning enrollment,135 but the win-            ger period may occur depending on the anatomic location,
      dowed technique was not mentioned in that publication                 inclusion of additives, and other factors. Regardless, nearly
      or the clinicaltrials.gov registry (NCT02713490). More                all bupivacaine hydrochloride–based regional anesthet-
      importantly, the ultimate statistical analysis deviated from          ics resolve in less than 24 h. Since peripheral nerve blocks
      the prespecified statistical plan in three critical aspects, and      require additional equipment (e.g., ultrasound), expertise,
      if the original plan had been adhered to, the primary out-            and time to administer, surgical infiltration of a sustained
      come measures would not have reached statistical signifi-             released local anesthetic may be a useful alternative if found
      cance, even with the “window” imputation.140 These two                to deliver at least equivalent analgesia.
      factors resulted in a high risk of bias using the Cochrane                Eleven randomized, controlled trials compare a sin-
      tool.98,99 Last, while for the experimental group the max-            gle-injection peripheral nerve block of unencapsulated
      imum Food and Drug Administration–approved liposomal                  long-acting local anesthetic with surgical infiltration of
      bupivacaine (266 mg) combined with an additional 100 mg               liposomal bupivacaine (tables 7 and 8).90,105,118,141–148 Of the
      of bupivacaine hydrochloride was employed, the control                eight that involve shoulder and knee procedures,90,118,141–146
      group received only 57% of the possible maximum unen-                 all were deemed to have some concerns regarding bias due
      capsulated bupivacaine dose, and without epinephrine,                 mainly to a lack of treatment group masking. All either had
      which is commonly included to increase both the maxi-                 an inadequately defined primary outcome measure or used
      mum dose (to 225 mg) and duration of effect.                          a primary outcome that included a longer duration than
                                                                            anticipated for the unencapsulated local anesthetic periph-
      Summary                                                               eral nerve block (greater than 12 h).90,118,141–146 However,
      To summarize the evidence for the use of infiltration with            the secondary outcomes allow a comparison of liposomal
      liposomal bupivacaine over unencapsulated bupivacaine                 bupivacaine infiltration and peripheral nerve blocks. All
      during knee arthroplasty, of the 17 available randomized,             eight reported statistically significant and clinically rele-
      active-controlled trials, only two (12%) reported a statis-           vant improvements in pain scores in favor of the peripheral
      tically significant difference for their primary outcome              nerve block during the anticipated duration of the block (8
      measure(s),130,131 with the remainder observing few if any            to 12 h). Of these, half also found that the peripheral nerve

310                                                       Anesthesiology 2021; 134:283–344                                                Ilfeld et al.
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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 7. Published Randomized, Controlled Clinical Trials Comparing Infiltration of Liposomal Bupivacaine and Peripheral Nerve Blocks with Unencapsulated Bupivacaine or Ropivacaine

                                                                                                                                                                                                   Treatments                                   Primary Outcome                                            Risks of Bias

                                                                                                                                                                                                                                                                                               Cochrane Risk of Bias 2                   Conflict
                                                                                                                                                                                                                                                                                                                                        of Interest
                                                                                                                                                                                                                                                  Liposomal                                                                             with Man-
                                                                                                                                                                Setting           Experimental                 Control            Measure        Bupivacaine Control P Value        O        R         D        Mi       M         S    ufacturer             Comments               Reference


                                                                                                                                                                                                                  Single-injection Peripheral Nerve Block vs. Liposomal Bupivacaine Infiltration (Knee and Shoulder Surgery)

                                                                                                                                                                Shoulder          Liposomal             Interscalene nerve     Morphine mg           15         15        0.85      ?        +         +         +        ?        +        None        Subjects and outcome         Namdari90
                                                                                                                                                                  arthroplasty       bupivacaine           block: ropiv          equivalent                                                                                                               assessors not masked
                                                                                                                                                                  (n = 156)          266 mg                150 mg                0–24 h                                                                                                                   to treatment group
                                                                                                                                                                                     in 40 ml              in 30 ml                                                                                                                                       assignment
                                                                                                                                                                Anterior cruciate Liposomal             Femoral nerve          Mean daily VAS        Not reported        > 0.05     ?        +         +         +        ?        +        None        Subjects and outcome         Okoroha141
                                                                                                                                                                   ligament          bupivacaine           block: ropiv                                                                                                                                   assessors not masked
                                                                                                                                                                   reconstruction    266 mg                200 mg                                                                                                                                         to treatment group
                                                                                                                                                                   (n = 82)          in 30 ml              in 40 ml                                                                                                                                       assignment
                                                                                                                                                                Total shoulder    Liposomal             Interscalene nerve     Mean daily VAS        Not reported        > 0.05     ?        +         +         +        ?        +        None        Subjects and outcome         Okoroha142
                                                                                                                                                                   arthroplasty      bupivacaine           block: ropiv                                                                                                                                   assessors not masked
                                                                                                                                                                   (n = 57)          266 mg                200 mg                                                                                                                                         to treatment group
                                                                                                                                                                                     in 40 ml              in 40 ml                                                                                                                                       assignment
                                                                                                                                                                Knee arthroplasty Liposomal             Femoral nerve          Mean Numeric          3.4        2.9       0.07      ?        +         +         +        ?        +        None        Not registered; control      Surdam143
                                                                                                                                                                   (n = 80)          bupivacaine           block: ropiv          Rating Scale                                                                                                             treatment included
                                                                                                                                                                                     266 mg                200 mg                during hospi-                                                                                                            30 mg of tetracaine;
                                                                                                                                                                                     in 60 ml              (+ epinephrine)       talization                                                                                                               subjects and outcome




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                           in 50 ml                                                                                                                                       assessors not masked
                                                                                                                                                                                                                                                                                                                                                          to treatment group
                                                                                                                                                                                                                                                                                                                                                          assignment
                                                                                                                                                                Knee arthroplasty Liposomal             Femoral nerve block: Primary outcome measure undefined, but power           ?        +         +         +        +        ?        None        Not registered; liposomal     Talmo144
                                                                                                                                                                  (n = 373)          bupivacaine          bupivacaine            analysis indicated time point was 1 yr after                                                                             bupivacaine group
                                                                                                                                                                                     266 mg               hydrochloride 50 mg surgery                                                                                                                     received a saline
                                                                                                                                                                                     bupivacaine          in 20 ml infiltration;                                                                                                                          femoral nerve block
                                                                                                                                                                                     hydrochloride        bupivacaine                                                                                                                                     to retain masking to
                                                                                                                                                                                     75 mg                hydrochloride                                                                                                                                   treatment assignment;
                                                                                                                                                                                     in                   75 in 30 ml                                                                                                                                     control group received
                                                                                                                                                                                                                                                                                                                                                          bupivacaine infiltration
                                                                                                                                                                                                                                                                                                                                                          to only the posterior
                                                                                                                                                                                                                                                                                                                                                          capsule
                                                                                                                                                                                                                                                                                                                                                                                      (Continued )




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                                                                                                                                                                                                                                                                                                                                                                                                     Liposomal Bupivacaine to Treat Postoperative Pain
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                                                                                                                                                                Table 7. (Continued)

                                                                                                                                                                                                  Treatments                                  Primary Outcome                                             Risks of Bias
                                                                                                                                                                                                                                                                                                                                                                                                     REVIEW ARTICLE




                                                                                                                                                                                                                                                                                             Cochrane Risk of Bias 2                    Conflict
                                                                                                                                                                                                                                                                                                                                       of Interest
                                                                                                                                                                                                                                                Liposomal                                                                              with Man-
                                                                                                                                                                Setting              Experimental              Control            Measure      Bupivacaine Control P Value        O         R         D       Mi        M        S     ufacturer            Comments                Reference


                                                                                                                                                                                                       Single-injection and/or Continuous Peripheral Nerve Block vs. Liposomal Bupivacaine Infiltration (Knee and Shoulder Surgery)

                                                                                                                                                                Total shoulder    Liposomal bupiva- Interscalene nerve        Primary outcomes listed in the results section as   ?         +         +        +        +        ?        None        Not registered; primary       Abildgaard145
                                                                                                                                                                   arthroplasty      caine 266 mg in     block: ropiv            VAS pain levels and opioid requirements                                                                                 outcome(s) inadequately
                                                                                                                                                                   (n = 83)          60 ml; bupiva-      0.5%†; continuous       (no time point provided)                                                                                                defined; control group:
                                                                                                                                                                                     caine hydrochlo-    interscalene nerve                                                                                                                              unknown interscalene
                                                                                                                                                                                     ride 150 mg         block: ropiv 0.5%                                                                                                                               nerve block dose; post-
                                                                                                                                                                                     in 30 ml            (8 ml/h)                                                                                                                                        operative cPNB for 72 h
                                                                                                                                                                Knee arthroplasty Liposomal           Sciatic nerve block:    Median Numeric         4.5         3.0       0.02   ?         +         +        +        ?        +    Author paid     Primary outcome maximum Amundson118
                                                                                                                                                                  (n = 102)          bupivacaine         bupivacaine             Rating                                                                                                 consul-          pain POD 1 from 06:00–
                                                                                                                                                                                     266 mg; bupi-       hydrochloride 75        Scale POD 1                                                                                            tant             12:00; sciatic nerve
                                                                                                                                                                                     vacaine hydro-      mg in 30 ml; femoral    06:00–12:00                                                                                                             block contained clonidine
                                                                                                                                                                                     chloride 125 mg;    nerve block:                                                                                                                                    100 µg; both sciatic and
                                                                                                                                                                                     ketorolac 30 mg      bupivacaine hydro-                                                                                                                             femoral nerve blocks
                                                                                                                                                                                     (+ epinephrine)     chloride 100 mg in                                                                                                                              contained epinephrine;
                                                                                                                                                                                     in 120 ml           20 ml; continuous                                                                                                                               control group received
                                                                                                                                                                                                         femoral nerve block:                                                                                                                            bupivacaine 40 mg in
                                                                                                                                                                                                         bupivacaine                                                                                                                                     20 ml through femoral




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                         hydrochloride 0.2%                                                                                                                              catheter on arrival to the
                                                                                                                                                                                                         10 ml/h*                                                                                                                                        recovery room; subjects
                                                                                                                                                                                                                                                                                                                                                         and outcome assessors
                                                                                                                                                                                                                                                                                                                                                         not masked to treatment
                                                                                                                                                                                                                                                                                                                                                         group; postoperative
                                                                                                                                                                                                                                                                                                                                                         cPNB until 06:00 on
                                                                                                                                                                                                                                                                                                                                                         POD 2
                                                                                                                                                                Knee arthroplasty Liposomal bupiv-     Femoral nerve block: VAS with                9.0         7.9       0.02    ?         +         +        +        ?        +    Study fund-     Subjects and outcome           Marino146
                                                                                                                                                                  (n = 65)           acaine 266 mg;      bupivacaine hydro-   maximum                                                                                                    ing; two        assessors not masked to
                                                                                                                                                                                     bupivacaine         chloride 100 mg in   knee flexion                                                                                               authors         treatment group
                                                                                                                                                                                     hydrochloride       20 ml; continuous    on POD 1                                                                                                   paid con-       assignment; postopera-
                                                                                                                                                                                     150 mg              femoral nerve                                                                                                                   sultants        tive cPNB for 48 h
                                                                                                                                                                                     (+ epinephrine)     block: bupivacaine
                                                                                                                                                                                     in 60 ml            hydrochloride 0.2%
                                                                                                                                                                                                         8 ml/h
                                                                                                                                                                                                                                                                                                                                                                                      (Continued )




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                                                                                                                                                                Table 7. (Continued)

                                                                                                                                                                                                   Treatments                                 Primary Outcome                                              Risks of Bias

                                                                                                                                                                                                                                                                                               Cochrane Risk of Bias 2                   Conflict
                                                                                                                                                                                                                                                                                                                                        of Interest
                                                                                                                                                                                                                                                Liposomal                                                                               with Man-
                                                                                                                                                                Setting             Experimental               Control            Measure      Bupivacaine Control P Value          O        R         D        Mi       M         S    ufacturer             Comments              Reference

                                                                                                                                                                Total shoulder    Interscalene nerve Interscalene nerve     Mean Numeric            2.1         2.6       0.27      ?        +         +         +        ?        +    Study          No registration; note both    Sabesan149
                                                                                                                                                                   arthroplasty      block;             block: bupivacaine    Rating Scale                                                                                                 funding       groups received initial
                                                                                                                                                                   (n = 70)          bupivacaine        hydrochloride         0–24 h                                                                                                                     interscalene nerve block
                                                                                                                                                                                     hydrochloride      100 mg in 20 ml;    Mean Morphine           36          34        0.77                                                                           and therefore this study
                                                                                                                                                                                     100 mg in 20 ml;   continuous inter-     mg equiv-                                                                                                                  does not compare
                                                                                                                                                                                     infiltration with  scalene nerve block: alent                                                                                                                       infiltration with liposomal
                                                                                                                                                                                     liposomal          bupivacaine           0–24 h                                                                                                                     bupivacaine to a single-in-
                                                                                                                                                                                     bupivacaine        hydrochloride                                                                                                                                    jection block of unencap-
                                                                                                                                                                                     266 mg             0.125% at 6 ml/h                                                                                                                                 sulated local anesthetic;
                                                                                                                                                                                     in 80 ml                                                                                                                                                            subjects and outcome
                                                                                                                                                                                                                                                                                                                                                         assessors not masked to
                                                                                                                                                                                                                                                                                                                                                         treatment group assign-
                                                                                                                                                                                                                                                                                                                                                         ment; postoperative cPNB
                                                                                                                                                                                                                                                                                                                                                         for 100 h




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                          Hip Surgery and Abdominal Hysterectomy

                                                                                                                                                                Abdominal         Liposomal             Bilateral transversus   Morphine            34          48      0.0497      -        +         +         +        +        -    Author paid    Initial registration February Gasanova147
                                                                                                                                                                  hysterectomy       bupivacaine           abdominis plane        0–24 h                                                                                                  consul-         2014 listed “morphine
                                                                                                                                                                  (n = 58)           266 mg                block: bupivacaine   VAS with            3.5         5.3      < 0.01                                                           tant            consumption in the first
                                                                                                                                                                                     in 60 ml              hydrochloride          coughing                                                                                                                24 hours” as the primary
                                                                                                                                                                                                           200 mg in 40 ml        at 6 h                                                                                                                  outcome; December
                                                                                                                                                                                                           (total)                                                                                                                                        2014 registration noted
                                                                                                                                                                                                                                                                                                                                                          enrollment completed
                                                                                                                                                                                                                                                                                                                                                          in September 2014 and
                                                                                                                                                                                                                                                                                                                                                          primary outcome changed
                                                                                                                                                                                                                                                                                                                                                          to VAS with coughing
                                                                                                                                                                                                                                                                                                                                                          at 6 h (which matches
                                                                                                                                                                                                                                                                                                                                                          manuscript)
                                                                                                                                                                                                                                                                                                                                                                                      (Continued )




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                                                                                                                                                                Table 7. (Continued)

                                                                                                                                                                                                      Treatments                                        Primary Outcome                                                       Risks of Bias
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                                                                                                                                                                                                                                                                                                               Cochrane Risk of Bias 2                          Conflict
                                                                                                                                                                                                                                                                                                                                                               of Interest
                                                                                                                                                                                                                                                         Liposomal                                                                                             with Man-
                                                                                                                                                                Setting                 Experimental                Control               Measure       Bupivacaine Control P Value                O          R          D         Mi         M         S      ufacturer               Comments                  Reference

                                                                                                                                                                Hip arthroplasty     Liposomal           Psoas nerve block:     Maximum                        3.0          3.0        0.66        ?          +          +          +         ?         +     Author paid      Additional control group           Johnson105
                                                                                                                                                                   (n = 105)            bupivacaine        bupivacaine            Numeric                                                                                                                       consul-          included in table 3; lipo-
                                                                                                                                                                                        266 mg; bupiva-    hydrochloride          Rating                                                                                                                        tant             somal bupivacaine treat-
                                                                                                                                                                                        caine hydrochlo-   150 mg in 30 ml        Scale POD 1                                                                                                                                    ment included ketorolac
                                                                                                                                                                                        ride 125 mg (+     (+ epinephrine);       06:00–12:00                                                                                                                                    30 mg; subjects and
                                                                                                                                                                                        epinephrine) in    continuous psoas                                                                                                                                                      outcome assessors not
                                                                                                                                                                                        120 ml             nerve block: bupiva-                                                                                                                                                  masked to treatment
                                                                                                                                                                                                           caine hydrochloride                                                                                                                                                   group assignment;
                                                                                                                                                                                                           0.2% 10 ml/h*                                                                                                                                                         POD 1: bupivacaine
                                                                                                                                                                                                                                                                                                                                                                                 hydrochloride cPNB
                                                                                                                                                                                                                                                                                                                                                                                 changed to 0.1%; post-
                                                                                                                                                                                                                                                                                                                                                                                 operative infusion until
                                                                                                                                                                                                                                                                                                                                                                                 06:00 on POD 2
                                                                                                                                                                Hip arthroplasty     Liposomal bupiva- Fascia iliaca                  VAS AUC                 108           102       > 0.05       ?          +          +          +         ?         +          None        No registration; pain stated      McGraw-
                                                                                                                                                                   (n = 79)             caine 266 mg     block: ropiv                 0–48 h                                                                                                                                     as primary outcome but            Tatum148
                                                                                                                                                                                        in 60 ml         80 mg                                                                                                                                                                   sample size estimate
                                                                                                                                                                                                         in 20 ml *                                                                                                                                                              based on opioid use;
                                                                                                                                                                                                                                                                                                                                                                                 subjects and outcome
                                                                                                                                                                                                                                                                                                                                                                                 assessors not masked




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                                                                                                 to treatment group
                                                                                                                                                                                                                                                                                                                                                                                 assignment; randomized,
                                                                                                                                                                                                                                                                                                                                                                                 controlled trials suggest
                                                                                                                                                                                                                                                                                                                                                                                 that fascia iliaca blocks
                                                                                                                                                                                                                                                                                                                                                                                 do not provide effective
                                                                                                                                                                                                                                                                                                                                                                                 analgesia for hip arthro-
                                                                                                                                                                                                                                                                                                                                                                                 plasty152,153

                                                                                                                                                                One randomized trial compared infiltration and a peripheral nerve block, both with liposomal bupivacaine and is therefore presented in table 9.163 Secondary outcomes are presented in table 8.
                                                                                                                                                                *A third control group not involving peripheral nerve blocks excluded from chart (e.g., unencapsulated bupivacaine infiltration).145 †Dosage unknown.
                                                                                                                                                                AUC, area under the receiver operating characteristics curve; VAS, visual analogue scale. Cochrane Risk of Bias 2 abbreviations: O, overall risk of bias; R, bias arising from the randomization process; D, bias due to deviations from intended interventions;
                                                                                                                                                                Mi, bias due to missing outcome data; M, bias in measurement of the outcome; S, bias in selection of the reported result.




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 8. Secondary Outcomes for Published Randomized, Controlled Clinical Trials Comparing Infiltration of Liposomal Bupivacaine and Peripheral Nerve Blocks with Unencapsulated
                                                                                                                                                                Bupivacaine or Ropivacaine

                                                                                                                                                                                               Treatments                                    Pain Scores                                   Opioid Consumption (mg)                                 Length of Stay

                                                                                                                                                                                                                                                                          Morphine
                                                                                                                                                                                                                                              Liposomal                      mg       Liposomal                           Liposomal
                                                                                                                                                                Setting            Experimental           Control             Measure        Bupivacaine Control P Value Equivalents Bupivacaine Control P Value Measure Bupivacaine Control P Value Reference


                                                                                                                                                                                                               Single-injection Peripheral Nerve Block vs. Liposomal Bupivacaine Infiltration (Knee and Shoulder Surgery)

                                                                                                                                                                Shoulder arthro-  Liposomal        Interscalene nerve     VAS 0 h                 3.3         0.8      < 0.01   Intraoperative      16           9       < 0.01      Days           1.6           1.8      0.29   Namdari90
                                                                                                                                                                  plasty             bupivacaine      block: ropiv 150 mg VAS 8 h                 3.2         1.4      < 0.01
                                                                                                                                                                  (n = 156)          266 mg           in 30 ml            VAS 16 h                3.8         4.3       0.35    Total               31           23
                                                                                                                                                                                     in 40 ml                             VAS 24 h                3.9         4.9       0.02
                                                                                                                                                                Anterior cruciate Liposomal        Femoral nerve block: VAS 0–4 h                 5.6         4.5       0.06    Not reported                                      Not reported                                    Okoroha141
                                                                                                                                                                  ligament recon-    bupivacaine      ropiv 200 mg        VAS 5–8 h               6.2         4.8       0.01
                                                                                                                                                                  struction          266 mg           in 40 ml            VAS 9–12 h              5.9         4.9       0.06
                                                                                                                                                                  (n = 82)           in 30 ml                             VAS 13 h                6.0         5.5       0.51
                                                                                                                                                                Shoulder arthro- Liposomal         Interscalene nerve     VAS 0–4 h               5.3         2.5      < 0.01   0–4 h               0.7         0.8       0.55       Days           1.5           1.5      0.97   Okoroha142
                                                                                                                                                                  plasty             bupivacaine      block: ropiv 200 mg VAS 5–8 h               4.9         2.5      < 0.01   5–8 h               0.7         0.8       0.16
                                                                                                                                                                  (n = 57)           266 mg           in 40 ml            VAS 9–12 h              5.0         3.7       0.12    9–12 h              0.6         0.9       0.15
                                                                                                                                                                                     in 40 ml                             VAS 24 h                4.5         5.4       0.18    24 h                0.5         0.7       0.45
                                                                                                                                                                Knee arthroplasty Liposomal        Femoral nerve block: Mean Numeric              3.8         2.9      < 0.05   Mean POD 0          26          14       < 0.05      Days           2.4           2.7      0.03   Surdam143




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                  (n = 80)           bupivacaine      Ropiv 200 mg (+       Rating Scale
                                                                                                                                                                                     266 mg           epinephrine)          POD 0
                                                                                                                                                                                     in 60 ml         in 50 ml            Mean Numeric            3.7         3.6      > 0.05 Mean POD 1            3.9         9.1      < 0.05
                                                                                                                                                                                                                            Rating Scale
                                                                                                                                                                                                                            POD 1
                                                                                                                                                                                                                          Mean Numeric            3.2         2.9      > 0.05 Mean POD 2            1.5         4.3      > 0.05
                                                                                                                                                                                                                            Rating Scale
                                                                                                                                                                                                                            POD 2
                                                                                                                                                                Knee arthroplasty Liposomal        Femoral nerve block: Mean VAS 0–12 h           3.9         3.2      < 0.01   Mean 0–12 h         5.2          5.4      0.98    Days       2.8            2.7          0.51      Talmo144
                                                                                                                                                                  (n = 373)          bupivacaine      bupivacaine         Mean VAS 12–24 h        4.7         4.1      < 0.01   Mean 12–24 h       8.0          8.5       0.52
                                                                                                                                                                                     266 mg;          hydrochloride       Mean VAS 24–36 h        4.3         4.7       0.13    Mean 24–36 h       11.9         12.3      0.56
                                                                                                                                                                                     bupivacaine      50 mg in 20 ml;     Mean VAS 36–48 h        4.2         4.6       0.24    Mean 36–48 h       11.2         11.8      0.67
                                                                                                                                                                                     hydrochloride    Infiltration        Mean VAS                0.7         0.7       0.86    Mean 48–60 h        9.4          9.8      0.76
                                                                                                                                                                                     75 mg in 50 ml bupivacaine             12 months
                                                                                                                                                                                                      hydrochloride 75 in
                                                                                                                                                                                                      30 ml
                                                                                                                                                                                                                                                                                                                                                                                  (Continued )




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                                                                                                                                                                Table 8. (Continued)

                                                                                                                                                                                                 Treatments                                       Pain Scores                               Opioid Consumption (mg)                                Length of Stay

                                                                                                                                                                                                                                                                               Morphine
                                                                                                                                                                                                                                                                                                                                                                                                  REVIEW ARTICLE




                                                                                                                                                                                                                                                   Liposomal                      mg       Liposomal                           Liposomal
                                                                                                                                                                Setting             Experimental             Control             Measure          Bupivacaine Control P Value Equivalents Bupivacaine Control P Value Measure Bupivacaine Control P Value Reference


                                                                                                                                                                                                       Single-injection and/or Continuous Peripheral Nerve Block vs. Liposomal Bupivacaine Infiltration (Knee and Shoulder Surgery)

                                                                                                                                                                Shoulder arthro-  Liposomal           Interscalene nerve     Mean VAS POD 0           5.0       3.2     < 0.05 Mean                   32           6       < 0.05      Days          1.2            1.9    0.66   Abildgaard145
                                                                                                                                                                  plasty             bupivacaine         block Ropiv 0.5%                                                      POD 0
                                                                                                                                                                  (n = 83)           266 mg              (dose?) and cPNB Mean VAS POD 1              5.3       4.8     > 0.05 Mean                   33           15      < 0.05
                                                                                                                                                                                     in 60 ml            ropiv 0.5% (8 ml/h)                                                   POD 1
                                                                                                                                                                                     bupivacaine                             Mean VAS POD 2           4.1       3.5     > 0.05 Mean                   65           50      > 0.05
                                                                                                                                                                                     hydrochloride                                                                             POD 2
                                                                                                                                                                                     150 mg
                                                                                                                                                                                     in 30 ml
                                                                                                                                                                Knee arthroplasty Liposomal           Sciatic nerve block: Median Numeric             2.4       0.6     < 0.01 Median                 15           0       < 0.01      Days           2             2      0.77   Amundson118
                                                                                                                                                                  (n = 102)          bupivacaine         bupivacaine hydro-     Rating Scale                                   POD 0
                                                                                                                                                                                     266 mg;             chloride 75 mg in      (average) POD 0
                                                                                                                                                                                     bupivacaine         30 ml; femoral nerve Median Numeric          3.7       2.5     < 0.01 Median                 45           26      < 0.01
                                                                                                                                                                                     hydrochloride       block: bupivacaine     Rating Scale                                   POD 1
                                                                                                                                                                                     125 mg;             hydrochloride          (average)
                                                                                                                                                                                     ketorolac           100 mg in 20 ml;       POD 1
                                                                                                                                                                                     30 mg (+            cPNB Bupivacaine Median Numeric              3.5       3.3      0.20    Median               23           23       0.17
                                                                                                                                                                                     epinephrine)        hydrochloride 0.2% Rating Scale                                         POD 2
                                                                                                                                                                                     in 120 ml           10 ml/h*               (average) POD 2




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                Knee arthroplasty Liposomal           Femoral nerve block: Mean VAS                   3.7       3.1      0.43                       Not reported                                     Not reported                  Marino146
                                                                                                                                                                  (n = 65)           bupivacaine         bupivacaine            (dynamic) 12 h
                                                                                                                                                                                     266 mg;             hydrochloride        Mean VAS                4.1       5.2      0.15
                                                                                                                                                                                     bupivacaine         100 mg in 20 ml;       (dynamic) 24 h
                                                                                                                                                                                     hydrochloride       cPNB: bupivacaine Mean VAS                   3.0       3.8      0.81
                                                                                                                                                                                     150 mg (+           hydrochloride 0.2% (dynamic) 48 h
                                                                                                                                                                                     epinephrine)        8 ml/h               Mean VAS                5.5       3.1      0.87
                                                                                                                                                                                     in 60 ml                                   (dynamic) 72 h
                                                                                                                                                                Shoulder arthro- Interscalene         Interscalene nerve      Mean VAS 6 h            1.4       1.5      0.96        0–6 h             3            5       0.19                     Not reported                  Sabesan149
                                                                                                                                                                  plasty             nerve block:        block: bupivacaine Mean VAS 12 h             2.1       2.7      0.48       6–12 h             8            8       0.90
                                                                                                                                                                  (n = 70)           bupivacaine         hydrochloride        Mean VAS 18 h           2.5       2.6      0.92       12–18 h            9           12       0.54
                                                                                                                                                                                     hydrochloride       100 mg in 20 ml;     Mean VAS 24 h           2.0       2.9      0.23       18–24 h           16            9       0.02
                                                                                                                                                                                     100 mg in           cPNB: bupivacaine Mean VAS 24–48 h           2.6       3.2      0.13       0–48 h            79           53       0.23
                                                                                                                                                                                     20 ml; liposo-      hydrochloride
                                                                                                                                                                                     mal bupiva-         0.125% at 6 ml/h
                                                                                                                                                                                     caine 266 mg
                                                                                                                                                                                     in 80 ml
                                                                                                                                                                                                                                                                                                                                                                                   (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 8. (Continued)

                                                                                                                                                                                                    Treatments                                         Pain Scores                                      Opioid Consumption (mg)                                     Length of Stay

                                                                                                                                                                                                                                                                                   Morphine
                                                                                                                                                                                                                                                       Liposomal                      mg       Liposomal                           Liposomal
                                                                                                                                                                Setting               Experimental              Control               Measure         Bupivacaine Control P Value Equivalents Bupivacaine Control P Value Measure Bupivacaine Control P Value Reference


                                                                                                                                                                                                                                                               Hip Surgery and Abdominal Hysterectomy

                                                                                                                                                                Abdominal            Liposomal        Bilateral transversus      VAS with coughing        3.9      6.2            < 0.01 Hydrocodone              1.9           3.6        0.01                       Not reported                     Gasanova147
                                                                                                                                                                  hysterectomy          bupivacaine      abdominis plane           12 h                                                    5 mg tablets
                                                                                                                                                                  (n = 58)              266 mg in        block: bupivacaine      VAS with coughing        4.0      6.0            < 0.01   24–48 h
                                                                                                                                                                                        60 ml            hydrochloride             24 h
                                                                                                                                                                                                         200 mg in 40 ml         VAS with coughing        3.8      5.9            < 0.01
                                                                                                                                                                                                         (total)                   48 h
                                                                                                                                                                Hip arthroplasty     Liposomal        Psoas nerve block:         Maximum Numeric          4.0      4.0              0.43    POD 0                  11           8          0.74        Days            2             2        0.77      Johnson105
                                                                                                                                                                   (n = 105)            bupivacaine      bupivacaine               Rating Scale                                             POD 1                  15           23         0.54
                                                                                                                                                                                        266 mg;          hydrochloride             POD 0                                                    POD 2                  11           15         0.90
                                                                                                                                                                                        bupivacaine      150 mg in 30 ml         Maximum Numeric          4.0      5.0              0.47
                                                                                                                                                                                        hydrochloride    (+ epinephrine);          Rating Scale




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                        125 mg (+        cPNB: bupivacaine         POD 1
                                                                                                                                                                                        epinephrine)     hydrochloride           Maximum Numeric          3.5      3.5              0.80
                                                                                                                                                                                        in 120 ml        0.2% 10 ml/h*             Rating Scale
                                                                                                                                                                                                                                   POD 2
                                                                                                                                                                Hip arthroplasty     Liposomal           Fascia iliaca block:    No secondary pain score outcome measures                   0–48 h                 61            55       > 0.05      Hours           47             44      > 0.05      McGraw-
                                                                                                                                                                   (n = 79)             bupivacaine        ropiv 80 mg in                                                                                                                                                                                 Tatum148
                                                                                                                                                                                        266 mg in          20 ml *
                                                                                                                                                                                        60 ml
                                                                                                                                                                An additional randomized trial compared infiltration with liposomal bupivacaine and bupivacaine hydrochloride for mammoplasty but was excluded due to early termination by the manufacturer.207 Primary outcomes are presented in table 7.
                                                                                                                                                                *A third treatment group not involving infiltration excluded from chart (e.g., continuous peripheral nerve block).
                                                                                                                                                                POD, postoperative day; VAS, visual analogue scale.




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                                                                                                                                                                                                                                                                                                                                                                                                                     Liposomal Bupivacaine to Treat Postoperative Pain
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Case 2:21-cv-09264-MCA-JSA Document 1-2 Filed 04/14/21 Page 36 of 63 PageID: 100




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      block group concurrently required a lower dose of supple-               during this same duration. Unfortunately, neither was reg-
      mental opioids,90,118,143,145 while the remainder reported little       istered or had a well-defined primary outcome measure.
      difference during this period of time.141,142,144,146 Collectively,     In addition, one provided no information on the perineu-
      these eight studies provide evidence that a single-injection            ral infusion dosing in the manuscript, rendering the find-
      peripheral nerve block with unencapsulated ropivacaine                  ings for postoperative days 1 and 2 difficult to interpret.145
      or bupivacaine provides superior analgesia compared with                Furthermore, unlike the other continuous peripheral nerve
      liposomal bupivacaine infiltration for the duration of the              block investigations, the second trial provided a single-in-




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      peripheral nerve block.                                                 jection interscalene block to both treatment groups.149
          However, one of the proposed benefits of using liposo-                  The reason for the finding of continuous peripheral
      mal bupivacaine infiltration is the possibility of prolong-             nerve block analgesic superiority over infiltrated liposomal
      ing analgesia beyond the typical 8 to 12 h peripheral nerve             bupivacaine for femoral but not interscalene catheters is not
      block duration. Of the eight randomized, controlled trials              readily apparent.118,146,149 It may simply be due to the very
      just described,90,118,141–146 three included an additional con-         low number of studies with underpowered sample sizes, or
      tinuous peripheral nerve block in which unencapsulated                  that in one shoulder study, both treatment groups received
      local anesthetic was infused through a percutaneous peri-               a single-injection peripheral nerve block. Regardless, this
      neural catheter to extend analgesia beyond the duration of              latter study is a good example of the potential benefit of
      the initial single-injection peripheral nerve block.118,145,146         local infiltration analgesia over continuous peripheral nerve
      Therefore, the remaining five randomized, controlled trials             blocks: two subjects experienced residual hand numbness
      describe a single-injection peripheral nerve block without a            that resolved with catheter removal, and five had an inad-
      subsequent confounding perineural infusion: one reported                vertent, premature catheter dislodgement.149 Moreover,
      that subjects receiving infiltrated liposomal bupivacaine did           unlike perineural infusion, tissue/joint infiltration carries
      have less pain at 24 h (although not beyond),90 with the                little risk of inducing muscle weakness,146 patient burden
      remaining four trials finding no statistically significant dif-         is decreased without an infusion pump and local anesthetic
      ferences between treatments.141–144 Similarly, of these five            reservoir to carry, and provider workload is reduced with-
      trials,90,141–144 two detected lower opioid requirements for            out an infusion to manage.1 Given these potential bene-
      liposomal bupivacaine subjects after block resolution: one              fits of liposomal bupivacaine combined with the equivocal
      on postoperative day 1,143 and the other during postoper-               available comparison data, additional research is greatly
      ative hours 13 through 16 (although this was reversed in                needed to assist stakeholders in optimizing patients’ periop-
      favor of the peripheral nerve block group during hours 49               erative experience.
      to 56, suggesting a high probability of type I errors for these             Three studies involved hip arthroplasty or abdominal
      two findings due to multiple comparisons with a limited                 hysterectomy (tables 7 and 8).105,148 One hip arthroplasty
      sample size).142 Thus, these five randomized, controlled tri-           study compared infiltration with liposomal bupivacaine
      als failed to provide evidence that liposomal bupivacaine               with a fascia iliaca block without a subsequent infusion,148
      provided any analgesic or opioid-sparing benefits beyond                while the other compared liposomal bupivacaine to sin-
      postoperative day 1.                                                    gle-injection and continuous psoas compartment (posterior
                                                                              lumbar plexus) blocks.105 Liposomal bupivacaine infiltration
      Continuous Peripheral Nerve Block                                       was not inferior to a fascia iliaca block in the first study,
      Four randomized, controlled trials included a continu-                  but interpretation of this result is complicated by results
      ous peripheral nerve block for knee and shoulder surgery,               of multiple randomized, placebo-controlled trials demon-
      allowing a comparison of liposomal bupivacaine infiltra-                strating that fascia iliaca blocks provide little to no anal-
      tion and perineural local anesthetic infusion (tables 7 and             gesic benefit after hip arthroplasty.150,151 In contrast, psoas
      8).118,145,146,149 The two involving knee arthroplasty reported         compartment blocks/infusions do offer pain control for
      lower pain scores for subjects with continuous femoral                  hip arthroplasty,152,153 and liposomal bupivacaine infiltration
      nerve blocks during the period of perineural local anes-                was not inferior to this block, which had a high incidence
      thetic infusion based on both primary and secondary out-                of motor weakness and complications, indicating benefits
      come measures.118,146 One of these also found concurrent                from liposomal bupivacaine in this comparison.105
      lower opioid use for continuous peripheral nerve block                      Last, one randomized, controlled trial compared lipo-
      subjects,118 while the other detected a longer time to first            somal bupivacaine infiltration with a bilateral transversus
      use of rescue opioids for subjects who had received liposo-             abdominis block with bupivacaine hydrochloride for total
      mal bupivacaine.146                                                     abdominal hysterectomy.147 The results were statistically sig-
          Two additional randomized, controlled trials involved               nificant in favor of the liposomal bupivacaine infiltration
      shoulder arthroplasty; neither found differences in pain                for both the primary outcome of pain upon coughing 6 h
      scores after resolution of the single-injection peripheral              after surgery and nearly every secondary pain (at rest and on
      nerve block.145,149 However, both detected greater opioid               coughing) and opioid endpoint from 2 to 48 postoperative
      sparing in favor of the continuous peripheral nerve block               hours. Unfortunately, a discrepancy between the primary

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                                                                                             Liposomal Bupivacaine to Treat Postoperative Pain


         outcome provided in the registry and published manuscript               surgical procedures, experimental treatments (e.g., periph-
         results in a high risk of bias for this trial.                          eral nerve block vs. epidural), and comparison groups (e.g.,
                                                                                 placebo vs. liposomal bupivacaine).
         Summary
         To summarize the evidence for the use of infiltration with              Peripheral Nerve Block with Liposomal Bupivacaine
         liposomal bupivacaine compared with a peripheral nerve                  versus Placebo




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         block with unencapsulated local anesthetic for knee and                 There are four randomized, controlled trials comparing a
         shoulder procedures, all of eight randomized, controlled tri-           peripheral nerve block using liposomal bupivacaine and a
         als found evidence that a single-injection peripheral nerve             placebo control.29,139,154,160 The first involved elective coro-
         block provides superior analgesia and concurrent opioid                 nary artery bypass grafting through a median sternotomy
         sparing for the duration of the block based on second-                  and sequential intercostal nerve blocks performed through
         ary outcomes.90,118,141–146 After block resolution, only one            the surgical incision, as well as infiltration surrounding
         trial found any analgesic benefit of liposomal bupivacaine              the mediastinal drains.154 Although the authors designated
         infiltration—and then only at 24 h90; two detected opioid               pain scores and opioid use as primary outcomes, no time
         sparing on postoperative day 0 or 1.142,143 Four randomized,            point was specified, warranting “some concerns” regarding
         controlled trials are available comparing liposomal bupiva-             possible bias using the Cochrane tool. At none of 10 indi-
         caine infiltration with a continuous peripheral nerve block,            vidual time points between 0 and 72 postoperative hours
         and all reported lower pain scores and/or less opioid use               was liposomal bupivacaine found to be superior to placebo.
         for subjects with continuous peripheral nerve blocks based              However, when overall pain scores were compared using a
         on primary and secondary outcomes.118,145,146,149 Therefore,            linear mixed-effects model, the treatment group demon-
         there is evidence demonstrating the superiority of sin-                 strated lower scores (P = 0.040). Except for the 2-h time
         gle-injection and/or continuous peripheral nerve blocks                 point, the treatment group did not demonstrate a significant
         to liposomal bupivacaine infiltration for knee and shoul-               reduction in pain medication requirements either at indi-
         der surgery. However, the improved analgesia and opioid                 vidual time points or overall. Similarly, there were no dif-
         sparing must be balanced against the time and expertise                 ferences in secondary outcomes such as time to extubation,
         required for administration, increased patient and pro-                 hospital or intensive care unit length of stay, time to first
         vider burden, and other block-related limitations. Only a               bowel movement, or time to return to work or daily activ-
         single randomized, controlled trial provides reliable data              ity. Considering the comparison group was normal saline
         involving hip surgery, and while it does not demonstrate                and not active unencapsulated bupivacaine, the authors
         any superiority of liposomal bupivacaine over single-injec-             concluded, “there is currently not enough evidence to jus-
         tion and continuous peripheral nerve blocks, the lack of                tify the clinical use of this drug for this purpose.”154
         block-related limitations will favor the liposomal bupiva-                  In contrast, two other placebo-controlled trials with low
         caine infiltration method for many providers.105 Finally, the           risk of bias offer stronger evidence in favor of liposomal
         one randomized, controlled trial investigating abdominal                bupivacaine when administered as an ultrasound-guided
         hysterectomy provides evidence that liposomal bupivacaine               femoral, or interscalene nerve block before major knee
         infiltration is superior to a bilateral transversus abdominis           or shoulder surgery, respectively.29,139 Subjects experi-
         block with unencapsulated bupivacaine,147 but this trial was            enced lower pain when all scores during the first 48 to 72
         deemed at high risk for bias due to a discrepancy between               postoperative hours were evaluated together using AUC.
         the primary outcome provided in the registry and pub-                   Importantly, the windowed worst-observation-carried-for-
         lished manuscript.98,99                                                 ward technique was employed; however, the difference
                                                                                 between treatments remained with a post hoc analysis with-
                                                                                 out score imputation, although the effect size was reduced
         Liposomal Bupivacaine Administered as an                                by approximately 25 to 39%. With data imputation, daily
         Epidural or Peripheral Nerve Block                                      pain score AUC for the 0 to 24, 24 to 48, and 48 to 72-h
         Liposomal bupivacaine is approved by the Food and Drug                  periods were approximately 13 to 39% (femoral) and 26 to
         Administration for use in two specific peripheral nerve                 51% (interscalene) lower in the treatment groups, provid-
         blocks: transversus abdominis plane and interscalene (exclu-            ing evidence that there is pharmacologic activity beyond
         sively for postoperative analgesia after shoulder surgery).             48 h. For interscalene blocks, the actual resting pain scores
         However, data are available for additional anatomic locations           (not AUC) were dramatically improved for the active treat-
         such as the epidural space, with studies performed under                ment—approximately 30 to 60% lower—for all three time
         investigational new drug applications. We include these                 periods, as was the opioid consumption (reduced by 66 to
         published randomized, controlled trials along with those                86%). In contrast, benefits for femoral blocks were far more
         investigating currently approved applications (tables 9 and             modest, with resting pain scores and opioid consumption
         10).29,139,154–167 The 16 disparate trials of this section are not      improved to a clinical and statistically significant degree
         easily categorized or compared due to their heterogenous                only through 24 h. One important caveat is that neither

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                                                                                                                             320
                                                                                                                                                                Table 9. Published Randomized, Controlled Clinical Trials Involving Liposomal Bupivacaine as Part of a Peripheral Nerve Block or Epidural Injection

                                                                                                                                                                                          Treatments                                Primary Outcome                                             Risks of Bias

                                                                                                                                                                                                                                                                              Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                                                                                          REVIEW ARTICLE




                                                                                                                                                                                                                                     Liposomal                                                                        Conflict of Interest
                                                                                                                                                                Setting         Experimental         Control        Measure         bupivacaine Control P Value        O        R        D      Mi      M       S     with Manufacturer                    Comments                       Reference


                                                                                                                                                                                                                                                                Placebo-controlled Studies

                                                                                                                                                                Knee           Femoral nerve     Placebo femoral Numeric Rating         419        516     < 0.01      +        +        +       +      +       +   Company provided           Phase III multicenter trial: dose-rang-     Hadzic139
                                                                                                                                                                  arthroplasty   block              nerve block    Scale at rest                                                                                      funding; participated      ing pilot study (“Part 1”) data not
                                                                                                                                                                  (n = 164)      liposomal          normal saline  AUC 0–72 h                                                                                         in conception and          included in this table; primary pain
                                                                                                                                                                                 bupivacaine        20 ml                                                                                                             design; collection,        outcome calculated with windowed
                                                                                                                                                                                 266 mg in                                                                                                                            analysis, and inter-       worst-observation-carried-forward
                                                                                                                                                                                 20 ml                                                                                                                                pretation of data; and     and last-observation-carried-forward
                                                                                                                                                                                                                                                                                                                      manuscript review;         but provided results with and with-
                                                                                                                                                                                                                                                                                                                      four authors paid          out the imputation along with daily
                                                                                                                                                                                                                                                                                                                      consultants and 1          pain scores; liposomal bupivacaine
                                                                                                                                                                                                                                                                                                                      stockholder                not Food and Drug Administra-
                                                                                                                                                                                                                                                                                                                                                 tion–approved for use in a femoral
                                                                                                                                                                                                                                                                                                                                                 nerve block, but investigational drug
                                                                                                                                                                                                                                                                                                                                                 application filed
                                                                                                                                                                Hysterectomy Transversus         Placebo           Total morphine       21         25       0.03       +        +        +       +      +       +   First and third authors    Experimental treatment: bilateral trans-    Hutchins
                                                                                                                                                                   (n = 62)     abdominis           transversus       mg equiva-                                                                                       paid consultants          versus abdominis plane block with          (2019)160
                                                                                                                                                                                plane block:        abdominis         lent 0–72 h                                                                                                                liposomal bupivacaine and bupiva-
                                                                                                                                                                                liposomal           plane block:                                                                                                                                 caine hydrochloride; placebo at port
                                                                                                                                                                                bupivacaine         saline 30 ml                                                                                                                                 sites; control treatment: placebo




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                133 mg;             bilaterally;                                                                                                                                 transversus abdominis plane block;
                                                                                                                                                                                bupivacaine         port site                                                                                                                                    bupivacaine hydrochloride only at
                                                                                                                                                                                hydrochloride       infiltration:                                                                                                                                port sites; therefore, two different
                                                                                                                                                                                25 mg 30 ml         bupivacaine                                                                                                                                  independent variables varied and
                                                                                                                                                                                bilaterally; port hydrochloride                                                                                                                                  unknown which or both responsible
                                                                                                                                                                                sites infiltra-     25 mg in                                                                                                                                     for observed outcome differences;
                                                                                                                                                                                tion normal         10 ml per site                                                                                                                               no median/mean Numeric Rating
                                                                                                                                                                                saline                                                                                                                                                           Scale provided
                                                                                                                                                                                                                                                                                                                                                                                           (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 9. (Continued)

                                                                                                                                                                                         Treatments                               Primary Outcome                                              Risks of Bias

                                                                                                                                                                                                                                                                              Cochrane Risk of Bias 2
                                                                                                                                                                                                                                   Liposomal                                                                         Conflict of Interest
                                                                                                                                                                Setting         Experimental        Control       Measure         bupivacaine Control P Value          O        R        D      Mi     M       S     with Manufacturer                        Comments                         Reference

                                                                                                                                                                Coronary     Intercostal nerve Placebo          Total morphine         Not reported          0.18      ?        +        +      +       +      ?    No statement on              Dual primary outcome measures                   Lee154
                                                                                                                                                                  bypass        block (via        intercostal      mg equiva-                                                                                         funding or conflicts         but no time point(s) designated;
                                                                                                                                                                  sternotomy    surgical          nerve block      lent 0–72 h                                                                                        of interest, but none        authors concluded that liposomal
                                                                                                                                                                  (n = 79)      incision):        (via surgical Median Numeric                               0.04                                                     listed in registry entry     bupivacaine “may provide marginal
                                                                                                                                                                                liposomal         incision):       Rating Scale                                                                                       or found on the Open         improvement in overall pain scores;
                                                                                                                                                                                bupivacaine       normal saline 0–72 h                                                                                                Payments website             however, this does not seem to
                                                                                                                                                                                266 mg            50 ml                                                                                                                                            translate into significant improve-
                                                                                                                                                                                in 50 ml                                                                                                                                                           ments in objective clinical measures.
                                                                                                                                                                                                                                                                                                                                                   Therefore, we believe that there is
                                                                                                                                                                                                                                                                                                                                                   currently not enough evidence to
                                                                                                                                                                                                                                                                                                                                                   justify the clinical use of this drug for
                                                                                                                                                                                                                                                                                                                                                   this purpose”154
                                                                                                                                                                Shoulder       Interscalene    Placebo inter- VAS AUC 0–48 h          254             136   < 0.01     +        +        +      +       +      +    Study funding; at least      Phase III multicenter trial; liposo-            Patel29
                                                                                                                                                                  arthroplasty    nerve block:    scalene nerve                                                                                                        four authors paid           mal bupivacaine 266 mg group
                                                                                                                                                                  and rotator     liposomal       block: normal                                                                                                        consultants; author         discontinued (n = 15) and data
                                                                                                                                                                  cuff repair     bupivacaine     saline 20 ml                                                                                                         company employee            excluded from analysis; primary pain
                                                                                                                                                                  (n = 140)       133 in 20 ml                                                                                                                                                     outcome calculated with windowed
                                                                                                                                                                                                                                                                                                                                                   worst-observation-carried-forward
                                                                                                                                                                                                                                                                                                                                                   and last-observation-carried-for-
                                                                                                                                                                                                                                                                                                                                                   ward but provided results with and
                                                                                                                                                                                                                                                                                                                                                   without the imputation along with




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                                                                                                                   daily pain scores


                                                                                                                                                                                                                                                       Active-controlled: Transversus Abdominis Plane

                                                                                                                                                                Colorectal     Transversus       Intrathecal    VAS AUC 0–48 h        3.0             2.4   < 0.01     ?        +        +      +       ?      +    None                         Coprimary outcomes pain scores (AUC)           Colibase-
                                                                                                                                                                  surgery         abdominis         hydromor-                                                                                                                                      and opioid use 0–48 h, but sample               anu155
                                                                                                                                                                  (n = 200)       plane block:      phone       Total morphine        48              33     0.10                                                                                  size based on pain scores alone;
                                                                                                                                                                                  liposomal         100 μg         mg                                                                                                                              subjects not masked to treatment;
                                                                                                                                                                                  bupivacaine                      equivalent                                                                                                                      unclear if outcome assessors
                                                                                                                                                                                  133 mg                           0–48 h                                                                                                                          masked
                                                                                                                                                                                  in 20 ml
                                                                                                                                                                                  bilaterally
                                                                                                                                                                                                                                                                                                                                                                                                (Continued )




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                                                                                                                                                                                                                                                                                                                                                                                                               Liposomal Bupivacaine to Treat Postoperative Pain
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                                                                                                                                                                Table 9. (Continued)

                                                                                                                                                                                          Treatments                              Primary Outcome                                               Risks of Bias

                                                                                                                                                                                                                                                                               Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                                                                                          REVIEW ARTICLE




                                                                                                                                                                                                                                    Liposomal                                                                         Conflict of Interest
                                                                                                                                                                Setting         Experimental         Control         Measure       bupivacaine Control P Value          O        R        D      Mi     M       S     with Manufacturer                    Comments                       Reference

                                                                                                                                                                Colorectal     Transversus          Epidural         Unclear primary outcome measure(s)                 -        +        +      +       ?      -             None            Primary outcome different in registry        Felling156
                                                                                                                                                                  surgery         abdominis            bupivacaine                                                                                                                               and article; results not provided for
                                                                                                                                                                  (n = 179)       plane block:         hydrochloride                                                                                                                             either; unexplained change in the
                                                                                                                                                                                  liposomal bupi- 0.0625%                                                                                                                                        intervention for transversus abdom-
                                                                                                                                                                                  vacaine 133 mg fentanyl†                                                                                                                                       inis plane block group: 15 subjects
                                                                                                                                                                                  (bupivacaine         6–8 ml/h                                                                                                                                  received bupivacaine hydrochloride;
                                                                                                                                                                                  hydrochloride†;                                                                                                                                                neither outcome assessors nor sub-
                                                                                                                                                                                  n = 15) in                                                                                                                                                     jects masked to treatment group
                                                                                                                                                                                  20 ml bilaterally
                                                                                                                                                                Breast recon- Transversus           Transversus      Total morphine 283             300       0.98      ?        +        +      +       ?      ?             None            Not registered; all subjects received          Ha157
                                                                                                                                                                   struction      abdominis            abdominis        mg equiva-                                                                                                              preoperative T2–T4 paravertebral
                                                                                                                                                                   (n = 44)       plane block          plane block      lent 0–72 h                                                                                                             blocks (bupivacaine hydrochloride
                                                                                                                                                                                  (via surgical        (via surgical                                                                                                                            0.5% 15 ml); stopped due to futility
                                                                                                                                                                                  incision):           incision):                                                                                                                               (but the stopping rules were not
                                                                                                                                                                                  liposomal            bupivacaine                                                                                                                              prospectively defined); unclear
                                                                                                                                                                                  bupivacaine          hydrochloride                                                                                                                            which individuals were masked to
                                                                                                                                                                                  266 mg               75 mg in                                                                                                                                 treatment (if any)
                                                                                                                                                                                  in 50 ml             45 ml
                                                                                                                                                                Hysterectomy Transversus            Transversus      Total morphine        25           52   < 0.01     -        +        +      +       +      -    First author paid        First registered 1 month after enroll-       Hutchins
                                                                                                                                                                   (n = 58)       abdominis            abdominis        mg equiva-                                                                                      consultant               ment completion; registry primary          (2015)158
                                                                                                                                                                                  plane block:         plane block:     lent 0–72 h                                                                                                              outcome first listed as “post




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                  liposomal            bupivacaine                                                                                                                               operative pain scores” 0–72 h;
                                                                                                                                                                                  bupivacaine          hydrochloride                                                                                                                             subsequently changed to morphine
                                                                                                                                                                                  133 mg               75 mg in                                                                                                                                  mg equivalents 0–72 h (matches
                                                                                                                                                                                  in 30 ml             30 ml (+                                                                                                                                  article); no median/mean Numeric
                                                                                                                                                                                  bilaterally          epinephrine)                                                                                                                              Rating Scale provided
                                                                                                                                                                                                       bilaterally
                                                                                                                                                                Donor nephrec- Transversus          Transversus      Median                 3            5    0.02      -        +        +      +       +      -    First author paid        First registered 4 months after              Hutchins
                                                                                                                                                                   tomy           abdominis            abdominis        Maximum                                                                                         consultant               enrollment completion; no primary          (2016)159
                                                                                                                                                                   (n = 59)       plane block:         plane block:     Numeric                                                                                                                  outcome designated in article; reg-
                                                                                                                                                                                  liposomal            bupivacaine      Rating Scale                                                                                                             istry: primary outcome first listed as
                                                                                                                                                                                  bupivacaine          hydrochloride 48–72 h                                                                                                                     “postoperative pain control” 0–72 h;
                                                                                                                                                                                  133 mg in            75 mg in                                                                                                                                  subsequently changed to maximum
                                                                                                                                                                                  30 ml                30 ml (+                                                                                                                                  Numeric Rating Scale 48–72 h; no
                                                                                                                                                                                  bilaterally          epinephrine)                                                                                                                              median/mean Numeric Rating Scale
                                                                                                                                                                                                       bilaterally                                                                                                                               provided
                                                                                                                                                                                                                                                                                                                                                                                           (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 9. (Continued)

                                                                                                                                                                                       Treatments                              Primary Outcome                                               Risks of Bias

                                                                                                                                                                                                                                                                            Cochrane Risk of Bias 2
                                                                                                                                                                                                                                Liposomal                                                                          Conflict of Interest
                                                                                                                                                                Setting       Experimental        Control       Measure        bupivacaine Control P Value           O        R        D      Mi     M       S     with Manufacturer                    Comments                     Reference

                                                                                                                                                                Cesarean      Transversus     Transversus     Total morphine        16           32       0.01       -        +        +       -      +      +    Study funding;            Protocol revised during enrollment       Nedel-
                                                                                                                                                                  delivery       abdominis       abdominis       mg equiva-                                                                                          two authors paid          with first two cohorts excluded          jkovic161
                                                                                                                                                                  (n = 186)      plane block:    plane block:    lent 0–72 h                                                                                         consultants; two          completely; a total of 28% of
                                                                                                                                                                                 liposomal       bupivacaine                                                                                                         authors company           randomized subjects excluded from
                                                                                                                                                                                 bupivacaine     hydrochlo-                                                                                                          employees who             primary outcome measurement;
                                                                                                                                                                                 133 mg;         ride 25 mg                                                                                                          “may own stock or         among these subjects, those
                                                                                                                                                                                 bupivacaine     in 30 ml                                                                                                            stock options in the      receiving liposomal bupivacaine
                                                                                                                                                                                 hydrochloride bilaterally                                                                                                           company”                  required more opioid 0–72 h than
                                                                                                                                                                                 25 mg                                                                                                                                                         the control group: 52 mg vs 11 mg
                                                                                                                                                                                 in 30 ml                                                                                                                                                      (P value not reported); lowest
                                                                                                                                                                                 bilaterally                                                                                                                                                   concentration of bupivacaine
                                                                                                                                                                                                                                                                                                                                               hydrochloride relative to all other
                                                                                                                                                                                                                                                                                                                                               published single-injection trans-
                                                                                                                                                                                                                                                                                                                                               versus abdominis plane block ran-
                                                                                                                                                                                                                                                                                                                                               domized controlled trials (<0.09%)
                                                                                                                                                                                                                                                                                                                                               and among the lowest—if not the
                                                                                                                                                                                                                                                                                                                                               lowest—bupivacaine hydrochloride
                                                                                                                                                                                                                                                                                                                                               doses relative to all other published
                                                                                                                                                                                                                                                                                                                                               single-injection transversus
                                                                                                                                                                                                                                                                                                                                               abdominis plane block randomized
                                                                                                                                                                                                                                                                                                                                               controlled trials168,169




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                Colorectal    Transversus    Epidural       Mean hospital           75           86      0.045       ?        +        +      +       ?      +    No information            Not registered; control group:           Torgeson162
                                                                                                                                                                  surgery        abdominis     bupivacaine    length of                                                                                             provided                   subjects undergoing laparoscopy
                                                                                                                                                                  (n = 83)       plane block   hydrochloride stay (h)                                                                                                                          had 1% lidocaine and 0.25%
                                                                                                                                                                                 liposomal     0.0625%                                                                                                                                         bupivacaine hydrochloride (+
                                                                                                                                                                                 bupivacaine   fentanyl                                                                                                                                        epinephrine); unknown volume at
                                                                                                                                                                                 133 mg        2 μg/ml at                                                                                                                                      each trocar site; neither outcomes
                                                                                                                                                                                 in 40 ml      unknown rate                                                                                                                                    assessors nor subjects masked to
                                                                                                                                                                                 bilaterally   for 2 days                                                                                                                                      treatment group assignment; no
                                                                                                                                                                                                                                                                                                                                               pain scores or opioid use reported
                                                                                                                                                                                                                                                                                                                                                                                        (Continued )




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                                                                                                                                                                                                                                                                                                                                                                                                       Liposomal Bupivacaine to Treat Postoperative Pain
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                                                                                                                             324
                                                                                                                                                                Table 9. (Continued)

                                                                                                                                                                                          Treatments                               Primary Outcome                                               Risks of Bias

                                                                                                                                                                                                                                                                                Cochrane Risk of Bias 2
                                                                                                                                                                                                                                                                                                                                                                                                      REVIEW ARTICLE




                                                                                                                                                                                                                                    Liposomal                                                                         Conflict of Interest
                                                                                                                                                                Setting         Experimental         Control         Measure       bupivacaine Control P Value            O      R        D      Mi      M       S    with Manufacturer                    Comments                  Reference


                                                                                                                                                                                                                                                                  Active-controlled: Miscellaneous

                                                                                                                                                                Knee arthro-  Adductor         Joint infiltration: Primary outcome described as “mean pain scores         ?       +       +       +      +       ?            None             Not registered; liposomal bupi-       Meftah163
                                                                                                                                                                  plasty        canal block:      liposomal           for the first 3 days,” but no results combining                                                                            vacaine not Food and Drug
                                                                                                                                                                  (n = 70)      liposomal         bupivacaine         POD 0–3 provided; therefore, primary outcome                                                                               Administration–approved for use
                                                                                                                                                                                bupivacaine       266 mg;             unclear                                                                                                                    in an adductor canal block but no
                                                                                                                                                                                266 mg            bupivacaine                                                                                                                                    investigational new drug applica-
                                                                                                                                                                                in 20 ml          hydrochloride                                                                                                                                  tion filed
                                                                                                                                                                                                  100 mg in
                                                                                                                                                                                                  40 ml
                                                                                                                                                                Hip           Fascia iliaca    Fascia              Defense           Each of five time points    > 0.05   +       +       +       +      +       +            None             Liposomal bupivacaine not Food and    Purcell164
                                                                                                                                                                   arthroscopy block: liposo- iliaca block:           Veterans          were included in the                                                                                      Drug Administration–approved
                                                                                                                                                                   (n = 70)     mal bupiva-       bupivacaine         Pain              primary outcome: see                                                                                      for use in a fascia iliaca block
                                                                                                                                                                                caine 266 mg; hydrochloride Rating                      table 10 for specific                                                                                     but no investigational new drug
                                                                                                                                                                                bupivacaine       100 mg in           Scale             days                                                                                                      application filed
                                                                                                                                                                                hydrochloride 40 ml
                                                                                                                                                                                100 mg
                                                                                                                                                                                in 40 ml
                                                                                                                                                                Upper         Median, ulnar, Supraclavicular Authors “considered the results of the EuroQol               -       +       +       +      +       -        Study funding        Primary outcome per registry: onset Soberon165
                                                                                                                                                                   extremity    radial nerve      nerve block:        5D–5L instrument the primary outcome” but                                                                                   of sensory block; but per article:




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                   surgery      blocks:           bupivacaine         this includes 18 separate outcomes (all >0.05)                                                                              EuroQol POD 0, 1, 2, 3; liposomal
                                                                                                                                                                   (n = 37)     liposomal         hydrochloride                                                                                                                                   bupivacaine not Food and Drug
                                                                                                                                                                                bupivacaine       150 mg in                                                                                                                                       Administration–approved for use in
                                                                                                                                                                                65 mg in 5 ml 30 ml                                                                                                                                               a fascia iliaca block but no investi-
                                                                                                                                                                                to each nerve;                                                                                                                                                    gational new drug application filed
                                                                                                                                                                                supraclavic-
                                                                                                                                                                                ular block:
                                                                                                                                                                                mepivacaine
                                                                                                                                                                                450 mg
                                                                                                                                                                                in 30 ml
                                                                                                                                                                                                                                                                                                                                                                                       (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 9. (Continued)

                                                                                                                                                                                            Treatments                                  Primary Outcome                                                          Risks of Bias

                                                                                                                                                                                                                                                                                             Cochrane Risk of Bias 2
                                                                                                                                                                                                                                          Liposomal                                                                                       Conflict of Interest
                                                                                                                                                                Setting           Experimental          Control          Measure         bupivacaine Control P Value                 O         R          D       Mi      M        S      with Manufacturer                        Comments                       Reference

                                                                                                                                                                Shoulder         Interscalene     Interscalene    Worst Numeric                3.6            5.5      > 0.05        -          +         +       +        +        -   Study funding; 1 author      Discrepancy in original and final      Vandepitte166
                                                                                                                                                                  surgery           block liposo-    block bupiv-   Rating Scale                                                                                                           paid consultant              primary outcome measures
                                                                                                                                                                  (n = 50)          mal bupiva-      acaine hydro- POD 2                                                                                                                                                designated in the registry175,176;
                                                                                                                                                                                    caine 133 mg chloride         Worst Numeric                3.6            5.3      < 0.01                                                                                           primary outcome described in
                                                                                                                                                                                    bupivacaine      37.5 mg        Rating Scale                                                                                                                                        article as “worst pain during in
                                                                                                                                                                                    hydrochloride in 15 ml          POD 1, 2, 3,                                                                                                                                        the first postoperative week,” but
                                                                                                                                                                                    12.5 mg in                      4, 7 using a                                                                                                                                        the sample size analysis based
                                                                                                                                                                                    15 ml                           generalized                                                                                                                                         on worst Numeric Rating Scale
                                                                                                                                                                                                                    estimating                                                                                                                                          POD 2; no median/mean Numeric
                                                                                                                                                                                                                    equation                                                                                                                                            Rating Scale provided; liposomal
                                                                                                                                                                                                                                                                                                                                                                        bupivacaine not Food and Drug
                                                                                                                                                                                                                                                                                                                                                                        Administration–approved for use in
                                                                                                                                                                                                                                                                                                                                                                        the epidural space, but investiga-
                                                                                                                                                                                                                                                                                                                                                                        tional drug application filed
                                                                                                                                                                Healthy      Epidural liposo- Lumbar          Exploratory study without a primary outcome                            +          +         +       +        +       +    Company provided             Not registered (before enactment         Viscusi167
                                                                                                                                                                  volunteers   mal bupiva-      epidural                                                                                                                                  funding; participated         of the International Commit-
                                                                                                                                                                  (n = 26)     caine 89 mg,     (L3–4)                                                                                                                                    in design, analysis,          tee of Medical Journal Editors
                                                                                                                                                                               155 mg, or       bupivacaine                                                                                                                               and manuscript                Guidelines); phase I–II exploratory
                                                                                                                                                                               266 mg           hydrochloride                                                                                                                             preparation; first            study using a convenience sample;
                                                                                                                                                                               in 20 ml         50 mg (in                                                                                                                                 author paid con-              liposomal bupivacaine not Food
                                                                                                                                                                                                unknown                                                                                                                                   sultant; one author           and Drug Administration–approved




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                volume)                                                                                                                                   company employee              for use in the epidural space, but
                                                                                                                                                                                                                                                                                                                                                                        investigational drug application
                                                                                                                                                                                                                                                                                                                                                                        filed

                                                                                                                                                                Secondary outcomes are presented in table 10.
                                                                                                                                                                *A third control group not involving peripheral nerve blocks excluded from chart (e.g., unencapsulated bupivacaine infiltration).145 †Dosage unknown.
                                                                                                                                                                AUC, area under the receiver operating characteristics curve; VAS, visual analogue scale. Cochrane Risk of Bias 2 abbreviations: O, overall risk of bias; R, bias arising from the randomization process; D, bias due to deviations from intended interventions;
                                                                                                                                                                Mi, bias due to missing outcome data; M, bias in measurement of the outcome; S, bias in selection of the reported result.




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                                                                                                                                                                                                                                                                                                                                                                                                                                   Liposomal Bupivacaine to Treat Postoperative Pain
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                                                                                                                                                                Table 10. Secondary Outcomes for Published Randomized, Controlled Clinical Trials Involving Liposomal Bupivacaine as Part of a Peripheral Nerve Block or Epidural Injection

                                                                                                                                                                                              Treatments                                           Pain Scores                                 Opioid Consumption (mg)                             Length of Stay

                                                                                                                                                                                                                                                                               Morphine
                                                                                                                                                                                                                                                                                                                                                                                                      REVIEW ARTICLE




                                                                                                                                                                                                                                                    Liposomal                  mg Equiva- Liposomal                                            Liposomal
                                                                                                                                                                Setting             Experimental              Control            Measure           Bupivacaine Control P Value   lents    Bupivacaine Control P Value                 Measure Bupivacaine Control P Value Reference


                                                                                                                                                                                                                                                                 Placebo-controlled Studies

                                                                                                                                                                Knee arthro- Femoral nerve block:    Femoral nerve          Numeric Rating             3.5       5.0     < 0.01       0–24 h           46          60      < 0.01                    Not reported                      Hadzic139
                                                                                                                                                                  plasty       liposomal bupivacaine   block: normal          Scale at rest 24 h
                                                                                                                                                                  (n = 164)    266 mg in 20 ml         saline 20 ml         Numeric Rating             2.7       3.1     > 0.05       24–48 h          16          23      > 0.05
                                                                                                                                                                                                                              Scale at rest 48 h
                                                                                                                                                                                                                            Numeric Rating             2.2       1.9     > 0.05       48–72 h          7           11      > 0.05
                                                                                                                                                                                                                              Scale at rest 72 h
                                                                                                                                                                Coronary      Intercostal nerve block Intercostal nerve Numeric Rating                 2         4       > 0.05         24 h           12          18      > 0.05       Days            5           5       0.14         Lee154
                                                                                                                                                                  bypass         (via surgical incision):  block (via sur-    Scale 24 h
                                                                                                                                                                  sternotomy liposomal bupivacaine         gical incision): Numeric Rating             1.5       2                      48 h           4            3
                                                                                                                                                                  (n = 79)       266 mg in 50 ml           normal saline      Scale 48 h
                                                                                                                                                                                                           50 ml            Numeric Rating             1         0                     72 h            3            3
                                                                                                                                                                                                                              Scale 72 h
                                                                                                                                                                Shoulder      Interscalene nerve block: Interscalene nerve VAS 24 h                    2.5       5.5     < 0.01       0–24 h           5           34      < 0.01 Hours until           11          22      < 0.01      Patel29
                                                                                                                                                                  arthroplasty liposomal bupivacaine       block normal VAS 48 h                       3.0       4.2      0.03        24–48 h          4           14               discharge
                                                                                                                                                                  and rotator 133 or 266 mg in 20 ml saline 20 ml           VAS 72 h                   2.5       4.0     < 0.01       48–72 h          4           12               readiness
                                                                                                                                                                  cuff repair                                                                                                                                                       (not actual
                                                                                                                                                                  (n = 140)                                                                                                                                                         discharge)




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                                                                       Active-controlled: Transversus Abdominus Plane

                                                                                                                                                                Colorectal    Transversus abdominis Intrathecal         Mean VAS 8 h                   3.0       1.4     < 0.01      POD 0             25          15      < 0.01       Days            3           3        0.09    Colibaseanu155
                                                                                                                                                                  surgery        plane block: liposomal hydromorphone Mean VAS 16 h                    3.2       2.2      0.02       POD 1             8           7.5      0.20
                                                                                                                                                                  (n = 200)      bupivacaine 133 mg in 100 μg           Mean VAS POD 1                 2.8       2.8      0.86       POD 2             0           7.5      0.25
                                                                                                                                                                                 20 ml bilaterally                      Mean VAS POD 2                 2.5       2.8      0.41
                                                                                                                                                                Colorectal    Transversus abdominis Epidural bupiva- Numeric Rating                    2.3       2.1     0.387       POD 0             55          28      < 0.01                    Not reported                      Felling156
                                                                                                                                                                  surgery        plane block: liposomal caine hydrochlo- Scale POD 0–3                                               POD 1             13          1       < 0.01
                                                                                                                                                                  (n = 179)      bupivacaine 133 mg     ride 0.0625%                                                                 POD 2             3           2        0.71
                                                                                                                                                                                 (bupivacaine hydro-    fentanyl†                                                                    POD 3             0           0        0.85
                                                                                                                                                                                 chloride†; n = 15)     6–8 ml/h
                                                                                                                                                                                 in 20 ml bilaterally
                                                                                                                                                                                                                                                                                                                                                                                      (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 10. (Continued)

                                                                                                                                                                                              Treatments                                         Pain Scores                                Opioid Consumption (mg)                                Length of Stay

                                                                                                                                                                                                                                                                              Morphine
                                                                                                                                                                                                                                                  Liposomal                      mg       Liposomal                                            Liposomal
                                                                                                                                                                Setting            Experimental              Control            Measure          Bupivacaine Control P Value Equivalents Bupivacaine Control P Value                  Measure Bupivacaine Control P Value Reference

                                                                                                                                                                Breast recon- Transversus abdominis Transversus            Median Numeric             0          2        0.39    Intraoperative      110         100       0.76        Days           2.9         3.6      0.20      Ha157
                                                                                                                                                                  struction      plane block (via surgi-  abdominis plane Rating Scale 12 h                                       Recovery             10          0        0.38
                                                                                                                                                                  (n = 44)       cal incision): liposomal block (via sur-                                                         On floor            139         165       0.69
                                                                                                                                                                                                                           Median Numeric             3          2
                                                                                                                                                                                 bupivacaine 266 mg       gical incision):
                                                                                                                                                                                                                             Rating Scale 24 h
                                                                                                                                                                                 in 50 ml                 bupivacaine
                                                                                                                                                                                                                           Median Numeric             2          2
                                                                                                                                                                                                          hydrochloride
                                                                                                                                                                                                                             Rating Scale 48 h
                                                                                                                                                                                                          75 mg in 45 ml
                                                                                                                                                                                                                           Median Numeric            0.5         2
                                                                                                                                                                                                                             Rating Scale 72 h
                                                                                                                                                                Hysterectomy Transversus abdominis Transversus             Median Maximum            4.5        7.0      < 0.01 0–24 h                13           25       0.02       Hours           11           17      0.055   Hutchins
                                                                                                                                                                  (n = 58)       plane block: liposomal   abdominis          Numeric Rating                                                                                                                                          (2015)158
                                                                                                                                                                                 bupivacaine 133 mg in plane block           Scale 0–24 h
                                                                                                                                                                                 30 ml bilaterally        bupivacaine      Median Maximum            4.0        5.0      0.044    24–48 h              3           8        0.02
                                                                                                                                                                                                          hydrochloride      Numeric Rating
                                                                                                                                                                                                          75 mg in 30 ml     Scale 24–48 h
                                                                                                                                                                                                          (+ epinephrine) Median Maximum             3.0        5.0      0.047    48–72 h              2           5        0.30
                                                                                                                                                                                                          bilaterally        Numeric Rating
                                                                                                                                                                                                                             Scale 48–72 h
                                                                                                                                                                Donor         Transversus abdominis Transversus            Median Maximum             6          6       > 0.05 Fentanyl             ≈200         ≈220     > 0.05      Hours           68           78      0.02    Hutchins
                                                                                                                                                                  nephrec-       plane block: liposomal   abdominis          Numeric Rating                                       equivalents                                                                                        (2016)159
                                                                                                                                                                  tomy           bupivacaine 133 mg in plane block:          Scale 0–24 h                                         0–24 h




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                  (n = 59)       30 ml bilaterally        bupivacaine      Median Maximum             5          6       < 0.01 Fentanyl              200         230      > 0.05
                                                                                                                                                                                                          hydrochloride      Numeric Rating                                       equivalents
                                                                                                                                                                                                          75 mg in 30 ml     Scale 24–48 h                                        24–48 h
                                                                                                                                                                                                          (+ epinephrine)                                                       Fentanyl              105         182       0.03
                                                                                                                                                                                                          bilaterally                                                             equivalents
                                                                                                                                                                                                                                                                                  48–72 h
                                                                                                                                                                Hysterectomy Transversus abdom-          Port site           Median Maximum          3.0        5.0       0.02 Median 0–24 h           8           23       0.14    Hours (in          3.3         3.1      0.98    Hutchins
                                                                                                                                                                  (n = 62)      inis plane block:          infiltration;       Numeric Rating                                                                                         recovery                                       (2019)160
                                                                                                                                                                                liposomal bupivacaine      bupivacaine         Scale 0–24 h                                                                                           room)
                                                                                                                                                                                133 mg; bupivacaine        hydrochlo-        Median Maximum          3.0        4.0       0.22    Median 24–48         0           8        0.27
                                                                                                                                                                                hydrochloride 25 mg        ride 25 mg          Numeric Rating                                       h
                                                                                                                                                                                30 ml bilaterally; port    in 10 ml per        Scale 24–48 h
                                                                                                                                                                                sites infiltration normal site; placebo      Median Maximum          2.0        3.0      < 0.01 Median                 0           5        0.24
                                                                                                                                                                                saline                     transversus         Numeric Rating                                   48–72 h
                                                                                                                                                                                                           abdominis plane Scale 48–72 h
                                                                                                                                                                                                           block saline
                                                                                                                                                                                                           30 ml bilaterally
                                                                                                                                                                                                                                                                                                                                                                                    (Continued )




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                                                                                                                                                                                                                                                                                                                                                                                                   Liposomal Bupivacaine to Treat Postoperative Pain
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                                                                                                                             328
                                                                                                                                                                Table 10. (Continued)

                                                                                                                                                                                             Treatments                                       Pain Scores                                     Opioid Consumption (mg)                            Length of Stay

                                                                                                                                                                                                                                                                          Morphine
                                                                                                                                                                                                                                                                                                                                                                                                  REVIEW ARTICLE




                                                                                                                                                                                                                                              Liposomal                      mg       Liposomal                                              Liposomal
                                                                                                                                                                Setting            Experimental             Control           Measure        Bupivacaine Control P Value Equivalents Bupivacaine Control P Value                    Measure Bupivacaine Control P Value Reference

                                                                                                                                                                Cesarean      Transversus abdominis Transversus           VAS AUC 0–72            148        179       > 0.05           0–24 h         2             6   > 0.05                    Not reported                  Nedeljkovic161
                                                                                                                                                                  delivery       plane block: liposomal  abdominis                                                     (LSM P =         0–48 h         9            21    0.01
                                                                                                                                                                  (n = 186)      bupivacaine 133 mg;     plane block:                                                     0.002,
                                                                                                                                                                                 bupivacaine hydro-      bupivacaine                                                      but
                                                                                                                                                                                 chloride 25 mg in 30 ml hydrochloride                                                    95% CI
                                                                                                                                                                                 bilaterally             25 mg in 30 ml                                                   includes
                                                                                                                                                                                                         bilaterally                                                      0)
                                                                                                                                                                Colorectal    Transversus abdominis Epidural bupiva-                          Not reported                                           Not reported                 Primary outcome measure presented in table 9   Torgeson162
                                                                                                                                                                  surgery        plane block: liposomal  caine hydrochlo-
                                                                                                                                                                  (n = 83)       bupivacaine 133 mg      ride 0.0625%
                                                                                                                                                                                 in 40 ml bilaterally    fentanyl 2 μg/
                                                                                                                                                                                                         ml at unknown
                                                                                                                                                                                                         rate

                                                                                                                                                                                                                                                             Active-controlled: Miscellaneous

                                                                                                                                                                Knee arthro- Adductor canal block:   Joint infiltration Mean VAS                  3.9          3.1        0.13       Mean             24            16    0.22        Days           2.3          1.6     0.14 Meftah163
                                                                                                                                                                   plasty      liposomal bupivacaine    liposomal         4–12 h                                                     4–12 h
                                                                                                                                                                   (n = 70)    266 mg in 20 ml          bupivacaine       Mean VAS                5.3          4.3        0.09       Mean POD 1       47            45    0.64
                                                                                                                                                                                                        266 mg:           POD 1




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                                                        bupivacaine       Mean VAS                3.3          2.9        0.42       Mean POD 2       39            37    0.52
                                                                                                                                                                                                        hydrochloride POD 2
                                                                                                                                                                                                        100 mg in         Mean VAS                4.8          1.8        0.04       Mean POD 3       37            36    0.75
                                                                                                                                                                                                        40 ml             POD3
                                                                                                                                                                Hip arthros- Fascia iliaca block:    Fascia iliaca block: Defense and                                                Oxycodone (5-     4            3     0.61                     Not reported                  Purcell164
                                                                                                                                                                   copy        liposomal bupivacaine    bupivacaine         Veterans Pain                                              mg tablets)
                                                                                                                                                                   (n = 70)    266 mg; bupivacaine      hydrochloride       Rating Score                                               POD 1
                                                                                                                                                                               hydrochloride 100 mg     100 mg in 40 ml Recovery room              4               4      0.68       Oxycodone (5-     3            3     0.53
                                                                                                                                                                               in 40 ml                                                                                                mg tablets)
                                                                                                                                                                                                                          POD 1                    3               3      0.63
                                                                                                                                                                                                                                                                                       POD 2
                                                                                                                                                                                                                         POD 2                     3               3      0.90       Oxycodone (5-     2            2     0.25
                                                                                                                                                                                                                                                                                       mg tablets)
                                                                                                                                                                                                                                                                                       POD 3
                                                                                                                                                                                                                         POD 3                     3               4      0.66       Oxycodone (5-    17            20    0.69
                                                                                                                                                                                                                                                                                       mg tablets)
                                                                                                                                                                                                                         POD 14                    2               2      0.97         POD 14
                                                                                                                                                                                                                                                                                                                                                                                   (Continued )




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                                                                                                                             Ilfeld et al.
                                                                                                                                                                Table 10. (Continued)

                                                                                                                                                                                                 Treatments                                             Pain Scores                                       Opioid Consumption (mg)                             Length of Stay

                                                                                                                                                                                                                                                                                     Morphine
                                                                                                                                                                                                                                                         Liposomal                      mg       Liposomal                                               Liposomal
                                                                                                                                                                Setting              Experimental                 Control              Measure          Bupivacaine Control P Value Equivalents Bupivacaine Control P Value                     Measure Bupivacaine Control P Value Reference

                                                                                                                                                                Upper        Median, ulnar, radial nerve Supraclavicular     Mean VAS 24 h                    6.6          7.1      > 0.05 Subjects (n)           3             0        0.04 Postanesthe-          81          96      > 0.05 Soberon165
                                                                                                                                                                  extremity     blocks: liposomal bupiv- nerve block:                                                                          reporting                                        sia care
                                                                                                                                                                                                                             Mean VAS 48 h                    7.4          7.6
                                                                                                                                                                  surgery       acaine 65 mg in 5 ml to     bupivacaine                                                                        pain in the                                      unit stay
                                                                                                                                                                  (n = 37)      each nerve; supraclavic- hydrochloride Mean VAS 72 h                          7.5          7.2                 postanes-                                        (min)
                                                                                                                                                                                ular block: mepivacaine     150 mg                                                                             thesia care
                                                                                                                                                                                450 mg in 30 ml             in 30 ml                                                                           unit
                                                                                                                                                                Shoulder     Interscalene block:         Interscalene block: Worst Numeric                    2.3          4.0      > 0.05 Mean tramadol         0.6           0.4      > 0.05          All subjects discharged POD 1          Vandepitte166
                                                                                                                                                                  surgery       liposomal bupivacaine       bupivacaine        Rating Scale                                                    (mEq)
                                                                                                                                                                  (n = 50)      133 mg; bupivacaine         hydrochloride      POD 1                                                           POD 1
                                                                                                                                                                                hydrochloride 12.5 mg 37.5 mg in             Worst Numeric                    3.6          5.5               Mean tramadol       2.6           1.6
                                                                                                                                                                                in 15 ml                    15 ml              Rating Scale                                                    (mEq)
                                                                                                                                                                                                                               POD 2                                                           POD 2
                                                                                                                                                                                                                             Worst Numeric                    3.8          5.8               Mean tramadol       2.3           3.2
                                                                                                                                                                                                                               Rating Scale                                                    (mEq)
                                                                                                                                                                                                                               POD 3                                                           POD 3
                                                                                                                                                                                                                             Worst Numeric                    4.4          5.3               Mean tramadol       2.5           2.7
                                                                                                                                                                                                                               Rating Scale                                                    (mEq)
                                                                                                                                                                                                                               POD 4                                                           POD 4
                                                                                                                                                                                                                             Worst Numeric                    4.1          5.2               Mean tramadol       2.4           2.6
                                                                                                                                                                                                                               Rating Scale                                                    (mEq)
                                                                                                                                                                                                                               POD 7                                                           POD 7




                                                                                                                             Anesthesiology 2021; 134:283–344
                                                                                                                                                                Healthy      Epidural liposomal bupiv- Lumbar epidural Median time to                         36           12     Not                Not applicable: healthy volunteers               Not applicable: healthy volunteers        Viscusi167
                                                                                                                                                                  volunteers    acaine 89 mg, 155 mg, (L3–4) bupiv-            recovery of                                          reported
                                                                                                                                                                  (n = 26)      or 266 mg in 20 ml          acaine hydro-      sensitivity to
                                                                                                                                                                                                            chloride 50 mg     pinprick (h)
                                                                                                                                                                                                            in unknown
                                                                                                                                                                                                            volume

                                                                                                                                                                Primary outcomes are presented in table 9.
                                                                                                                                                                *A third control group not involving peripheral nerve blocks excluded from chart (e.g., unencapsulated bupivacaine infiltration).145 †Dosage unknown.
                                                                                                                                                                AUC, area under the receiver operating characteristics curve; POD, postoperative day; VAS, visual analogue scale.




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      investigation allowed unencapsulated local anesthetic infil-         all other published single-injection transversus abdominis
      tration or perioperative nonsteroidal anti-inflammatory              plane randomized, controlled trials.168,169
      drug administration, both of which can be important com-                 Two of the remaining three trials involving a liposomal
      ponents of multimodal analgesia frequently provided for              bupivacaine transversus abdominis plane block included an
      major joint surgery. Regardless, these studies suggest that          epidural infusion as the control group.156,162 The first trial
      single-injection femoral and interscalene nerve blocks with          involving colorectal surgery, listed different primary out-
      liposomal bupivacaine have pharmacologic activity greater            come measures in the registry and manuscript, lacked a




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      than 48 h when compared to placebo—far longer than                   power analysis for sample size, and provided a statistical plan
      would be expected for unencapsulated bupivacaine.                    lacking detail.156 These factors render interpreting the study
          Somewhat less informative for liposomal bupivacaine              results problematic. Pain scores were collected at 11 time
      effectiveness is the fourth placebo-controlled study involv-         points during 4 days, and the registry lists three primary
      ing laparoscopic hysterectomy comparing bilateral trans-             outcome measures as these scores on each of the first 3
      versus abdominis plane with a combination of liposomal               postoperative days; however, only a single undefined pain
      bupivacaine and bupivacaine hydrochloride to a placebo               score comparison is reported for the published article with
      (but with port site infiltration of unencapsulated bupiv-            the difference between treatments failing to reach statistical
      acaine).160 While the difference between treatments was              significance.The investigators concluded that the two treat-
      statistically significant for the primary outcome of 72-h            ments provide “equal” analgesia even though superiority
      cumulative opioid consumption, the 1.5 mg per day differ-            and not equivalence statistical tests were applied (“absence
      ence suggests clinical irrelevance. However, the secondary           of proof is not proof of absence”).170 In contrast, supple-
      analgesic outcomes are both statistically and clinically sig-        mental opioid requirements for the liposomal bupivacaine
      nificant for most of this same time period. Unfortunately,           transversus abdominis plane group were twice that of the
      since two independent variables were varied—both the type            epidural subjects on postoperative days 0, 1, and 0 through
      of local anesthetic and the location of administration (trans-       3 (P < 0.001), suggesting improved analgesia with the
      versus abdominis plane vs. ports)—it remains unknown if              neuraxial technique.
      the observed outcome differences are related to the use of               The second randomized, controlled trial, also involving
      liposomal bupivacaine.                                               colorectal surgery, found that subjects with a liposomal bupi-
                                                                           vacaine transversus abdominis plane had a shorter hospital
      Transversus Abdominis Plane Block with Liposomal                     stay of 0.5 days (primary outcome) compared with those
      Bupivacaine versus an Active Control                                 who received the epidural infusion for colorectal proce-
      Of the 12 randomized, controlled trials comparing a                  dures.162 However, interpretation is difficult as the only three
      peripheral or epidural nerve block using liposomal bupiv-            secondary outcomes presented—time to flatus, nausea, and
      acaine and an active control, seven involve the transversus          urinary retention—were all negative, and no pain scores or
      abdominis plane block (tables 9 and 10).155–159,161,162 When         opioid consumption were recorded. Therefore, the reason
      the control group consisted of a transversus abdominis               for the shorter hospitalization remains unclear. These two
      plane with unencapsulated bupivacaine, the results were              trials fail to bring much clarity to the issue. An unpublished,
      mixed: one study involving abdominally based autologous              multicenter (n = 493), prospectively registered randomized,
      breast reconstruction detected no statistically significant          controlled trial (NCT02996227) found that after abdominal
      differences between the two treatments,157 while three               surgery, subjects with a liposomal bupivacaine transversus
      randomized, controlled trials involving hysterectomy and             abdominis plane experienced noninferior analgesia com-
      donor nephrectomy reported analgesic and opioid-spar-                pared with the epidural group, but required more opioids
      ing benefits of liposomal bupivacaine over unencapsulated            to achieve this level of pain control (principal investigator,
      bupivacaine.158,159,161 Unfortunately, these last three trials       Alparslan Turan, M.D.; presentation, American Society of
      were at high risk of bias: two due to registration occur-            Anesthesiologists 2019 by Barak Cohen, M.D.). Full publi-
      ring after enrollment completion and a change in primary             cation of these results will add meaningfully to this literature.
      outcome after the initial registration,158,159 and the third             The final randomized, controlled trial comparing lipo-
      resulting from protocol revisions during the enrollment              somal bupivacaine transversus abdominis plane to intrathe-
      period with 28% of randomized subjects excluded from                 cal hydromorphone for colorectal procedures demonstrated
      the primary analysis.161 Notably, of the 50 excluded sub-            lower pain scores and opioid requirements for control
      jects, total opioid consumption through 72 h was five times          subjects with intrathecal hydromorphone during the first
      higher with liposomal bupivacaine added to unencapsulated            48 postoperative hours.155 However, when discrete time
      bupivacaine (52.1 mg) than with bupivacaine hydrochlo-               periods were compared, differences were detected solely
      ride alone (10.5 mg). This third study also used the low-            during the anticipated duration of the intrathecal opioid
      est concentration of bupivacaine hydrochloride (less than            of approximately 12 to 16 h.171 Secondary outcomes such
      0.09%) and among the lowest—if not the lowest—bupiva-                as the duration of hospital stay and postoperative ileus were
      caine hydrochloride dose for the control group relative to           negative with the exception of cost, which was consistently

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         higher in the liposomal bupivacaine transversus abdominis               and overall benefit of analgesic scores across all time points
         plane group.                                                            (postoperative days 1 to 7) based on generalized estimating
                                                                                 equations were statistically significant. Unfortunately, no
         Non–Transversus Abdominis Plane Peripheral Nerve                        hierarchical or alpha-spending testing strategy was prespec-
         Blocks with Liposomal Bupivacaine versus an Active                      ified to control type I error across outcomes, time points,
         Control                                                                 and the generalized estimating equations chi-square tests.
                                                                                 A Bonferroni correction was used to adjust P values for




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         Five remaining randomized, controlled trials involve differ-
         ent surgical procedures, interventions, control groups, and             the five time points within an outcome, but the chi-square
         primary outcomes (tables 9 and 10).163–167 Three of these               test was not corrected. The P values for generalized esti-
         do not provide actionable information regarding liposo-                 mating equations t tests applied at each time point were
         mal bupivacaine when used in a peripheral nerve block,                  not reported. Combined, all of these issues decrease confi-
         all for different reasons.163–165 The first compared liposomal          dence in the conclusion that adding liposomal bupivacaine
         bupivacaine as part of an adductor canal nerve block and                to unencapsulated bupivacaine single-injection interscalene
         liposomal bupivacaine infiltrated directly into the joint for           nerve blocks resulted in clinical benefits. Of additional con-
         knee arthroplasty, revealing essentially no differences in              cern, a retrospective study of 352 patients who received
         analgesia or opioid consumption.163 Since both treatment                liposomal bupivacaine as part of an interscalene nerve block
         groups included liposomal bupivacaine, the results do not               for ambulatory shoulder surgery found that 12% returned
         provide information on liposomal bupivacaine versus unen-               to the emergency department due to dyspnea.177
         capsulated local anesthetic. A second trial found no anal-
         gesic or opioid requirement differences between liposomal               Epidural Administration
         bupivacaine and unencapsulated bupivacaine when used in                 In preclinical studies, liposomal bupivacaine exhibited no
         a fascia iliaca block for hip arthroplasty.164 Unfortunately, as        toxicity when administered in the epidural space of both
         noted previously, placebo-controlled clinical trials demon-             rats and dogs.178 The only published clinical trial involved
         strate that this peripheral nerve block provides poor, if any,          26 volunteers given a single 20-ml injection into the lum-
         analgesia for hip arthroplasty,150,151 and consequently, the            bar epidural space consisting of liposomal bupivacaine (89,
         results of this study are not particularly enlightening.172             155, or 266 mg) or bupivacaine hydrochloride (50 mg).167
         A third investigation randomized subjects having upper                  Due to the relatively small number of subjects in each treat-
         extremity orthopedic surgery to either three forearm nerve              ment group of this phase I study, no statistics were applied
         blocks (median, ulnar, radial) followed by a supraclavicular            to the collected data. Nevertheless, the results of this pilot
         block with mepivacaine, or a single supraclavicular block               study strongly suggest a dramatic increase in analgesia dura-
         with unencapsulated bupivacaine.165 Interpreting the results            tion: median time until recovery of pinprick sensation was
         is difficult since the investigators varied two independent             11 h for unencapsulated bupivacaine, compared with 35 h
         variables (block location and local anesthetic type), so it             for liposomal bupivacaine (all doses combined). In contrast,
         remains unknown to what to attribute the few differences                100% of those receiving bupivacaine hydrochloride had
         detected between treatments.                                            some degree of motor block compared with only 57% for
             A fourth investigation involved subjects having major               the liposomal bupivacaine group. This left 67% of those in
         shoulder surgery who all received an interscalene block                 the unencapsulated bupivacaine group unable to ambulate
         with bupivacaine hydrochloride and were then randomly                   after 4 h versus only 39% for those who had received lipo-
         administered either liposomal bupivacaine or additional                 somal bupivacaine. There were no serious adverse events.
         bupivacaine hydrochloride.166 Interpreting the results is dif-          It is emphasized that Exparel is not currently approved for use
         ficult due to an unclear primary outcome measure. Within                in the epidural space, and although promising, must be considered
         the text of the published article, the primary outcome is
                                                                                 experimental at this time.
         specified as the worst pain queried on postoperative day
         2 (for the previous 24 h) with a matching sample size esti-
                                                                                 Summary
         mate—and the difference between treatments was not sta-
         tistically significant for this endpoint. In contrast, the article      A succinct summary of the evidence for the use of liposomal
         abstract states the primary outcome as the worst pain during            bupivacaine within an epidural or peripheral nerve block is
         the entire first postoperative week.173,174 Unfortunately, the          challenging due to the heterogeneity of the 16 published
         prospective registration does not help resolve this issue due           randomized, controlled trials (tables 9 and 10).29,139,154–167
         to a registry–publication discrepancy.175,176 Average/median            The four placebo-controlled trials provide evidence of
         pain scores and opioid consumption were not presented,                  pharmacologic effects for more than 48 h, although clinical
         and the two groups did not differ to a statistically significant        benefit was often limited to 24 h.139,154 Based on seven ran-
         degree in daily worst pain scores, overall benefit of anal-             domized, controlled trials—four with a high risk of bias and
         gesic scores, and cumulative supplemental analgesic con-                the remaining three with “some concerns” regarding bias—
         sumption. However, chi-square tests of worst pain scores                the evidence is mixed regarding the benefits of liposomal

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      bupivacaine over unencapsulated bupivacaine in transver-              the liposomes and detectable in serum over a prolonged
      sus abdominis plane blocks, possibly due to various surgical          duration, the concentration of local anesthetic at the tar-
      applications or administration protocols.155–159,161,162 While        get nerves is often subtherapeutic. Evidence for this may
      the limited data suggest that epidural and intrathecal opi-           be found in the lower potency of liposomal bupivacaine:
      oids provide superior analgesia and/or are opioid-sparing             unlike bupivacaine hydrochloride, encapsulated bupiva-
      compared with liposomal bupivacaine transversus abdom-                caine will not provide a surgical block,186 and for this rea-
      inis planes, they may also prolong hospitalization, induce            son, the manufacturer recommends “the ability to admix




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      hypotension, and increase overall costs.155,156,162 Although          long-acting liposomal bupivacaine with immediate-release
      four randomized, active-controlled trials involve using lipo-         bupivacaine [which] can help ensure rapid onset of pain
      somal bupivacaine as part of a peripheral nerve other than            relief that spans both the acute and later postsurgical peri-
      a transversus abdominis plane block, three provide minimal            ods.”135 Just as clinical effects are limited to less than 18 h
      useful data for various reasons,163–165 and interpreting the          after administration of unencapsulated bupivacaine—even
      fourth is problematic.166 Thus, there are currently insuffi-          though this medication may be detected in the serum for
      cient data to conclusively support or refute the use of lipo-         two to three times this duration—so too might the clinical
      somal bupivacaine administered as a peripheral nerve block.           effects of liposomal bupivacaine be limited to far less time
      Last, a single injection of liposomal bupivacaine into the            than serum concentration might suggest.139
      epidural space more than tripled the duration of sensory
      effects to skin testing while greatly decreasing any motor            Risk of Bias
      block in a small cohort of healthy volunteers.167
                                                                            Of the 76 clinical trials included in this review, the Cochrane
                                                                            risk-of-bias tool identified 19 (25%) with a high overall risk
      Randomized versus Retrospective Data                                  of bias.98,99 It is notable that of the 19 deemed at high risk
      Discrepancies                                                         for bias, 84% (16) reported statistically significant differ-
      Sustained released local anesthetic offers the possibility            ences for their primary outcome measure(s) compared with
      of prolonging postoperative analgesia beyond the normal               only 14% (4) of the 28 trials with a low risk of bias (fig. 2).
      duration of unencapsulated bupivacaine. Since liposomal               Multiple factors accounted for trials with a high risk of bias.
      bupivacaine may be detected within the serum more than                The most common was a lack of a prospectively designated
      twice as long as bupivacaine hydrochloride,31 the findings            or inadequately defined primary outcome measure, which
      suggesting liposomal bupivacaine benefits reported in early           increases the risk of selective reporting. This was one of the
      cohort and case-control studies appeared reasonable—even              primary reasons for requiring prospective registration,187
      obvious.55–78 However, the strength of evidence for clini-            which 29 (38%) lacked within this review. Few of the 76
      cal effectiveness provided by randomized, controlled trials           randomized, controlled trials had a prospectively deter-
      far surpasses that of nonexperimental study designs, and              mined plan for statistical analysis, which can greatly increase
      there are now more than 76 published experimental inves-              the risk of bias due to so-called “data torturing.”188 Even
      tigations. As detailed in this review, the preponderance of           with a prospective analytic plan, deviations can dramatically
      high-quality evidence fails to support the retrospective              affect the results, as evidenced by one trial involving infiltra-
      data: when liposomal bupivacaine and unencapsulated                   tion for knee arthroplasty reporting superiority of liposo-
      local anesthetic were infiltrated directly into a surgical site,      mal bupivacaine, when no statistically significant difference
      only four of 36 randomized, controlled trials (11%) were              would exist had the original published statistical plan been
      positive for their primary outcome to a clinically relevant           followed.130,140 Similarly, selectively removing randomized
      degree. Indeed, recent meta-analyses that included exclu-             subjects can alter study results, avoidance of which is the
      sively randomized studies universally concur3–7—in contrast           purpose of intention-to-treat analysis (“once randomized,
      to meta-analyses that included retrospective investigations           always randomized”). For example, one randomized, con-
      and universally reported liposomal bupivacaine superior-              trolled trial reported superiority of liposomal bupivacaine
      ity.179–185 The overwhelming majority of randomized, con-             added to unencapsulated bupivacaine over bupivacaine
      trolled trials failed to demonstrate liposomal bupivacaine            hydrochloride alone within postcesarean delivery transver-
      superiority even though the dose of liposomal bupivacaine             sus abdominis plane blocks.161 However, the protocol had
      was almost always maximized, while that of the comparator             multiple revisions during enrollment and excluded 28% of
      was rarely optimized. Even when compared to a placebo,                randomized subjects from the final analysis.161 Of the 50
      infiltration with liposomal bupivacaine improved effects in           excluded participants, total opioid consumption through
      only a minority of randomized, controlled trials (42%).               72 h was five times higher with liposomal bupivacaine added
          We can only speculate on possible reasons for these               to unencapsulated bupivacaine (52.1 mg) than with bupiva-
      unexpected findings where most randomized, controlled                 caine hydrochloride alone (10.5 mg).161
      trials did not support the positive effects of liposomal bupi-            Explicitly excluded from the Cochrane bias tool is
      vacaine suggested in retrospective studies. It may be that            industry funding. It has been demonstrated that “drug and
      while bupivacaine hydrochloride is slowly released from               device studies sponsored by manufacturing companies have

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                                                                                                     Liposomal Bupivacaine to Treat Postoperative Pain




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                Fig. 2. Correlation between studies with a finding of liposomal bupivacaine superiority over a control and (A) overall risk of bias as measured
                with the Cochrane tool98,99; and (B and C) manufacturer conflict involving study funding, and/or an author as a paid consultant or employee.
                The right-hand graph (C) includes randomized, controlled trials involving exclusively peripheral nerve blocks. The total number of studies
                included in the category for each column is provided in brackets. Lipo, liposomal bupivacaine.



         more favorable efficacy results and conclusions than studies                     without detecting superiority of liposomal bupivacaine
         sponsored by other sources.”189 One previously published                         (266 mg).31 Ultimately, the most-recent “PILLAR” trial
         analysis determined that liposomal bupivacaine was found                         used only 100 mg of unencapsulated bupivacaine for
         superior to a control in 67% of studies reporting funding                        the control group (“finding” a statistical superiority for
         from the manufacturer, while only 7% of studies without                          liposomal bupivacaine, 266 mg,130,133 yet the difference
         such funding detected superiority of liposomal bupiva-                           failing to reach statistical significance if the prospective-
         caine.6 Within the current review, 35% of studies reported                       ly-described statistical plan was used).135,140 Indeed, of the
         funding from the manufacturer of liposomal bupivacaine                           three phase IV manufacturer-supported, multicenter, ran-
         (25 of the 71 with conflict of interest statements and                           domized, active-controlled trials,114,130,161 the unencapsu-
         excluding one phase I study167), and this increased to 49%                       lated bupivacaine control group included a fraction of the
         (35 of 71) for studies with any conflicts including funding                      approved maximum100 or commonly utilized dose for these
         or authors who were concurrently paid consultants and/or                         procedures.132,168,169
         employees. Liposomal bupivacaine was found superior to
         a control in 46% (16 of 35) with a conflict present, versus                      Conclusions
         only 11% (4 of 36) without (fig. 2). This correlation was                        Whether introduced by surgical infiltration or as part
         strongest among 13 randomized, controlled trials involv-                         of a peripheral nerve block, the preponderance of cur-
         ing exclusively peripheral nerve blocks (excluding a phase I                     rent evidence fails to support the routine use of liposo-
         study and two randomized, controlled trials lacking conflict                     mal bupivacaine over standard local anesthetics when
         information): liposomal bupivacaine was reported superior                        treating postoperative pain (fig. 3). However, medicine is
         to a control in 78% (7 of 9) for studies with a conflict pres-                   constantly evolving with ongoing research, and the use
         ent, versus 0% without (0 of 4; fig. 2).                                         of liposomal bupivacaine for postoperative analgesia will
             An additional potential source of bias may be found                          certainly be no different. Identified knowledge gaps for
         in the choice of comparator/control. For the randomized,                         future research include the concurrent use of liposomal
         active-controlled trials of this review (excluding phase III                     and unencapsulated bupivacaine in both surgical site infil-
         dose–response studies), the maximum approved dose of                             tration and peripheral nerve blocks135; optimizing adminis-
         liposomal bupivacaine (266 mg) was nearly always used,                           tration techniques130,138,190,191; maximizing comparator local
         while the unencapsulated local anesthetic comparator was                         anesthetic dose; comparisons with regional analgesics that
         rarely maximized. This is all the more conspicuous since                         are not local anesthetic based192,193; prospective registra-
         one of the earliest manufacturer-supported randomized,                           tion with a clearly defined primary outcome measure and
         active-controlled trials used 200 mg of unencapsulated                           statistical plan194; large cohorts to investigate rare adverse
         bupivacaine for a comparator—without detecting supe-                             events195–197; and additional sustained release local anesthetic
         riority of liposomal bupivacaine (266 mg).23 The dose                            formulations.2,198–203 As noted previously by others,6 mini-
         was then lowered for a subsequent study to 150 mg of                             mizing conflicts of interest should be emphasized. The pur-
         unencapsulated bupivacaine for the control group—again                           ported advantages of sustained released over standard local

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        Fig. 3. Summary of findings. A designation of “superior” over the comparator required both statistical significance for the primary outcome
        measure(s) and clinical significance considered by the study’s authors. Note that in the second-to-last column, all four trials report the supe-
        riority of liposome bupivacaine over placebo when introduced as part of a peripheral nerve block—the thin blue horizontal line is included
        only to indicate the comparator was a placebo.



      anesthetics in treating acute pain include improved anal-                   Competing Interests
      gesia, decreased opioid requirements, shortened hospital-
                                                                                  The University of California has received funding and prod-
      ization, and decreased costs.22 However, before widespread
                                                                                  uct for Drs. Ilfeld and Gabriel’s research from cryoneuroly-
      adoption, it is incumbent on those proposing a switch to
                                                                                  sis device manufacturers Myoscience (Fremont, California)
      liposomal bupivacaine to provide high-quality data from
                                                                                  and Epimed International (Farmers Branch, Texas); peri-
      multicenter, randomized, active-controlled trials with a
                                                                                  neural catheter manufacturer Ferrosan Medical (Szczecin,
      low risk of bias conclusively demonstrating benefits that
                                                                                  Poland); and a manufacturer of a peripheral nerve stimula-
      justify the 100-fold increase in cost over unencapsulated
                                                                                  tion device, SPR Therapeutics (Cleveland, Ohio). Dr. Ilfeld
      bupivacaine.123,124,204
                                                                                  performed consulting work for Pacira Pharmaceuticals from
                                                                                  2011 to 2014. Neither author has performed consulting
      Acknowledgments                                                             work for any private company in the last 6 yr. No company
      The authors would like to thank Michael C. Donohue,                         was involved with the conceptualization or preparation of
      Ph.D. (Associate Professor of Neurology, University of                      this review. Neither the manuscript nor its contents were
      Southern California, Los Angeles, California), for his exper-               made available to any company before publication.
      tise and thoughtful contributions to this article.
                                                                                  Correspondence
      Research Support                                                            Address correspondence to Dr. Ilfeld: Department
      Support was provided solely from institutional and depart-                  of Anesthesiology, 9500 Gilman Drive, MC 0898,
      mental sources.                                                             La Jolla, California 92093-0898. bilfeld@ucsd.edu.


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